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                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                             JACKSONVILLE DIVISION

In re:                                                          Case No.: 3:24-bk-00496-BAJ
                                                                Chapter 11
GENIE INVESTMENTS NV, INC.
               Debtor(s).


 NOTICE OF FILING AMENDED ATTACHMENT TO STATEMENT OF FINANCIAL

                                           AFFAIRS

         PLEASE TAKE NOTICE that the Debtor files the attached AMENDED

ATTACHMENT TO STATEMENT OF FINANCIAL AFFAIRS to reflect a change in the

document formatting.


                                                    Law Offices of Mickler & Mickler, LLP

                                                    By:_/s/ Bryan K. Mickler________
                                                          Bryan K. Mickler
                                                    Florida Bar No. 091790
                                                    Attorney for the Debtor(s)
                                                    5452 Arlington Expressway
                                                    Jacksonville, FL 32211
                                                    (904) 725-0822 / (904) 725-0855 FAX
                                                    court@planlaw.com

                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a copy of the foregoing was furnished to the United States

Trustee and all interested parties per the attached mailing matrix; by CM/ECF and/or United States

Mail, postage prepaid; this _4th_ day of April, 2024.

                                                              /s/ Bryan K. Mickler
                                                              Attorney
                                    Case 3:24-bk-00496-BAJ                                                              Doc 50                           Filed 04/04/24                                       Page 2 of 19


                                                                                                                     Genie Investments NV
                                                                                                                  Transactions over +/- $1000
                                                                                                                           January - December 2023

                                           Transaction
                                    Date      Type              Num                          Name                                                    Memo/Description                                                                      Split                           Amount
CD 12-14 MONTHS (6314) - 1
                             08/27/2023    Journal Entry   Bank Acct Adj                                                                                                                                   -Split-                                                              -2,000.00
CHASE Checkingxxx8502
                                                                                                               01/04 Online Domestic Wire Transfer Via: Old Plank Trail CO/071926582 A/C: Mcmann
                             01/03/2023    Expense                         McMann Commercial Lending           Commercial Lending Chicago IL 60601 US Imad: 0104B1Qgc08C038194 Trn: 3505073004Es           Commission Expense                                                 -22,000.00
                                                                                                               Book Transfer Credit B/O: Kristin Stegent OR Ryan S Stegent Snook TX 77878-0184

                             01/03/2023    Deposit                         Kristin Stegent or Ryan S Stegent   Ref: "Due Diligence" User ID 2634 Trn: 3910133003Es                                         Due Diligence Revenue                                               35,000.00
                                                                                                               Fedwire Credit Via: First Interstate Bk of Billings NA/092901683 B/O: Ww LLC
                                                                                                               99030 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643
                                                                                                               US/Ac-000000 008522 Rfb=O/B First Intrst Obi=Bri Dge Payment Zoomeral User
                             01/03/2023    Deposit                         WW LLC                              Imad: 0103Gmqfmp01021472 Trn: 0859470003Ff                                                  Bridge Interest Revenue                                             45,075.00
                             01/03/2023    Deposit                         MM Acctxxx2222                      Online Transfer From Mma ...2222 Transaction#: 16194833027                                  CHASE MM Acct# xxx2222                                           1,450,000.00
                                                                                                               Fedwire Credit Via: Atlantic Community Bankers Bank/031301752 B/O: Dajo
                                                                                                               Honey Brook PA 19344 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno
                                                                                                               89502-1643 US/Ac-000000 008522 Rfb=O/B Atlantic Com Obi=Ica - Zoomeral
                             01/03/2023    Deposit                         Dajo Properties LLC                 2623 Bbi=/Bnf/F Unds Being Sent To Security A Ccoun T Imad: 0103Mmqfmp3W000395              ICA Payable                                                        100,075.00
                                                                                                               01/03 Domestic Wire Transfer Via: Citibank Nyc/021000089 A/C: Morgan Stanley Ref: For
                             01/03/2023    Expense                         Morgan Stanley & Co                 Further Credit To Genie Investments NV, Llcaccount Number: 2551457 12290/Time/09:48         Morgan Stanley Acct xxx145712-290:Morgan Stanley Cash Account    -1,450,000.00
                             01/04/2023    Deposit                         MM xxx3350                          Online Transfer From Mma ...3350 Transaction#: 16208631735                                  CHASE MM Acct xxx3350 (Bridge Interest)                              9,000.00
                             01/04/2023    Expense                         MM Acctxxx2222                      01/04 Online Transfer To Mma ...2222 Transaction#: 16208604948                              CHASE MM Acct# xxx2222                                            -476,500.00
                                                                                                               Fedwire Credit Via: Regions Bank/062005690 B/O: Kim Boudreau Nash Port
                                                                                                               70083-2362 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643
                                                                                                               US/Ac-000000 008522 Rfb=O/B Regions Bk Obi=Due D Illigence User ID 2633
                             01/04/2023    Deposit                         Kim Boudreau                        0104F2Qcz00C001051 Trn: 0336340004Ff                                                        Due Diligence Revenue                                               20,000.00
                             01/04/2023    Expense                         MM xxx3350                          01/04 Online Transfer To Mma ...3350 Transaction#: 16208519061                              CHASE MM Acct xxx3350 (Bridge Interest)                            -15,000.00
                                                                                                               01/04 Online Domestic Wire Transfer Via: Truist Bank/111017694 A/C: Soteria Group LLC
                             01/04/2023    Expense                         Soteria Group LLC                   Dallas TX 75205 US Imad: 0104B1Qgc08C038368 Trn: 3507093004Es                               Commission Expense                                                   -8,250.00
                             01/04/2023    Expense                         MM xxx3350                          01/04 Online Transfer To Mma ...3350 Transaction#: 16208537138                              CHASE MM Acct xxx3350 (Bridge Interest)                            -30,000.00
                                                                                                               Fedwire Credit Via: U.S. Bank N.A./123000220 B/O: Oregon Business Management
                                                                                                               Intigard,OR,97223 US Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno
                                                                                                               89502-1643 US/Ac-000000 008522 Rfb=230106030664 Obi=Due Dil Igence Loan
                                                                                                               Client Due D Iligen Ce Zoomeral User ID 2627 Bbi=/Chgs/USD0,00/ Imad:
                             01/04/2023    Deposit                         Oregon Business Management Group    0106I1Q73Agc002839 Trn: 0554720006Ff                                                        Due Diligence Revenue                                               20,000.00
                                                                                                               01/06 Online Domestic Wire Transfer Via: Citibank Nyc/021000089 A/C: Morgan Stanley

                                                                                                               Baltimore MD 21231 US Ref: With Further Credit To- Better Methods LLC, Account Number-
                             01/06/2023    Expense                         Better Methods LLC                  255-146085 -290/Bnf/With Further Credit To- Be Ttermethods LLC, Account Number-             3278 Loans Receivable:Loan #3278                                  -100,000.00
                             01/06/2023    Deposit                         MM xxx3350                          Online Transfer From Mma ...3350 Transaction#: 16224030417                                  CHASE MM Acct xxx3350 (Bridge Interest)                             60,000.00
                             01/06/2023    Deposit                         MM Acctxxx9701                      Online Transfer From Mma ...9701 Transaction#: 16224025733                                  CHASE Chk xxx9701 (Legal)                                           40,000.00
                                                                                                               Fedwire Credit Via: Regions Bank/062005690 B/O: Kim Boudreau Nash Port
                                                                                                               70083-2362 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643
                                                                                                               US/Ac-000000 008522 Rfb=O/B Regions Bk Obi=Ica U Ser ID 2633 Imad:
                             01/11/2023    Deposit                         Kim Boudreau                        0111F2Qcz00C002087 Trn: 0560090011Ff                                                        Bridge Interest Revenue                                             37,500.00
                                                                                                               01/12 Online Domestic Wire Transfer Via: Old Plank Trail CO/071926582 A/C: Mcmann
                             01/12/2023    Expense                         McMann Commercial Lending           Commercial Lending Chicago IL 60601 US Imad: 0112B1Qgc08C015196 Trn: 3261203012Es           Commission Expense                                                   -8,000.00
                                                                                                               01/12 Online Domestic Wire Transfer Via: Truist Bank/111017694 A/C: Soteria Group LLC
                             01/12/2023    Expense                         Soteria Group LLC                   Dallas TX 75205 US Imad: 0112B1Qgc04C005166 Trn: 3262383012Es                               Commission Expense                                                   -3,000.00
                                                                                                               Book Transfer Credit B/O: Fehu Capital, Inc. Houston TX 77035-6007 US Ref:

                             01/12/2023    Deposit                         Fehu Capital, Inc.                  Trn: 3132403012Es                                                                           ICA Payable                                                         20,075.00
                                                                                                               Fedwire Credit Via: Mountain America Fcu/324079555 B/O: Wrex & Whitney
                                                                                                               Surprise AZ 85388 USA Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno
                                                                                                               89502-1643 US/Ac-000000 008522 Rfb=O/B Mtn Am CU Sl Obi=Due Diligence
                             01/12/2023    Deposit                         Wrex & Whitney Lindsay              User ID: 26 43 Imad: 0118Qmgft015001162 Trn: 0689410018Ff                                   Due Diligence Revenue                                               15,000.00
                                                                                                               01/13 Online Domestic Wire Transfer Via: Wells Fargo NA/121000248 A/C: Spiegel And Ultera
                                                                                                               PA EFT San Francisco CA 94104 US Ref: Legal Fees And 5K For Retainer/Time/11:27 Imad:
                             01/13/2023    Expense                         Spiegel and Utrera PA               0113B1Qgc01C005756 Trn: 3320903013Es                                                        Legal & Professional Fees:Legal Expense                              -9,266.68
                                                                                                               01/20 Online Domestic Wire Transfer Via: Truist Bank/111017694 A/C: Soteria Group LLC
                             01/20/2023    Expense                         Soteria Group LLC                   Dallas TX 75205 US Imad: 0120B1Qgc08C031822 Trn: 3440903020Es                               Commission Expense                                                   -2,437.50
                                                                                                               01/20 Online Domestic Wire Transfer Via: US Bank Arizona/122105155 A/C: Second Chance
                             01/20/2023    Expense                         Second Chance Assets LLC            Assets LLC Scottsdale AZ 85260 US Imad: 0120B1Qgc06C006996 Trn: 3439053020Es                Commission Expense                                                   -5,250.00
                                                                                                               Fedwire Credit Via: Capital One, NA/056073502 B/O: Christopher J Lovett Las
                                                                                                               Vegas,NV,891095300,US Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno
                                                                                                               89502-1643 US/Ac-000000 008522 Rfb=Mmnxb0Vqgwpjtags Obi=Due Diligence
                             01/26/2023    Deposit                         Christopher J Lovett                Imad: 0126Mmqfmpgh001736 Trn: 0402480026Ff                                                  Due Diligence Revenue                                               30,000.00
                                                                                                               01/30 Online Domestic Wire Transfer Via: Truist Bank/111017694 A/C: Soteria Group LLC
                             01/30/2023    Expense                         Soteria Group LLC                   Dallas TX 75205 US Imad: 0130B1Qgc04C006044 Trn: 3390113030Es                               Commission Expense                                                   -4,500.00
                                                                                                               01/30 Online Domestic Wire Transfer Via: Old Plank Trail CO/071926582 A/C: Mcmann
                             01/30/2023    Expense                         McMann Commercial Lending           Commercial Lending Chicago IL 60601 US Imad: 0130B1Qgc06C012183 Trn: 3388473030Es           Commission Expense                                                 -12,000.00
                                                                                                               Fedwire Credit Via: Wells Fargo Bank, N.A./121000248 B/O: Chalanco Funding
                                                                                                               Lancaster PA 17601 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV
                                                                                                               US/Ac-000000 008522 Rfb=Ow00002902806352 Obi=Fbo Chalanco Funding
                             01/30/2023    Deposit                         Chalanco Funding, LLC               Bbi=/Chgs/USD0,00/ Imad: 0130I1B7032R005591 Trn: 0250760030Ff                               ICA Payable                                                          5,075.00
                                                                                                               Fedwire Credit Via: Capital One, NA/056073502 B/O: Lea J Muse Chicago,IL,60619,US
                                                                                                               Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643 US/Ac-000000
                                                                                                               008522 Rfb=Mm8Ucjvwykdgky6C Obi=Ret Ention Fee Imad: 0130Mmqfmpgh002743
                                                                                                               0604710030Ff

                                                                                                               25,000.00

                             01/30/2023    Deposit                         Lea J Muse                          Trn:                                                                                        Due Diligence Revenue                                               25,000.00
                                                                                                               Chips Credit Via: Bank of America, N.A./0959 B/O: Humane Care 7 Days Medical
                                                                                                               Ica 926472656 US Ref: Nbnf=Genie Investments NV Reno NV 89502-1643
                                                                                                               US/Ac-000000008522 Org=/0 00932769339 CA 926472656 US Ogb=Ban K of
                                                                                                               N.A. New York NY US O Bi=POP Trade Related Due Diligence - Z/Oomeral User
                             01/31/2023    Deposit                         Humane Care 7 Days Medical Group    Bbi Ssn: 0631066 Trn: 1388090031Fc                                                          Due Diligence Revenue                                               40,000.00
                             01/31/2023    Deposit                         MM Acctxxx2222                      Online Transfer From Mma ...2222 Transaction#: 16424125177                                  CHASE MM Acct# xxx2222                                               7,161.00
                                                                                                               Foreign Remittance Credit B/O: JPMorgan Chase Bank National Columbus OH
                                                                                                               Org:/0000000265580279 Half A Dime Ltd. Ogb: Atb Financial 10020 100 Street
                                                                                                               Ref:/Ocmt/Cad100060,00/Exch/1.351200000/Cntr/69115616/Acc/Down Payment
                             01/31/2023    Deposit                         Half A Dime Ltd                     Loan/Ins/Royccat2 Trn: 7442800030Re                                                         ICA Payable                                                         74,052.69
                                                                                                               Fedwire Credit Via: Wells Fargo Bank, N.A./121000248 B/O: Heliosun LLC Goodyear,
                                                                                                               85338-1585 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643
                                                                                                               US/Ac-000000 008522 Rfb=0006494030905152 Obi=Bri Dge Payment Bridge
                             01/31/2023    Deposit                         Hellosun LLC                        Bbi=/Chg S/USD0,00/ Imad: 0131I1B7032R017716 Trn: 0820350031Ff                              Bridge Interest Revenue                                            165,075.00
                                                                                                               02/01 Online Domestic Wire Transfer Via: Truist Bank/111017694 A/C: Soteria Group LLC
                             02/01/2023    Expense                         Soteria Group LLC                   Dallas TX 75205 US Imad: 0201B1Qgc06C003480 Trn: 3175203032Es                               Commission Expense                                                   -3,750.00
                                                                                                               02/01 Online Domestic Wire Transfer Via: Old Plank Trail CO/071926582 A/C: Mcmann
                             02/01/2023    Expense                         McMann Commercial Lending           Commercial Lending Chicago IL 60601 US Imad: 0201B1Qgc07C003067 Trn: 3174843032Es           Commission Expense                                                 -10,000.00
                                                                                                               Credit Via: America First Federal Credit Union/324377516 B/O: Travis
                                                                                                               Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643 US/Ac-000000
                             02/01/2023    Deposit                         Travis V Nokes                      008522 Rfb=O/B Amer First F Obi=Due Diligence Application Fee Due D IL                      Due Diligence Revenue                                               15,075.00
                                                                                                               Fedwire Credit Via: Space Coast Credit Union/263177903 B/O: Winslow Homes
                                                                                                               Smyrna Beach FL 32168-5334 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV
                                                                                                               89502-1643 US/Ac-000000 008522 Rfb=O/B Space Coast Obi=Ica Zoomeral
                                                                                                               Imad: 0202Gmqfmp01004817 Trn: 0331440033Ff

                                                                                                               LLC. New 2,575.00
                                                                                                               Reno NV
                             02/02/2023    Deposit                         Winslow Homes LLC                   User ID 2685                                                                                ICA Payable                                                          2,575.00
                                                                                                               Fedwire Credit Via: Members 1St Federal Credit Union/231382241 B/O: Katrina
                                                                                                               Willow Street PA 17584-9210 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV
                             02/03/2023    Deposit                         Katrina A Richter                   89502-1643 US/Ac-000000 008522 Rfb=Jjhk Imad: 0203Gmqfmp01020488 Trn:                       ICA Payable                                                         25,000.00
                                                                                                               Book Transfer Credit B/O: Pnc Bank National Association Akron OH 44308- US
                                                                                                               Org:/1016004086 Deborah M Lee Ogb: Aba/043000096 Pnc Bank, N.A. Ref:
                             02/03/2023    Deposit                         Deborah M Lee                       Zoomeral 2676/Ins/Aba/043000096Pncbank/Ref/0202900838318 953 Trn: 3230850034Ez              Due Diligence Revenue                                               15,000.00
                                                                                                               Book Transfer Credit B/O: Pnc Bank National Association Akron OH 44308- US
                                                                                                               Org:/1016004086 Deborah M Lee Ogb: Aba/043000096 Pnc Bank, N.A. Ref:
                             02/06/2023    Deposit                         Deborah M Lee                       Zoomeral 2676/Ins/Aba/043000096Pncbank/Ref/02031035671461 82 Trn: 0085920037Ez              Bridge Interest Revenue                                             15,000.00
                                                                                                               Chips Credit Via: Bank of America, N.A./0959 B/O: Beverly R Yoneyama Sammamish,
                                                                                                               98074, US Ref: Nbnf=Genie Investments NV Reno NV 89502-1643 US/Ac-000000008522
                                                                                                               Org=/0 00068417427 Sammamish, WA, 98074, U S Ogb=Bank of America, N.A.
                                                                                                               K NY US Obi=Edge Development Retent Ion Fee Bbi=/Chgs/USD0,/ Ssn: 0220597
                                                                                                               0532540037Fc

                                                                                                               WA, 7,500.00
                                                                                                               New Yor
                             02/06/2023    Deposit                         Beverly R Yoneyama                  Trn:                                                                                        Due Diligence Revenue                                                7,500.00
                                                                                                               Fedwire Credit Via: Canandaigua National Bank/022303659 B/O: Robert J. Wrisley
                                                                                                               Rochester, NY 14626-1007 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno
                                                                                                               89502-1643 US/Ac-000000 008522 Rfb=O/B Natl Cananda Obi=Due Diligence
                             02/06/2023    Deposit                         Robert J. Wrisley                   2668 Imad: 0206Qmgft015000472 Trn: 0371320037Ff                                             Due Diligence Revenue                                                7,500.00
                                                                                                               Fedwire Credit Via: Amarillo National Bank/111300958 B/O: Charles B Stringer
                                                                                                               79029-1084 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643
                                                                                                               US/Ac-000000 008522 Rfb=O/B Amarillo Nat Obi=Ref : Due Diligence Fee For
                                                                                                               S At LLC Care of Blake Stringer Imad: 0206Mmqfmpdy000032 Trn: 0252670037Ff

                                                                                                               Dumas TX 40,000.00
                             02/06/2023    Deposit                         Charles B Stringer                  Nutra/A                                                                                     Due Diligence Revenue                                               40,000.00
                             02/06/2023    Expense                         MM xxx3350                          02/08 Online Transfer To Mma ...3350 Transaction#: 16511413023                              CHASE MM Acct xxx3350 (Bridge Interest)                            -91,000.00
                                                                                                               02/06 Online Domestic Wire Transfer Via: Old Plank Trail CO/071926582 A/C: Mcmann
                             02/06/2023    Expense                         McMann Commercial Lending           Commercial Lending Chicago IL 60601 US Ref:/Bnf/Due Diligence Imad:                         Due Diligence Revenue                                              -16,000.00
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02/06/2023   Expense   MM Acctxxx9701                     02/08 Online Transfer To Mma ...9701 Transaction#: 16511419601                               CHASE Chk xxx9701 (Legal)                                         -9,000.00
02/06/2023   Expense   Corporate Filings LLC              CORPORATE FILINGS LLC XXX-XXXXXXX WY 05/04                                                   Legal & Professional Fees:Registered Agent                            -9.00
                                                          02/06 Online Domestic Wire Transfer Via: US Bank Arizona/122105155 A/C: Second Chance
02/06/2023   Expense   Second Chance Assets LLC           Assets LLC Scottsdale AZ 85260 US Imad: 0206B1Qgc07C033684 Trn: 3589083037Es                 Commission Expense                                                -4,500.00
02/06/2023   Expense   MM xxx3350                         02/08 Online Transfer To Mma ...3350 Transaction#: 16511421474                               CHASE MM Acct xxx3350 (Bridge Interest)                         -165,000.00
                                                          02/06 Online Domestic Wire Transfer Via: County Clearfield/031306278 A/C: Klie Enterprises
02/06/2023   Expense   Klie Enterprises LLC               LLC Meadville PA 16335 US Imad: 0206B1Qgc06C009275 Trn: 3591803037Es                         Commission Expense                                                -3,750.00
                                                          Chips Credit Via: Bank of America, N.A./0959 B/O: Itys, LLC Swansea, MA, 02777,
                                                          Nbnf=Genie Investments NV Reno NV 89502-1643 US/Ac-000000008522 Org=/4
                                                          66009102941 Swansea, MA, 02777, US Ogb=Bank of America, N.A. New York
                                                          Obi=Ica ID 2703 Bbi=/Chgs/USD 0,/ Ssn: 0434510 Trn: 1003730040Fc

                                                          US Ref: 20,075.00
02/07/2023   Deposit   ITYS LLC                           NY US                                                                                        ICA Payable                                                      20,075.00
                                                          Book Transfer Credit B/O: Anon Energy, LLC Cedar Hills UT 84062-8016 US

02/07/2023   Deposit   Anon Energy LLC                    2690/Bnf/Ica : Zoomeral User ID 2690 Trn: 3426213038Es                                       ICA Payable                                                      50,075.00
                                                          Fedwire Credit Via: Bank Fund Staff Fcu/254074170 B/O: 1/Arnold J Ainsley
                                                          FL 33897 US Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643
02/07/2023   Deposit   Tical Capital Inc                  US/Ac-000000 008522 Rfb=O/B Bk Staff Fcu Obi=Nor Tical Capital                               ICA Payable                                                     200,075.00
                                                          Fedwire Credit Via: The Washington Trust Company/011500858 B/O: Degen
                                                          Pawtucket, RI 02860-0000 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno
                                                          89502-1643 US/Ac-000000 008522 Rfb=O/B Wash Tr West Obi=Pur Pose: Investment
02/07/2023   Deposit   Degen LLC                          Imad: 0210Mmqfmpu6000031 Trn: 0526980041Ff                                                   ICA Payable                                                      20,075.00
                                                          Book Transfer Credit B/O: Pnc Bank National Association Akron OH 44308- US
                                                          Org:/5307956034 Grindstone Incorporated Ogb: Aba/043000096 Pnc Bank, N.A.
02/07/2023   Deposit   Grindstone Inc                     Zoomeral ID 2695 Brian A Parnell/Ins/Aba/043000096Pncbank/Ref/2328 K0922Epl1Xvk              ICA Payable                                                      20,075.00
                                                          Chips Credit Via: Bank of America, N.A./0959 B/O: Half A Dime Ltd. T0H 0C0
                                                          Nbnf=Genie Investments NV Reno NV 89502-1643 US/Ac-000000008522 Org=/0
                                                          000000265580279 T0H 0C0 CA Ogb=Atb Financial Edmonton Canada CA Bbi=/C
                                                          Hgs/USD0,/Chgs/USD0,/Ocmt/USD25974, 31/Rec/Down Payment For Loan Ssn:
02/07/2023   Deposit   Half A Dime Ltd                    Trn: 1116640040Fc                                                                            ICA Payable                                                      25,974.31
                                                          Fedwire Credit Via: America First Federal Credit Union/324377516 B/O: Travis
                                                          Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643 US/Ac-000000
                                                          008522 Rfb=O/B Amer First F Obi=Bri Dge Payment Imad: 0207L4B74L2C000064
                                                          0385410038Ff

                                                          V Nokes US 150,000.00
02/07/2023   Deposit   Travis V Nokes                     Trn:                                                                                         Bridge Interest Revenue                                         150,000.00
02/08/2023   Expense   MM Acctxxx2222                     02/14 Online Transfer To Mma ...2222 Transaction#: 16573556073                               CHASE MM Acct# xxx2222                                          -602,500.00
                                                          02/08 Online Domestic Wire Transfer Via: Old Plank Trail CO/071926582 A/C: Mcmann
02/08/2023   Expense   McMann Commercial Lending          Commercial Lending Chicago IL 60601 US Imad: 0208B1Qgc05C002827 Trn: 3137783039Es            Commission Expense                                                -6,000.00
02/08/2023   Expense   MM xxx3350                         02/14 Online Transfer To Mma ...3350 Transaction#: 16573561351                               CHASE MM Acct xxx3350 (Bridge Interest)                          -99,000.00
02/09/2023   Expense   Parasec                            02/15 Parasec 916-576-7000 CA Card 9242                                                      Compliance Expense                                                -6,424.25
                                                          Chips Credit Via: Bank of America, N.A./0959 B/O: Red Balloon Capital, LLC
                                                          Providence, RI, 02914, US Ref: Nbnf=Genie Investments NV Reno NV 89502-1643
                                                          US/Ac-000000008522 Org=/4 66008618779 East Providence, RI, 02 914, US
                                                          America, N.A. N Ew York NY US Obi=Ica ID 2701 Bbi=/Chgs/USD0,/ Ssn: 0505917
                                                          1204720041Fc

                                                          20,075.00

                                                          Ogb=Bank of
02/10/2023   Deposit   Red Balloon Capital LLC            Trn:                                                                                         ICA Payable                                                      20,075.00
                                                          Fedwire Credit Via: Zions Bancorporation N.A./124000054 B/O: Ameiva LLC
                                                          Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643 US/Ac-000000
                                                          Rfb=O/B Zions Bancor Obi=Bri Dge Payment Zoomeral User ID: 27 32 Imad:
02/10/2023   Deposit   Ameiva LLC                         0210L4B74B3C002737 Trn: 0823970041Ff                                                         Bridge Interest Revenue                                           7,575.00
                                                          Fedwire Credit Via: Wells Fargo Bank, N.A./121000248 B/O: Holland Energy
                                                          Waller, TX 77484-9548 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno
                                                          89502-1643 US/Ac-000000 008522 Rfb=0068543044573523 Obi=Due Diligence
                                                          Diligence Zoomera L User ID 2673 Bbi=/Chgs/USD0,00/Bnf/Due Diligence Zoo
                                                          0213I1B7031R016495 Trn: 0814080044Ff

                                                          LLC 40,000.00
                                                          NV
                                                          Due
02/10/2023   Deposit   Holland Energy Advisors LLC        Imad:                                                                                        Due Diligence Revenue                                            40,000.00
                                                          Fedwire Credit Via: The Washington Trust Company/011500858 B/O: Mako Enterprises
                                                          LLC Lincoln, RI 02865-0000 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV
                                                          89502-1643 US/Ac-000000 008522 Rfb=O/B Wash Tr West Obi=Pur Pose: Investments
02/10/2023   Deposit   Mako LLC                           Imad: 0210Mmqfmpu6000032 Trn: 0529740041Ff                                                   ICA Payable                                                      20,075.00
                                                          Fedwire Credit Via: Wells Fargo Bank, N.A./121000248 B/O: Michael Ehinger
                                                          Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643 US/Ac-000000
                                                          008522 Rfb=Ow00002949767345 Obi=Due Dillegence User ID 2733 Expansi
02/14/2023   Deposit                                      Investments Bbi=/Chgs/USD0,00/ Imad: 0214I1B7031R011581 Trn: 0586460045Ff                    Due Diligence Revenue                                            15,000.00
02/14/2023   Deposit   MM xxx3350                         Online Transfer From Mma ...3350 Transaction#: 16573606498                                   CHASE MM Acct xxx3350 (Bridge Interest)                          10,000.00
                                                          Book Transfer Credit B/O: Vick Enterprise, LLC Albany CA 94706-5034 US Ref:
02/14/2023   Deposit   Vick Enterprise LLC                Zoomeral User ID: 2629/Bnf/Ica Zoomeral User ID 2629 Trn: 3495453047Es                       ICA Payable                                                     176,075.00
02/14/2023   Deposit   MM Acctxxx9701                     Online Transfer From Mma ...9701 Transaction#: 16584061434                                   CHASE Chk xxx9701 (Legal)                                         6,500.00
02/14/2023   Expense   MM Acctxxx9701                     02/14 Online Transfer To Mma ...9701 Transaction#: 16577154750                               CHASE Chk xxx9701 (Legal)                                        -17,000.00
02/14/2023   Expense   MM xxx3350                         02/14 Online Transfer To Mma ...3350 Transaction#: 16573576883                               CHASE MM Acct xxx3350 (Bridge Interest)                           -7,500.00
                                                          02/15 Online Domestic Wire Transfer Via: Old Plank Trail CO/071926582 A/C: Mcmann
02/15/2023   Expense   McMann Commercial Lending          Commercial Lending Chicago IL 60601 US Imad: 0215B1Qgc05C002105 Trn: 3068493046Es            Commission Expense                                               -16,000.00
                                                          Fedwire Credit Via: Bristol County Savings Bank/211370859 B/O: Blais Cunningham
                                                          Crowe Chester, Lpawtucket, RI 02862 Ref: Chase Nyc/Ctr/Bnf=Genie Investments
                                                          Reno NV 89502-1643 US/Ac-000000 008522 Rfb=O/B Bristol Cnty Obi=Re: Ica
                                                          2717 Ref: Michael S Ch Ein, Schein Realty LLC Imad: 0216Mmqfmpr0000039
                                                          0659450047Ff

                                                          & 20,075.00
                                                          NV
                                                          - User:
02/16/2023   Deposit   Schein Realty LLC                  Trn:                                                                                         ICA Payable                                                      20,075.00
                                                          Fedwire Credit Via: Coastal1 Credit Union/211590260 B/O: Ryan Mcgovern North
                                                          MA 02760-0000 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643
                                                          US/Ac-000000 008522 Rfb=O/B Coastal1 CU Obi=Ica Zoomeral User ID:2735
02/16/2023   Deposit   Ryan McGovern                      0216Qmgft012000882 Trn: 0633310047Ff                                                         ICA Payable                                                      15,075.00
                                                          Fedwire Credit Via: Atlantic Community Bankers Bank/031301752 B/O: Fratelli
                                                          Methuen, MA 01844 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV
                                                          US/Ac-000000 008522 Rfb=O/B Atlantic Com Obi=Ica - Zoomeral User ID 2739
02/16/2023   Deposit   Fratelli LLC                       0222Mmqfmp3W000004 Trn: 0155600053Ff                                                         ICA Payable                                                     150,075.00
                                                          Fedwire Credit Via: Bristol County Savings Bank/211370859 B/O: Blais Cunningham
                                                          Crowe Chester, Lpawtucket, RI 02862 Ref: Chase Nyc/Ctr/Bnf=Genie Investments
                                                          Reno NV 89502-1643 US/Ac-000000 008522 Rfb=O/B Bristol Cnty Obi=Ica -
02/16/2023   Deposit   Blais Cunningham & Crowe Chester   Ref: Michael Schei N, 527 Ten Rod Rd,LLC Imad: 0216Mmqfmpr0000038 Trn:                       ICA Payable                                                      20,075.00
                                                          02/17 Online Domestic Wire Transfer Via: Wells Fargo NA/121000248 A/C: Brian Nichols
02/17/2023   Expense   Brian Nichols                      Wilmore KY 40390 US Ref:/Time/12:01 Imad: 0217B1Qgc08C025704 Trn: 3304113048Es               Termination Refund                                              -116,480.00
02/17/2023   Expense   MM Acctxxx2222                     02/18 Online Transfer To Mma ...2222 Transaction#: 16616026316                               CHASE MM Acct# xxx2222                                          -114,000.00
                                                          Fedwire Credit Via: Wells Fargo Bank, N.A./121000248 B/O: Limitless Investment
                                                          LLC UT 84115 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643
                                                          US/Ac-000000 008522 Rfb=Ow00002969035406 Obi=Bri Dge Payment Zoomeral
02/22/2023   Deposit   Limitless Investment Group         273 3 Bbi=/Chgs/USD0,00/ Imad: 0222I1B7033R003400 Trn: 0083150053Ff                          Bridge Interest Revenue                                          80,075.00
02/23/2023   Expense   Znoc Enterprises LLC               02/23 Online Domestic Wire Transfer A/C: Znoc Enterprises, LLC Wellsville UT 84339-9635 US   Commission Expense                                                -3,750.00
02/23/2023   Expense   MM xxx3350                         02/24 Online Transfer To Mma ...3350 Transaction#: 16664295448                               CHASE MM Acct xxx3350 (Bridge Interest)                          -80,000.00
02/24/2023   Expense   Shaver Law Group LLC               02/23 Shaver Law Group LLC 404-3459449 GA Card 9242                                          Legal & Professional Fees                                         -5,000.00
02/24/2023   Expense   MM Acctxxx2222                     02/24 Online Transfer To Mma ...2222 Transaction#: 16664297946                               CHASE MM Acct# xxx2222                                          -140,000.00
                                                          Book Transfer Credit B/O: Pd&C Financial Services, LLC Sugar Land TX 77479-8846

02/27/2023   Deposit   Financial Services LLC             Ref: Ica Zoomeral User ID 2625 Trn: 3631213059Es                                             ICA Payable                                                     150,075.00
                                                          Fedwire Credit Via: Capital One, NA/056073502 B/O: Christopher J Lovett Las
                                                          Vegas,NV,891095300,US Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno
                                                          89502-1643 US/Ac-000000 008522 Rfb=Mmj1272Dtwgsbzzp Obi=Ica 2678 Imad:
02/27/2023   Deposit   Christopher J Lovett               0227Mmqfmpgh000423 Trn: 0103310058Ff                                                         Bridge Interest Revenue                                          34,575.00
                                                          Fedwire Credit Via: UBS Ag Stamford Branch/026007993 B/O: Robin P Allen
                                                          P Allen5258-2913 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643
                                                          US/Ac-000000 008522 Rfb=00768720230228Pw Obi=Due Diligence User ID
02/28/2023   Deposit   Robin P Allen                      0228B6B7Ik1C005398 Trn: 1010960059Ff                                                         Due Diligence Revenue                                            30,000.00
                                                          Fedwire Credit Via: America First Federal Credit Union/324377516 B/O: Archer
                                                          Investments LLC US Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV
                                                          US/Ac-000000 008522 Rfb=O/B Amer First F Obi=Dow N Payment On A Loan
                                                          Zoomera L User ID: 2649 Imad: 0302L4B74L2C000154 Trn: 0668120061Ff

                                                          Capital 200,075.00
                                                          89502-1643
03/01/2023   Deposit   Archer Capital Investments LLC     Ica,                                                                                         ICA Payable                                                     200,075.00
03/01/2023   Deposit   MM Acctxxx2222                     Online Transfer From Mma ...2222 Transaction#: 16712923945                                   CHASE MM Acct# xxx2222                                           12,500.00
03/01/2023   Expense   MM Acctxxx2222                     03/01 Online Transfer To Mma ...2222 Transaction#: 16708737091                               CHASE MM Acct# xxx2222                                          -150,000.00
                                                          03/07 Online Domestic Wire Transfer Via: Citibank Nyc/021000089 A/C: Morgan Stanley

                                                          Baltimore MD 21231 US Ref: With Further Credit To- Genie Investments NV, Account Number-
                                                          255-1460 85-290/Bnf/With Further Credit To- Genie Investments NV, Account Numbe R- 2

03/02/2023   Expense   Morgan Stanley & Co                55-146085-290/Time/03:49 Imad: 0307B1Qgc02C000525 Trn: 3001393066Es                          Morgan Stanley Acct xxx145712-290:Morgan Stanley Cash Account   -450,000.00
                                                          03/02 Online Domestic Wire Transfer Via: Signature Bank/026013576 A/C: Warren Law Group
03/02/2023   Expense   Warren Law Group                   Iola New York NY 10017 US Imad: 0302B1Qgc02C005602 Trn: 3347103061Es                         Legal & Professional Fees:Legal Expense                          -15,000.00
                                                          03/02 Online Domestic Wire Transfer Via: Old Plank Trail CO/071926582 A/C: Mcmann
03/02/2023   Expense   McMann Commercial Lending          Commercial Lending Chicago IL 60601 US Imad: 0302B1Qgc01C001500 Trn: 3070453061Es            Commission Expense                                               -12,000.00
03/02/2023   Expense   MM xxx3350                         03/03 Online Transfer To Mma ...3350 Transaction#: 16733382986                               CHASE MM Acct xxx3350 (Bridge Interest)                          -34,500.00
       Case 3:24-bk-00496-BAJ                                       Doc 50                            Filed 04/04/24                                     Page 4 of 19


03/02/2023   Expense    MM Acctxxx2222                      03/03 Online Transfer To Mma ...2222 Transaction#: 16733416827                             CHASE MM Acct# xxx2222                                           -200,000.00
                                                            Fedwire Credit Via: Capital One, NA/056073502 B/O: Vtj LLC Leander,TX,78641,US
                                                            Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643 US/Ac-000000
                                                            Rfb=Sbbmmahaeq96Deig Obi=Vjt LLC Cai Account Imad: 0302Mmqfmpgh000888
03/02/2023   Deposit    VJT LLC                             0204830061Ff                                                                               Due Diligence Revenue                                              30,000.00
03/02/2023   Deposit    MM Acctxxx9701                      Online Transfer From Mma ...9701 Transaction#: 16719908316                                 CHASE Chk xxx9701 (Legal)                                          15,000.00
03/03/2023   Deposit    MM xxx3350                          Online Transfer From Mma ...3350 Transaction#: 16761401019                                 CHASE MM Acct xxx3350 (Bridge Interest)                           450,000.00
                                                            Fedwire Credit Via: City National Bank/122016066 B/O: Biassess Strategies LLC
                                                            Hills CA 90209 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643
                                                            US/Ac-000000 008522 Rfb=O/B Cy Natl Bk L Obi=Due Diligence - Zoomeral
                                                            Bbi=/Bnf/1515 Atlantic Boulevard J Ackso Nville, FL 32207 Imad: 0303L2Lfck1C004020
03/03/2023   Deposit    Biassess Strategies LLC             Trn: 0722290062Ff                                                                          Due Diligence Revenue                                              15,000.00
03/03/2023   Deposit    MM Acctxxx2222                      Online Transfer From Mma ...2222 Transaction#: 16756845254                                 CHASE MM Acct# xxx2222                                          1,950,000.00
03/06/2023   Deposit    MM Acctxxx9701                      Online Transfer From Mma ...9701 Transaction#: 16761414854                                 CHASE Chk xxx9701 (Legal)                                         100,000.00
                                                            Book Transfer Credit B/O: Eastern Bank Lynn MA 01901- US Org:/0601405786
03/06/2023   Deposit    TAJ Construction LLC                Construction LLC Ogb: Aba/011301798 Eastern Bank Ref: Ica Zoomeral ID 2748/Bnf/Ica         ICA Payable                                                        15,075.00
03/07/2023   Expense    Sun & Shield                        03/07 Domestic Wire Transfer Via: Wells Fargo NA/121000248 A/C: Sun & Shield 8411 Trust    Termination Refund                                              -1,950,000.00
                                                            03/07 Online Domestic Wire Transfer Via: US Bank Arizona/122105155 A/C: Second Chance
03/07/2023   Expense    Second Chance Assets LLC            Assets LLC Scottsdale AZ 85260 US Imad: 0307B1Qgc01C001413 Trn: 3073223066Es               Commission Expense                                                  -5,250.00
                                                            03/08 Online Domestic Wire Transfer Via: Citibank Nyc/021000089 A/C: Morgan Stanley

                                                            Baltimore MD 21231 US Ref: With Further Credit To- Genie Investments NV, Account Number-
                                                            255-1460 85-290/Bnf/With Further Credit To- Genie Investments NV Account Number - 25

03/08/2023   Expense    Morgan Stanley & Co                 5-146085-290/Time/03:40 Imad: 0308B1Qgc07C000792 Trn: 3085543067Es                         Morgan Stanley Acct xxx145712-290:Morgan Stanley Cash Account    -100,000.00
                                                            Chips Credit Via: Bank of America, N.A./0959 B/O: Adaptive Medical Technologies
                                                            85258 US Ref: Nbnf=Genie Investments NV Reno NV 89502-1643 US/Ac-000000008522
                                                            Org=/4 57048631385 AZ 85258 US Ogb=Bank of America, N.A. New York NY
                                                            Op Services Bridge Payment, Zoomer/AL User ID (2743) Bbi=/Chgs/USD0,/ Ssn:
03/09/2023   Deposit    Adaptive Medical Technologies LLC   Trn: 0996060073Fc                                                                          Bridge Interest Revenue                                           150,000.00
                                                            Book Transfer Credit B/O: Belle Maison Realty, LLC Chicago IL 60619-6455 US
03/09/2023   Deposit    Belle Maison Realty LLC             Prepaid Interest - Lea Muse, Belle Maison Realty, LLC Trn: 3316563068Es                    Bridge Interest Revenue                                            45,000.00
03/09/2023   Expense    MM Acctxxx2222                      03/09 Online Transfer To Mma ...2222 Transaction#: 16785590126                             CHASE MM Acct# xxx2222                                            -15,000.00
                                                            Book Transfer Credit B/O: Rowehl & Russo Properties LLC Shirley NY 11967-2941

03/15/2023   Deposit    Rowehl & Russo Properties LLC       Ica 2787 Trn: 3517633074Es                                                                 ICA Payable                                                        15,075.00
03/16/2023   Expense    MM Acctxxx2222                      03/16 Online Transfer To Mma ...2222 Transaction#: 16841208963                             CHASE MM Acct# xxx2222                                            -15,000.00
03/17/2023   Expense    Fiverr                              FiverrInc XXX-XXXXXXX NY 03/17                                                             Contractors                                                         -2,086.90
                                                            BOOK TRANSFER CREDIT B/O: ZON HOSPITALITY CORP OPERATING BREA CA XXXXX-XXXX
03/22/2023   Deposit    Zon Hospitality Corp                US REF: DUE DILIGENCEGRUPO VACUZA XX, LLC TRN: XXXXXX3081ES                                Due Diligence Revenue                                              25,000.00
                                                            XXXXXX XXXXXX RFB=O/B AM SL HONO OBI=DUE D ILIGENCE XXXX IMAD:
03/22/2023   Deposit    John Wilson                         XXXXGMQFMPXXXXXXXX TRN: XXXXXX0081FF                                                       Due Diligence Revenue                                              25,000.00
                                                            XXXX XXXXXX RFB=O/B CENTENNIAL B OBI=CAP ITAL ICA NEDRA ACRES, LLC IMAD:
03/22/2023   Deposit    Stringer Farms Inc                  XXXXMMQFMPHXXXXXXX TRN: XXXXXX0081FF                                                       Bridge Interest Revenue                                           245,000.00
                                                            /AC-XXXXXX XXXXXX RFB=O/B REPUBLIC FIR OBI=REF # XXXX IMAD: XXXXMMQFMPXLXXXXXX
03/23/2023   Deposit    Iron Dragon Holdings                TRN: XXXXXX0082FF                                                              ICA Payable                                                                     5,075.00
                                                            2075, 2076 & 2077 ICA Payments - US/AC-XXXXXX XXXXXX RFB=O/B ATLANTIC COM OBI=ICA .
                                                            REF#XXXX. HOSPITALITY GROWTH C AP ITAL..REF#XXXX NUTRE LEASING LLC, R EF#XXXX
03/24/2023   Deposit    Fratelli LLC                        SOLAR CAPITAL FU IMAD: XXXXMMQFMPXWXXXXXX TRN: XXXXXX0083FF                                ICA Payable                                                        90,075.00
03/24/2023   Transfer                                       Online Transfer from CHK ...XXXX transaction#: XXXXXXX7383                                 CHASE MM Acct# xxx2222                                           -155,000.00
                                                            XXX-XXXX US/AC-XXXXXX XXXXXX RFB=O/B CY NATL BK L OBI=DUE DILIGENCE-ZOOMERAL
03/27/2023   Deposit    Michele Ruiz Productions LLC        USER ID XXXX IMAD: XXXXLXLFCKXCXXXXXX TRN: XXXXXX0086FF                                    Due Diligence Revenue                                              15,000.00
03/27/2023   Transfer                                       Online Transfer to CHK ...XXXX transaction#: XXXXXXXXXXX 03/27                             CHASE MM Acct# xxx2222                                            132,000.00
                                                            ONLINE DOMESTIC WIRE TRANSFER VIA: OLD PLANK TRAIL CO/XXXXXXXXX A/C: MCMANN
                                                            COMMERCIAL LENDING CHICAGO IL XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN:
03/27/2023   Expense    McMann Commercial Lending           XXXXXXXX86ES 03 XXXXX/27                                                                   Due Diligence Revenue                                             -10,000.00
03/27/2023   Expense    McMann Commercial Lending           XXXXX/27                                                                                   Due Diligence Revenue                                             -10,000.00
                                                            UMBER- XXX-XXXX XX-XXX/BNF/WITH FURTHER CREDIT TO- GENIE INVESTMENTS NV,
                                                            ACCOUNT NUMBE R- X XX-XXXXXX-XXX/TIME/XX:XX IMAD: XXXXBXQGCXXCXXXXXX TRN:
03/28/2023   Expense    Cheyenne Chipoletti                 XXXXXXXXXXES 03/28                                                                         Warrant Investment                                               -500,000.00
03/28/2023   Deposit    2814                                DEPOSIT ID NUMBER XX0672                                                                   Due Diligence Revenue                                              45,000.00
                                                            UMBER- XXX-XXXX XX-XXX/BNF/WITH FURTHER CREDIT TO- GENIE INVESTMENTS NV,
                                                            ACCOUNT NUMBE R- X XX-XXXXXX-XXX/TIME/XX:XX IMAD: XXXXBXQGCXXCXXXXXX TRN:
03/29/2023   Expense    Cheyenne Chipoletti                 XXXXXXXXXXES 03/29                                                                         Warrant Investment                                               -125,000.00
                                                            XXXXX XXXXXX RFB=O/B AMER FIRST F OBI=DUE DILIGENCE USER ID XXXX IMAD:
03/29/2023   Deposit    Foster Group LLC                    XXXXLXBXXLXCXXXXXX TRN: XXXXXX0088FF                                                       Due Diligence Revenue                                              30,000.00
                                                            XXXXXX ORG=/X XXXXXXXXXXX CA XXXXXXXXX US OGB=BAN K OF AMERICA, N.A. NEW YORK
                                                            NY US O BI=POP INVESTMENT INCOME INCL DIVID END/ICA ZOMMERAL USER ID: XXXX SSN:
03/29/2023   Deposit    My Dragonfly Home Solution, LLC     XXXXXXX TRN: XXXXXX0088FC                                                       Bridge Interest Revenue                                                      100,075.00
03/31/2023   Transfer                                       Online Transfer from CHK ...XXXX transaction#: XXXXXXX9464                                 CHASE MM Acct# xxx2222                                           -100,000.00
04/03/2023   Expense    Spiegel and Utrera PA               SPIEGEL AND UTRERA P A DOVER DE 04/03                                                      Legal & Professional Fees:Legal Expense                             -3,000.00
04/04/2023   Deposit    Parasec                             PARASEC SACRAMENTO CA 04/04                                                                Compliance Expense                                                  5,671.25
                                                            G=/X XXXXXXXXXXX CA XXXXXXXXX US OGB=BAN K OF AMERICA, N.A. NEW YORK NY US O
                                                            BI=POP SERVICES ICA USER ID XXXX BB I=/CHGS/USDX,/CHGS/USDX,/OCMT/USDXX XXX SSN:
04/04/2023   Deposit    Frank H Chu                         XXXXXXX TRN: XXXXXX0094FC                                                        ICA Payable                                                               1,100,000.00
                                                            ONLINE DOMESTIC WIRE TRANSFER VIA: US BANK ARIZONA/XXXXXXXXX A/C: SECOND
                                                            CHANCE ASSETS LLC SCOTTSDALE AZ XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN:
04/05/2023   Expense    Second Chance Assets LLC            XXXXXXXX95ES 04/ XXXXXX05                                                                  Due Diligence Revenue                                               -5,250.00
                                                            XXXX XXXXXX RFB=XXXXXXXXXXXX OBI=DUE DIL IGENCE FEE VENDOR DUE DILIGE NCE ZO
                                                            OMERAL USER ID: XXXX BBI=/CHGS/USDX ,XX/ IMAD: XXXXMMQFMPXXXXXXXX TRN:
04/06/2023   Deposit    Knife & Spirit LLC                  XXXXXX0096FF                                                                               Due Diligence Revenue                                              15,000.00
                                                            Tranche 1 - ONLINE DOMESTIC WIRE TRANSFER A/C: ROCKSHOP LLC ATTLEBORO MA XXXXX-
04/07/2023   Expense    Rockshop LLC                        XXXX US TRN: XXXXXXXXXXES 04/07                                                 Loan Closing Settlement                                                      -15,900.00
                                                            Tranche 1 - ONLINE DOMESTIC WIRE TRANSFER VIA: WASH TR WESTERLY/XXXXXXXXX A/C:
                                                            KYLE SEYBOTH EAST PROVIDENCE RI XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN:
04/07/2023   Expense    Kyle Seyboth                        XXXXXXXXXXES 04/07                                                                         Loan Closing Settlement                                           -31,900.00
                                                            Tranche 1 - ONLINE DOMESTIC WIRE TRANSFER VIA: MEMBERS XST FCU/XXXXXXXXX A/C:
                                                            KATRINA A RICHTER WILLOW STREET PA XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN:
04/07/2023   Expense    Katrina A Richter                   XXXXXXXXXXES 04/07                                                                         Loan Closing Settlement                                           -39,900.00
                                                            Tranche 1 - ONLINE DOMESTIC WIRE TRANSFER VIA: WASH TR WESTERLY/XXXXXXXXX A/C:
                                                            DEGEN LLC PAWTUCKET RI XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN: XXXXXXXXXXES
04/07/2023   Expense    Degen LLC                           04/07                                                                                      Loan Closing Settlement                                           -31,900.00
04/07/2023   Expense    Chalanco Funding, LLC               Tranche 1 - XXXXES 04/07                                                                   Loan Closing Settlement                                             -7,900.00
                                                            Tranche 1 - ONLINE DOMESTIC WIRE TRANSFER VIA: BK AMER NYC/XXXXXXXXX A/C:
                                                            GLOBALWEBXVENTURES LLC SAINT JOSEPH MO XXXXX US IMAD: XXXXBXQGCXXCXXXXXX
04/07/2023   Expense    Global Webxventures LLC             TRN: XXXXXXXXXXES 04/07                                                                    Loan Closing Settlement                                           -31,900.00
                                                            Tranche 1 - ONLINE DOMESTIC WIRE TRANSFER VIA: COUNTY CLEARFIELD/XXXXXXXXX A/C:
                                                            BJP INVESTMENTS LLC ERIE PA XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN:
04/07/2023   Expense    BJP Investments LLC                 XXXXXXXXXXES 04/07                                                                         Loan Closing Settlement                                           -15,900.00
                                                            ONLINE DOMESTIC WIRE TRANSFER VIA: CITIZENS BANK, NA/XXXXXXXXX A/C: SCHEIN
                                                            REALTY LLC NORTH KINGSTOWN RI XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN:
04/07/2023   Expense    Schein Realty LLC                   XXXXXXXX97ES 04/ XXXXXX07                                                                  Loan Closing Settlement                                           -31,900.00

                                                            WIRE REVERSAL B/O: JPMC CB FUNDS TRANSFER SAME DAY TAMPA FL XXXXX-XXXX US
                                                            ORG: ABA/XXXXXXXXX THE WASHINGTON TRUST COMPANY REF:/BNF/OUR REF JPMXXXXXX-
                                                            XX6428 CHAS EREFXXXXXXXXXXFF RTN DTD XX/XX/XXX X TRN XXXXXXXXXXES AS REF OUR
04/07/2023   Deposit    The Washington Trust Co             PHON E CALL FOR FURTHER INFO OR CONTAC T X -XXX-XXX-XXXX TRN: XXXXXX0097HH                 Loan Closing Settlement                                            31,900.00
                                                            Tranche 1 - ONLINE DOMESTIC WIRE TRANSFER VIA: CITIZENS BANK, NA/XXXXXXXXX A/C: XXX
                                                            TEN ROD ROAD LLC NORTH KINGSTOWN RI XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN:
04/07/2023   Expense    Ten Rod Road LLC                    XXXXXX3097ES XXX04/07                                                               Loan Closing Settlement                                                  -31,900.00
                                                            Tranche 1 - ONLINE DOMESTIC WIRE TRANSFER VIA: NAVY FCU WASH/XXXXXXXXX A/C:
                                                            CASUAL SKILLET PHILADELPHIA PA XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN:
04/07/2023   Expense    Casual Skillet                      XXXXXXXXXXES 04/07                                                                         Loan Closing Settlement                                             -1,850.00
                                                            Tranche 1 - ONLINE DOMESTIC WIRE TRANSFER VIA: BANK OF AMERICA, N.A./XXXX A/C: BANK
                                                            OF AMERICA N.A. MA BOSTON MA XXXXX US BEN: ITYS LLC PROVIDENCE RI XXXXX US SSN:
04/07/2023   Expense    ITYS LLC                            XXX9265 TRN: XXXXXXXXXXES 04/07                                                     Loan Closing Settlement                                                  -31,900.00
                                                            XXXXXXXXXX ORG=/X XXXXXXXXXXX SAINT JOSEPH, MO, XXXXX , US OGB=BANK OF
                                                            AMERICA, N.A. NEW YORK NY US OBI=ICA WIRE FEE FOR GLO BALWEBXVENTURES
04/10/2023   Deposit    Global Webxventures LLC             BBI=/CHGS/U SSN: XXXXXXX TRN: XXXXXX0100FC                                                 ICA Payable                                                        20,075.00
                                                            XXXX RFB=O/B AMER FIRST F OBI=DEP OSIT ICA XXXX IMAD: XXXXLXBXXLXCXXXXXX TRN:
04/10/2023   Deposit    Ajer LLC                            XXXXXX0100FF                                                                               ICA Payable                                                       180,075.00
                                                            Termination of Loan - DOMESTIC WIRE TRANSFER VIA: US BANK MISSOURI/XXXXXXXXX A/C:
04/10/2023   Expense    Wynn-Hoff Air, Inc.                 WYNN-HOFF AIR, INC IMAD: XXXXBXQGCXXCXXXXXX TRN: XXXXXXXXXXES 04/10                        Termination Refund                                               -500,000.00
04/10/2023   Expense    Grindstone Inc                      Tranche 1 - XCXXXXXX TRN: XXXXXXXXXXES 04/10                                               Loan Closing Settlement                                           -31,900.00
                                                            XXXXX XXXXXX RFB=O/B ORIGIN BANK OBI=DUE DILIGENCE USER ID XXXX IMAD:
04/12/2023   Deposit    Acres and Royalty LLC               XXXXMMQFMPQXXXXXXX TRN: XXXXXX0102FF                                                       Due Diligence Revenue                                              37,000.00
                                                            NV XXXXX-XXXX US/AC-XXXXXX XXXXXX RFB=O/B MELLON BANK OBI=FOR FURTHER CREDIT
                                                            TO PHOENIX RISIN G I LLC KIMBERLY AND SCOTT ROGERS.N AT IONAL SAVINGS IMAD:
04/12/2023   Deposit    Camila Gutierrez                    XXXXBXBXTQXCXXXXXX TRN: XXXXXX0102FF                                                       Due Diligence Revenue                                              30,000.00

                                                            ONLINE DOMESTIC WIRE TRANSFER VIA: WASH TR WESTERLY/XXXXXXXXX A/C: MAKO LLC
04/13/2023   Expense    Mako LLC                            NORTH PROVIDENCE RI XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN: XXXXXXXXXXES 04/13 Loan Closing Settlement                                                        -31,900.00
04/14/2023   Expense    Second Chance Assets LLC            XXXXXX14                                                                                   Commission Expense                                                  -5,250.00
                                                            Termination of Loan - ONLINE DOMESTIC WIRE TRANSFER VIA: BMO HARRIS BANK
                                                            NA/XXXXXXXXX A/C: BSLN SERVICES LLC GLENDALE AZ XXXXX US IMAD:
04/17/2023   Expense    BSLN Services LLC                   XXXXBXQGCXXCXXXXXX TRN: XXXXXXXXXXES 04/17                                                 Termination Refund                                               -150,000.00
                                                            Tranch 1 - ONLINE DOMESTIC WIRE TRANSFER VIA: WASH TR WESTERLY/XXXXXXXXX A/C:
                                                            KYLE SEYBOTH EAST PROVIDENCE RI XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN:
04/17/2023   Expense                                        XXXXXXXXXXES 04/17                                                                         Loan Closing Settlement                                           -31,900.00
                                                            XXX US/AC-XXXXXX XXXXXX RFB=O/B CY NATL BK L OBI=BRI DGE LOAN FEE PAYMENT-
04/18/2023   Deposit    Biassess Strategies LLC             ZOOMERAL US ER ID XXXX IMAD: XXXXLXLFCKXCXXXXXX TRN: XXXXXX0108FF                          Due Diligence Revenue                                             150,000.00
04/18/2023   Expense                                        L REQUEST IMAD: XXXXBXQGCXXCXXXXXX TRN: XXXXXXXXXXHH 04/18                                 Loans Receivable Offset from Chase Bk                             -30,000.00
04/19/2023   Expense    Spiegel and Utrera PA               SPIEGEL AND UTRERA P CORAL GABLES FL 04/19                                                 Legal & Professional Fees:Legal Expense                             -5,000.00
04/19/2023   Expense    Parasec                             PARASEC XXX-XXX-XXXX CA 04/19                                                              Compliance Expense                                                  -1,165.00
04/21/2023   Expense    Spiegel and Utrera PA               SPIEGEL AND UTRERA P CORAL GABLES FL 04/21                                                 Legal & Professional Fees:Legal Expense                             -6,175.08
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                                                                                                                       ONLINE DOMESTIC WIRE TRANSFER VIA: OLD PLANK TRAIL CO/XXXXXXXXX A/C: MCMANN
                                                                                                                       COMMERCIAL LENDING CHICAGO IL XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN:
                                04/24/2023          Expense                         McMann Commercial Lending          XXXXXXXX14ES 04 XXXXX/24                                                              Due Diligence Revenue                                                   -12,000.00
                                                                                                                       ONLINE DOMESTIC WIRE TRANSFER VIA: OLD PLANK TRAIL CO/XXXXXXXXX A/C: MCMANN
                                                                                                                       COMMERCIAL LENDING CHICAGO IL XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN:
                                04/26/2023          Expense                         McMann Commercial Lending          XXXXXXXX16ES 04 XXXXX/26                                                              Due Diligence Revenue                                                   -14,800.00
                                04/26/2023          Expense                         McMann Commercial Lending          XXXXX/26                                                                              Due Diligence Revenue                                                   -18,000.00
                                                                                                                       XXXXX RFB=O/B EW BK SMRINO OBI=DUE DILIGENCE ID XXXX IMAD: XXXXLXBXXQXCXXXXXX
                                05/02/2023          Deposit                         JC & TL Corp                       TRN: XXXXXX0122FF                                                                     Due Diligence Revenue                                                    30,000.00
                                05/02/2023          Deposit                         Velanos Principal Capital Inc.     XXX/CHGS/USDX,/CHGS/USDXX,XX/OCMT/US DXXXXXX,/ TRN: XXXXXX5122FS                      Velanos Capital Receivable                                              499,975.00
                                                                                                                       ONLINE DOMESTIC WIRE TRANSFER VIA: OLD PLANK TRAIL CO/XXXXXXXXX A/C: MCMANN
                                                                                                                       COMMERCIAL LENDING CHICAGO IL XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN:
                                05/03/2023          Expense                         McMann Commercial Lending          XXXXXXXX23ES 05 XXXXX/03                                                              Due Diligence Revenue                                                   -12,000.00

                                                                                                                       RENO NV XXXXX-XXXX US/AC-XXXXXX XXXXXX RFB=O/B FST DAKOTA Y OBI=NOR TH HAVEN
                                05/03/2023          Deposit                         North Haven Lodging Partners LLC   LODGING PARTNERS ACCT # XX XX IMAD: XXXXMMQFMPPCXXXXXX TRN: XXXXXX0123FF              ICA Payable                                                           1,800,075.00

                                                                                                                       RENO NV XXXXX-XXXX US/AC-XXXXXX XXXXXX RFB=O/B FST DAKOTA Y OBI=WAL LINGFORD
                                05/03/2023          Deposit                         Wallingford Lodging Partners LLC   LODGING PARTNERS ACCT # XX XX IMAD: XXXXMMQFMPPCXXXXXX TRN: XXXXXX0123FF              ICA Payable                                                           1,800,075.00
                                05/04/2023          Deposit                                                            DEPOSIT ID NUMBER XX7317                                                              Due to Other Genie Entities                                           1,118,592.88
                                05/04/2023          Transfer                                                           Online Transfer from MMA ...XXXX transaction#: XXXXXXX5984                            CHASE MM Acct# xxx2222                                                  261,468.43
                                                                                                                       R FURTHER CREDIT TO: ACCOUNTNUMBER-XXX-XXXXXX -XXX/TIME/XX:XX IMAD:
                                05/05/2023          Expense                                                            XXXXBXQGCXXCXXXXXX TRN: XXXXXXXXXXES 05/05                                            Due to Other Genie Entities                                           -5,600,000.00
                                                                                                                       ONLINE DOMESTIC WIRE TRANSFER VIA: OLD PLANK TRAIL CO/XXXXXXXXX A/C: MCMANN
                                                                                                                       COMMERCIAL LENDING CHICAGO IL XXXXX US REF: USER ID XXXX IMAD:
                                05/05/2023          Expense                         McMann Commercial Lending          XXXXBXQGCXXCXX2476 TR N: XXXXXXXXXXES 05/05                                           Due Diligence Revenue                                                   -12,000.00
                                                                                                                       Termination of Loan - ONLINE DOMESTIC WIRE TRANSFER VIA: WELLS FARGO NA/XXXXXXXXX
                                                                                                                       A/C: OK OIL HOLDINGS LLC FARMERS BRANCH TX XXXXX US REF:/TIME/XX:XX IMAD:
                                05/08/2023          Expense                         Oil Holdings Inc                   XXXXBXQGCXXCXXXX45 TRN: 36 XXXXXXXXES 05/08                                           Termination Refund                                                     -100,000.00
                                                                                                                       ONLINE DOMESTIC WIRE TRANSFER VIA: SPACE COAST CU/XXXXXXXXX A/C: DRES LODGING
                                                                                                                       LLC MIAMI BEACH FL XXXXX US REF: USER ID XXXX TERMINATION REFUND IMAD:
                                05/15/2023          Expense                         Dres Lodging LLC                   XXX5B1QGC06 CXXXXXX TRN: XXXXXXXXXXES 05/15                                   Termination Refund                                                              -30,000.00
                                05/16/2023          Expense                         Spiegel and Utrera PA              SPIEGEL AND UTRERA PC XXX-XXXXXXX CA 05/16                                            Legal & Professional Fees:Legal Expense                                   -5,000.00
                                                                                                                       NV RENO NV XXXXX-XXXX US/AC-XXXXXX XXXXXX RFB=O/B OLD PLANK TR OBI=PHO ENIX
                                05/31/2023          Deposit                         McMann Commercial Lending          RISING #XXXX ICA DEPOSIT IMAD: XXXXMMQFMPXXXXXXXX TRN: XXXXXX0151FF                   Bridge Interest Revenue                                                  96,287.50
                                                                                                                       XXXX ORG=/X XXXXXXXXXXX XXXX UNITED STATES OGB= MORGAN STANLEY AND CO., LLC
                                                                                                                       NEW YOR K NY US BBI=/CHGS/USDX,XX/OCMT/USDX XXXXXX,XX/EXCH/X,X/ SSN: XXXXXXX          Loan Account - Morgan Stanley Liquidity Access Line Acct#xxx145861-
                                05/31/2023          Deposit                         Morgan Stanley                     TRN: XXXXXX0151FC                                                                     290                                                                   5,735,000.00
                                                                                                                       NV RENO NV XXXXX-XXXX US/AC-XXXXXX XXXXXX RFB=O/B OLD PLANK TR OBI=PHO ENIX
                                06/01/2023          Deposit                         McMann Commercial Lending          RISING #XXXX ICA DEPOSIT IMAD: XXXXMMQFMPXXXXXXXX TRN: XXXXXX0152FF                   Bridge Interest Revenue                                                  96,287.50
                                                                                                                       Termination of Loan - NUMBER: XXXXXXXXX/BNF/FINAL BEN EFICIARY ACCOUNT NAME: XP
                                                                                                                       VENTURES, LLCFINAL BENEFICIA RY ACCOUNT NUMB ER: XXXXXXXXX/TIME/XX:XX IMAD:
                                06/01/2023          Expense                         1P Ventures, LLC                   XXXXBXQGCXXCXXXXXX TRN: XXXXXXXXXXES 06/01                                            Termination Refund                                                    -5,000,000.00
                                                                                                                       ONLINE DOMESTIC WIRE TRANSFER VIA: TD BANK, NA/XXXXXXXXX A/C: GENIES ANGELS
                                06/09/2023          Expense                         Genies Angels                      JACKSONVILLE FL XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN: XXXXXXXXXXES 06/09             Loans Receivable Offset from Chase Bk                                   -25,000.00
                                                                                                                       Repayments of Principle - ONLINE DOMESTIC WIRE TRANSFER VIA: AMER FIRST
                                                                                                                       FCU/XXXXXXXXX A/C: BRITAIN SORENSEN CHECKING HUNTSVILLE UT XXXXX US IMAD:
                                06/09/2023          Expense                         Britain Sorensen                   XXXXBXQGCXXCXXXXXX TRN: XXXXXXXX60ES 06/ XXXXXX09                                     Warrant Investment                                                      -25,000.00
                                06/09/2023          Expense                         Tomowave Laboratories Inc          XXXES 06/09                                                                           Warrant Investment                                                     -200,000.00

                                                                                                                        Repayment of Principle - ONLINE DOMESTIC WIRE TRANSFER A/C: JARED THOMPSON OR
                                                                                                                        DIANA A HERNANDEZN SALT LAKE UT XXXXX US REF:/ACC/XXXXXXXXX3 JARED THOMPSON
                                06/09/2023          Expense                         Jared Thompson or Diana A Hernandez 483 S PARKVIEW DR NORTH SALT LA KE UT XX XXX US TRN: XXXXXXXXXXES 06/09              Warrant Investment                                                      -45,000.00
                                                                                                                       Repayment of Principle - ONLINE DOMESTIC WIRE TRANSFER VIA: BRAVERA BANK/XXXXXXXXX
                                                                                                                       A/C: KIT MCCALL MILLER PURCELL OK XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN:
                                06/09/2023          Expense                         Kit McCall Miller                  XXXXXXXXXXES 06/09                                                                 Warrant Investment                                                         -40,000.00
                                                                                                                       Repayment of Principle - ONLINE DOMESTIC WIRE TRANSFER VIA: VYSTAR CU/XXXXXXXXX A/C:
                                                                                                                       DEREK AND CHRYSTAL CHIPOLETTI MIDDLEBURG FL XXXXX US IMAD:
                                06/09/2023          Expense                         Derek and Chrystal Chipoletti      XXXXBXQGCXXCXXXXXX TRN: XXXXXXXXX0ES 06/0 XXXXXXX9                                   Warrant Investment                                                       -50,000.00
                                                                                                                       Repayment of Principle - ONLINE DOMESTIC WIRE TRANSFER VIA: CATALYST CORP
                                                                                                                       FCU/XXXXXXXXX A/C: XXXXXXXXX POCATELLO ID XXXXXXXXX US BEN: STEVE JOHNSON
                                06/09/2023          Expense                         Catalyst Corp                      AFTON WY XXXXX US IMAD: XXXXB1QGC03C0 XXXXX TRN: XXXXXXXXXXES 06/09                   Warrant Investment                                                     -100,000.00
                                06/12/2023          Expense                         Cheyenne Chipoletti                GCXXCXXXXXX TRN: XXXXXXXXXXES 06/12                                                   Warrant Investment                                                      -50,000.00
                                06/13/2023          Expense                         SMB Real Estate Solutions          All Tranches - XXXES 06/13                                                            Loan Closing Settlement                                                -139,400.00
                                                                                                                       ONLINE DOMESTIC WIRE TRANSFER VIA: AMER FIRST FCU/XXXXXXXXX A/C:
                                                                                    Richard Andre Genserensen Living   RICHARDANDREGENSERENSENLIVINGTRUST HUNTSVILLE UT XXXXX US IMAD:
                                06/14/2023          Expense                         Trust                              XXXXBXQGCXXCXXXXXX TRN: XXX3573 XXXES 06/14                                           Warrant Investment                                                      -75,000.00
                                                                                                                       ONLINE DOMESTIC WIRE TRANSFER VIA: ARVEST BANK/XXXXXXXXX A/C: LEWIS GRAY
                                06/20/2023          Expense                         Lewis Gray                         BENTONVILLE AR XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN: XXXXXXXXXXES 06/20              Warrant Investment                                                      -50,000.00
                                                                                                                       FEDWIRE CREDIT VIA: TD BANK, NA/XXXXXXXXX B/O: PRYM BUILDERS GROUP LLC
                                                                                                                       BROOKLYN, NY XXXXX-XXXX REF: CHASE NYC/CTR/BNF=GENIE INVESTMENTS NV
                                                                                                                       JACKSONVILLE FL X2236 -XXXX US/A C-XXXXXXXXXXXX RFB=MAX-XXXXXXXX OBI =IYSF
                                06/22/2023          Deposit                         Prym Builders Group LLC            SUNSET YARDS LLC LINE OF CRED I T IMAD: XXXXMMQFMPYQXXXXXX TRN: XXXXXX0173FF          ICA Payable                                                              67,575.00
                                06/23/2023          Expense                         Spiegel and Utrera PA              SPIEGEL AND UTRERA P CORAL GABLES FL 06/23                                            Legal & Professional Fees:Legal Expense                                   -5,000.00
                                06/26/2023          Expense                         Spiegel and Utrera PA              SPIEGEL AND UTRERA P CORAL GABLES FL 06/26                                            Legal & Professional Fees:Legal Expense                                   -5,000.00
                                06/28/2023          Expense                         Spiegel and Utrera PA              SPIEGEL AND UTRERA P A DOVER DE 06/28                                                 Legal & Professional Fees:Legal Expense                                   -1,499.90
                                                                                                                       ONLINE DOMESTIC WIRE TRANSFER VIA: COASTAL COMM BK WA/XXXXXXXXX A/C: PRPRTY
                                                                                                                       LLC ROSLYN HEIGHTS NY XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN: XXXXXXXXXXES
                                06/28/2023          Expense                         PRPRTY LLC                         06/28                                                                                 Termination Refund                                                      -15,000.00
                                                                                                                       CHIPS CREDIT VIA: CITIBANK N.A./XXXX B/O: MSL FBO GENIE INVESTMENTS NV C/O CAXXXX
                                                                                                                       UNITED STATES REF: NBNF=GENIE INVESTMENTS NV JACKSONVILLE FL XXXXX-0443 US/AC-
                                                                                                                       XXXXXXXXXXX X ORG=/XXXXXXXXXXXX XXXX UNITED STA TES OGB=MORGAN STANLEY AND
                                                                                                                       CO., LLC NEW YORK NY US BBI=/CHGS/USDX,XX/O CMT/USDXXXXXX,XX/EXCH/X,X/ SSN:
                                06/29/2023          Deposit                         Morgan Stanley                     XXXXXXX TRN: XXXXXX0180FC                                                             Morgan Stanley Acct xxx145712-290:Morgan Stanley Cash Account           350,000.00
                                                                                                                       ONLINE DOMESTIC WIRE TRANSFER VIA: FIRST BANK NC/XXXXXXXXX A/C: JMP GROUP LLC
                                06/29/2023          Expense                         Verco Group (JMP Group)            HOLLY SPRINGS NC XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN: XXXXXXXXXXES 06/29            Termination Refund                                                     -400,000.00
                                                                                                                       CHIPS CREDIT VIA: CITIBANK N.A./XXXX B/O: MSL FBO GENIE INVESTMENTS NV C/O CAXXXX
                                                                                                                       UNITED STATES REF: NBNF=GENIE INVESTMENTS NV JACKSONVILLE FL XXXXX-0443 US/AC-
                                                                                                                       XXXXXXXXXXX X ORG=/XXXXXXXXXXXX XXXX UNITED STA TES OGB=MORGAN STANLEY AND
                                                                                                                       CO., LLC NEW YORK NY US BBI=/CHGS/USDX,XX/O CMT/USDXXXXXX,XX/EXCH/X,X/ SSN:
                                06/30/2023          Deposit                         Morgan Stanley                     XXXXXXX TRN: XXXXXX0181FC                                                             Morgan Stanley Acct xxx145712-290:Morgan Stanley Cash Account           570,890.00

                                                                                                                       ONLINE DOMESTIC WIRE TRANSFER VIA: NAVY FCU WASH/XXXXXXXXX A/C: CASUAL SKILLET
                                07/07/2023          Expense                         Casual Skillet                     PHILADELPHIA PA XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN: XXXXXXXXXXES 07/07      Loans Receivable Offset from Chase Bk                                          -53,950.00
                                                                                                                       ONLINE DOMESTIC WIRE TRANSFER VIA: SPACE COAST CU/XXXXXXXXX A/C: WINSLOW
                                                                                                                       HOMES LLC NEW SMYRNA BEACH FL XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN:
                                07/07/2023          Expense                         Winslow Homes LLC                  XXXXXXXXXXES 07/07                                                                    Loans Receivable Offset from Chase Bk                                   -23,900.00
                                                                                                                       XXXXXXXXX X ORG=/XXXXXXXXXXXX XX UNITED STATE S OGB=MORGAN STANLEY AND CO.,
                                                                                                                       LLC N EW YORK NY US BBI=/CHGS/USDX,XX/OCM T/USDXXXXXX,XX/EXCH/X,X/ SSN: XXXXXXX
                                07/12/2023          Deposit                         Morgan Stanley                     TRN: XXXXXX0193FC                                                               Due to Other Genie Entities                                                   520,000.00
                                                                                                                       ONLINE DOMESTIC WIRE TRANSFER VIA: CY NATL BK LA/XXXXXXXXX A/C: BIASSESS
                                                                                                                       STRATEGIES LOS ANGELES CA XXXXX US REF:/TIME/XX:XX IMAD: XXXXBXQGCXXCXXXXXX
                                07/18/2023          Expense                         Biassess Strategies LLC            TRN: XX9891 XXXXES 07/18                                                              Due Diligence Revenue                                                  -165,000.00
                                                                                                                       ONLINE DOMESTIC WIRE TRANSFER VIA: ADAMS BK OGALLALA/XXXXXXXXX A/C: SCOTT
                                                                                                                       JACK PEASE ROCKY FORD CO XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN:
                                07/19/2023          Expense                         Jack Pease Rocky Ford Co           XXXXXXXXXXES 07/19                                                                    Termination Refund                                                     -150,000.00
                                                                                                                       LENDALE AVE GL E NDALE CA XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN: XXXXXXXXXXES
                                07/19/2023          Expense                         Laneaxis, Inc.                     07/19                                                                         Loans Receivable Offset from Chase Bk                                           -50,000.00
                                                                                                                       ONLINE DOMESTIC WIRE TRANSFER VIA: EVOLVE B & T/XXXXXXXXX A/C: FARMING CO INC
                                                                                                                       MIDLAND TX XXXXX US REF: X MONTHS INTEREST IMAD: XXXXBXQGCXXCXXXXXX TRN:
                                07/19/2023          Expense                         Farming CO Inc.                    XXXXX9320 XES 07/19                                                                   Bridge Interest Revenue                                                 -10,000.00
                                                                                                                       XXXXXXXXXXX X ORG=/XXXXXXXXXXXX XXXX UNITED STA TES OGB=MORGAN STANLEY AND
                                                                                                                       CO., LLC NEW YORK NY US BBI=/CHGS/USDX,XX/O CMT/USDXXXXXX,XX/EXCH/X,X/ SSN:           Loan Account - Morgan Stanley Liquidity Access Line Acct#xxx145861-
                                07/20/2023          Deposit                                                            XXXXXXX TRN: XXXXXX0201FC                                                             290                                                                     780,000.00
                                07/25/2023          Expense                         Spiegel and Utrera PA              SPIEGEL AND UTRERA P A XXX-XXXXXXX FL 07/25                                           Legal & Professional Fees:Legal Expense                                   -1,795.00
                                07/25/2023          Expense                         Spiegel and Utrera PA              SPIEGEL AND UTRERA P A XXX-XXXXXXX FL 07/25                                           Legal & Professional Fees:Legal Expense                                 -11,142.80
                                07/27/2023          Expense                         Spiegel and Utrera PA              SPIEGEL AND UTRERA P A XXX-XXXXXXX FL 07/27                                           Legal & Professional Fees:Legal Expense                                   -2,249.85
                                                                                                                       ONLINE DOMESTIC WIRE TRANSFER A/C: JUST HEWITT LLC RAYMONDVILLE TX XXXXX US
                                07/28/2023          Expense                                                            REF: BRIDGE LOAN FIRST TRANCHE TRN: XXXXXXXXXXES 07/28                                Loans Receivable Offset from Chase Bk                                     -6,000.00
                                07/31/2023          Expense                         ODP Solutions DBA Sky Systemz      XCXXXXXX TRN: XXXXXXXXXXES 07/31                                                      Termination Refund                                                     -110,752.00
                                08/27/2023          Journal Entry   Bank Acct Adj                                                                                                                            -Split-                                                               -1,141,124.32
CHASE Chk xxx9701 (Legal)
                                Beginning Balance
                                01/06/2023          Deposit                         MM Acctxxx9701                     Online Transfer From Mma ...9701 Transaction#: 16224025733                            CHASE Checkingxxx8502                                                   -40,000.00
                                01/31/2023          Transfer                                                           Online Transfer From MMAxxx2222                                                       CHASE MM Acct# xxx2222                                                   28,644.00
                                02/06/2023          Expense                         MM Acctxxx9701                     02/08 Online Transfer To Mma ...9701 Transaction#: 16511419601                        CHASE Checkingxxx8502                                                     9,000.00
                                02/14/2023          Deposit                         MM Acctxxx9701                     Online Transfer From Mma ...9701 Transaction#: 16584061434                            CHASE Checkingxxx8502                                                     -6,500.00
                                02/14/2023          Expense                         MM Acctxxx9701                     02/14 Online Transfer To Mma ...9701 Transaction#: 16577154750                        CHASE Checkingxxx8502                                                    17,000.00
                                02/21/2023          Transfer                                                           Online Transfer from MMAxxx2222                                                       CHASE MM Acct# xxx2222                                                   45,000.00
                                03/02/2023          Deposit                         MM Acctxxx9701                     Online Transfer From Mma ...9701 Transaction#: 16719908316                            CHASE Checkingxxx8502                                                   -15,000.00
                                03/06/2023          Deposit                         MM Acctxxx9701                     Online Transfer From Mma ...9701 Transaction#: 16761414854                            CHASE Checkingxxx8502                                                  -100,000.00
                                03/31/2023          Transfer                                                                                                                                                 CHASE MM Acct# xxx2222                                                   18,000.00
                                08/27/2023          Journal Entry   Bank Acct Adj                                                                                                                            -Split-                                                                   -2,045.29
CHASE MM Acct xxx3350 (Bridge
Interest)
                                Beginning Balance
                                01/04/2023          Expense                         MM xxx3350                         01/04 Online Transfer To Mma ...3350 Transaction#: 16208519061                        CHASE Checkingxxx8502                                                    15,000.00
                                01/04/2023          Deposit                         MM xxx3350                         Online Transfer From Mma ...3350 Transaction#: 16208631735                            CHASE Checkingxxx8502                                                     -9,000.00
                                01/04/2023          Expense                         MM xxx3350                         01/04 Online Transfer To Mma ...3350 Transaction#: 16208537138                        CHASE Checkingxxx8502                                                    30,000.00
                                01/06/2023          Deposit                         MM xxx3350                         Online Transfer From Mma ...3350 Transaction#: 16224030417                            CHASE Checkingxxx8502                                                   -60,000.00
                                02/06/2023          Expense                         MM xxx3350                         02/08 Online Transfer To Mma ...3350 Transaction#: 16511421474                        CHASE Checkingxxx8502                                                   165,000.00
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                                     02/06/2023          Expense                           MM xxx3350                          02/08 Online Transfer To Mma ...3350 Transaction#: 16511413023                                   CHASE Checkingxxx8502          91,000.00
                                     02/08/2023          Expense                           MM xxx3350                          02/14 Online Transfer To Mma ...3350 Transaction#: 16573561351                                   CHASE Checkingxxx8502          99,000.00
                                     02/14/2023          Deposit                           MM xxx3350                          Online Transfer From Mma ...3350 Transaction#: 16573606498                                       CHASE Checkingxxx8502         -10,000.00
                                     02/14/2023          Expense                           MM xxx3350                          02/14 Online Transfer To Mma ...3350 Transaction#: 16573576883                                   CHASE Checkingxxx8502           7,500.00
                                     02/23/2023          Expense                           MM xxx3350                          02/24 Online Transfer To Mma ...3350 Transaction#: 16664295448                                   CHASE Checkingxxx8502          80,000.00
                                     03/02/2023          Expense                           MM xxx3350                          03/03 Online Transfer To Mma ...3350 Transaction#: 16733382986                                   CHASE Checkingxxx8502          34,500.00
                                     03/03/2023          Deposit                           MM xxx3350                          Online Transfer From Mma ...3350 Transaction#: 16761401019                                       CHASE Checkingxxx8502        -450,000.00
                                     08/27/2023          Journal Entry   Bank Acct Adj                                                                                                                                          -Split-                       -21,307.38
CHASE MM Acct# xxx2222
                                     Beginning Balance
                                     01/03/2023          Deposit                           MM Acctxxx2222                      Online Transfer From Mma ...2222 Transaction#: 16194833027                                       CHASE Checkingxxx8502       -1,450,000.00
                                     01/04/2023          Expense                           MM Acctxxx2222                      01/04 Online Transfer To Mma ...2222 Transaction#: 16208604948                                   CHASE Checkingxxx8502         476,500.00
                                                                                                                               Book Transfer Credit B/O: Kristin Stegent OR Ryan S Stegent Snook TX 77878-0184 US Ref: Bridge
                                     01/11/2023          Deposit                           Kristin Stegent or Ryan S Stegent   Loan Prepaid Interest And Zoomeral Fees Trn: 3484643010Es                                        Bridge Interest Revenue        26,805.00
                                                                                                                               Fedwire Credit Via: U.S. Bank N.A./123000220 B/O: Oregon Business Management Group
                                                                                                                               Intigard,OR,97223 US Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643 US/Ac-
                                                                                                                               000000 040123 Rfb=230124032805 Obi=Loan Bu Siness Relationship Bbi=/Chgs/USD0, 00/ Imad:
                                     01/24/2023          Deposit                           Oregon Business Management Group    0124Mmqfmp31003279 Trn: 0666190024Ff                                                             Bridge Interest Revenue         9,000.00
                                     01/31/2023          Transfer                                                              Online Transfer From MMAxxx2222                                                                  CHASE Chk xxx9701 (Legal)     -28,644.00
                                     01/31/2023          Deposit                           MM Acctxxx2222                      Online Transfer From Mma ...2222 Transaction#: 16424125177                                       CHASE Checkingxxx8502           -7,161.00
                                     02/08/2023          Expense                           MM Acctxxx2222                      02/14 Online Transfer To Mma ...2222 Transaction#: 16573556073                                   CHASE Checkingxxx8502         602,500.00
                                                                                                                               Book Transfer Credit B/O: Global Verse Holdings LLC Sheridan WY 82801-6317 US Ref: Bridge Loan
                                                                                                                               Interest Pmt For 1.5 Percent of 3575000 Loan/Bnf/Bridge Lo An Interest Pmt For 1.5 Percent of
                                     02/10/2023          Deposit                           Global Verse Holdings LLC           3575000 Loan Trn: 3078023041Es                                                                 Bridge Interest Revenue          45,000.00
                                                                                                                               o National Bank/111300958 B/O: Nutra-Acres LLC Dumas TX 79029 Ref: Chase Nyc/Ctr/Bnf=Genie
                                                                                                                               Investments NV Reno NV 89502-1643 US/Ac-000000 040123 Rfb=O/B Amarillo Nat Obi=Bri Dge- LLC
                                     02/13/2023          Deposit                           Nutra-Acres LLC                     Mcmann Funding Imad: 0213Mmqfmpdy000171 Trn: 0658740044Ff                                   Bridge Interest Revenue            115,000.00
                                     02/17/2023          Expense                           MM Acctxxx2222                      02/18 Online Transfer To Mma ...2222 Transaction#: 16616026316                                   CHASE Checkingxxx8502         114,000.00
                                     02/21/2023          Transfer                                                              Online Transfer from MMAxxx2222                                                                  CHASE Chk xxx9701 (Legal)     -45,000.00
                                     02/24/2023          Expense                           MM Acctxxx2222                      02/24 Online Transfer To Mma ...2222 Transaction#: 16664297946                                   CHASE Checkingxxx8502         140,000.00
                                     03/01/2023          Expense                           MM Acctxxx2222                      03/01 Online Transfer To Mma ...2222 Transaction#: 16708737091                                   CHASE Checkingxxx8502         150,000.00
                                     03/01/2023          Deposit                           MM Acctxxx2222                      Online Transfer From Mma ...2222 Transaction#: 16712923945                                       CHASE Checkingxxx8502         -12,500.00
                                     03/02/2023          Expense                           MM Acctxxx2222                      03/03 Online Transfer To Mma ...2222 Transaction#: 16733416827                                   CHASE Checkingxxx8502         200,000.00
                                     03/03/2023          Deposit                           MM Acctxxx2222                      Online Transfer From Mma ...2222 Transaction#: 16756845254                                       CHASE Checkingxxx8502       -1,950,000.00
                                     03/09/2023          Expense                           MM Acctxxx2222                      03/09 Online Transfer To Mma ...2222 Transaction#: 16785590126                                   CHASE Checkingxxx8502          15,000.00
                                     03/16/2023          Expense                           MM Acctxxx2222                      03/16 Online Transfer To Mma ...2222 Transaction#: 16841208963                                   CHASE Checkingxxx8502          15,000.00
                                     03/24/2023          Transfer                                                              Online Transfer from CHK ...XXXX transaction#: XXXXXXX7383                                       CHASE Checkingxxx8502         155,000.00
                                     03/27/2023          Transfer                                                              Online Transfer to CHK ...XXXX transaction#: XXXXXXXXXXX 03/27                                   CHASE Checkingxxx8502        -132,000.00
                                     03/31/2023          Transfer                                                              Online Transfer from CHK ...XXXX transaction#: XXXXXXX9464                                       CHASE Checkingxxx8502         100,000.00
                                     03/31/2023          Transfer                                                                                                                                                               CHASE Chk xxx9701 (Legal)     -18,000.00
                                     03/31/2023          Deposit         1                                                     REMOTE ONLINE DEPOSIT # 1                                                                        ICA Payable                   100,000.00
                                     05/04/2023          Transfer                                                              Online Transfer from MMA ...XXXX transaction#: XXXXXXX5984                                       CHASE Checkingxxx8502        -261,468.43
                                     08/27/2023          Journal Entry   Bank Acct Adj                                                                                                                                          -Split-                         -2,000.80
 1278 Loan #1278
                                                                         Warrant
                                     12/31/2023          Journal Entry   Investment                                                                                                                                             -Split-                       383,418.00
 1903 Loan #1903
                                                                         1st Tranche
                                     07/28/2023          Journal Entry   Loan#1903                                                                                                                                              -Split-                        20,000.00
 2113 Loan #2113
                                                                         2nd Tranche
                                     07/19/2023          Journal Entry   #2113                                                                                                                                                  -Split-                        50,000.00
 2565 Loan #2565
                                                                         1st Tranche
                                     08/28/2023          Journal Entry   Loan#2565                                                                                                                                              -Split-                        20,000.00
 2587 Loan #2587
                                                                         Tranche 1 Loan
                                     04/07/2023          Journal Entry   #2587                                                 1st Tranche                                                                                      -Split-                        13,000.00
                                                                         Tranche 2
                                     07/07/2023          Journal Entry   Loan#2587                                             2nd Tranche                                                                                      -Split-                        52,000.00
 2611 Loan #2611
                                                                         1st Tranche
                                     04/07/2023          Journal Entry   Loan#2611                                                                                                                                              -Split-                        20,000.00
 2658 Loan #2658
                                                                         1st Tranche
                                     04/07/2023          Journal Entry   #2658                                                                                                                                                  -Split-                        10,000.00
 2665 Loan #2665
                                                                         1st Tranche
                                     04/07/2023          Journal Entry   Loan#2665                                                                                                                                              -Split-                        50,000.00
 2685 Loan #2685
                                                                         2nd Tranche
                                     07/07/2023          Journal Entry   Loan#2685                                                                                                                                              -Split-                        20,000.00
                                                                         1st Tranche
                                     07/07/2023          Journal Entry   #2685                                                                                                                                                  -Split-                         5,000.00
 2694 Loan #2694
                                                                         1st Tranche
                                     04/07/2023          Journal Entry   Loan#2694                                                                                                                                              -Split-                        40,000.00
 2695 Loan #2695
                                                                         1st Tranche
                                     04/10/2023          Journal Entry   #2695                                                                                                                                                  -Split-                        40,000.00
 2701 Loan #2701
                                                                         1st Tranche
                                     04/07/2023          Journal Entry   #2701                                                                                                                                                  -Split-                        40,000.00
 2703 Loan #2703
                                     04/07/2023          Journal Entry   Tranche 1 #2703                                                                                                                                        -Split-                        40,000.00
 2704 Loan #2704
                                     04/07/2023          Journal Entry   Tranche 1 #2704                                                                                                                                        -Split-                        40,000.00
 2706 Loan #2706
                                     04/07/2023          Journal Entry   Tranche 1 #2706                                                                                                                                        -Split-                        40,000.00
 2716 Loan #2716
                                     04/07/2023          Journal Entry   Tranche 1 #2716                                                                                                                                        -Split-                        40,000.00
 2717 Loan #2717
                                     04/07/2023          Journal Entry   Tranche 1 #2717                                                                                                                                        -Split-                        40,000.00
 2735 Loan #2735
                                     04/07/2023          Journal Entry   Tranche 1 #2735                                                                                                                                        -Split-                        20,000.00
 3281 Loan #3281
                                     08/27/2023          Journal Entry   Bank Acct Adj                                                                                                                                          -Split-                        68,477.79
                                                                         9/23 Cash
                                     09/30/2023          Journal Entry   Investments                                           Wired Funds Received from Genie Investments II LLC                                               -Split-                       600,000.00
                                                                         Genie Invest II
                                     12/31/2023          Journal Entry   A/P                                                                                                                                                    -Split-                       -15,000.00
Loans Receivable Offset from Chase
Bk
                                     Beginning Balance
                                     01/03/2023          Journal Entry   Due Diligence                                         Loan#2634                                                                                        -Split-                        35,000.00
                                     01/31/2023          Journal Entry   Due Diligence                                         Loan #2895                                                                                       -Split-                        25,000.00
                                     02/02/2023          Journal Entry   ICA Loan#2685                                         10x                                                                                              -Split-                         2,500.00
                                     02/08/2023          Journal Entry   ICA Loan#2695                                         10X                                                                                              -Split-                        20,000.00
                                     02/09/2023          Journal Entry   ICA Loan#2703                                         10X                                                                                              -Split-                        20,000.00
                                     02/10/2023          Journal Entry   ICA Loan#2701                                         10X                                                                                              -Split-                        20,000.00
                                     02/10/2023          Journal Entry   ICA Loan#2704                                         10X                                                                                              -Split-                        20,000.00
                                     02/10/2023          Journal Entry   ICA Loan#2706                                         10X                                                                                              -Split-                        20,000.00
                                     02/16/2023          Journal Entry   ICA Loan#2716                                         10X                                                                                              -Split-                        20,000.00
                                     02/16/2023          Journal Entry   ICA Loan#2735                                                                                                                                          -Split-                        15,000.00
                                     02/16/2023          Journal Entry   ICA Loan#2717                                         10X                                                                                              -Split-                        20,000.00
                                                                         Tranche 1 Loan
                                     04/07/2023          Journal Entry   #2587                                                 Cash Out                                                                                         -Split-                       -10,300.00
                                     04/07/2023          Journal Entry   Tranche 1 #2703                                                                                                                                        -Split-                       -31,900.00
                                                                         Tranche 1 Loan
                                     04/07/2023          Journal Entry   #2587                                                 Money Received from Loan #2587 (10X)                                                             -Split-                         6,500.00
                                                                         1st Tranche
                                     04/07/2023          Journal Entry   Loan#2694                                             Record ICA Payable                                                                               -Split-                        20,000.00
                                                                         1st Tranche
                                     04/07/2023          Journal Entry   #2658                                                                                                                                                  -Split-                         -9,400.00
                                                                         1st Tranche
                                     04/07/2023          Journal Entry   #2701                                                                                                                                                  -Split-                       -31,900.00
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                                                                       1st Tranche
                                          04/07/2023   Journal Entry   Loan#2694                                                                                                              -Split-                   -31,900.00
                                          04/07/2023   Journal Entry   Tranche 1 #2716                                                                                                        -Split-                   -31,900.00
                                                                       1st Tranche
                                          04/07/2023   Journal Entry   Loan#2611                                                                                                              -Split-                   10,000.00
                                                                       1st Tranche
                                          04/07/2023   Journal Entry   #2658                                                                                                                  -Split-                     5,000.00
                                          04/07/2023   Journal Entry   Tranche 1 #2704                                                                                                        -Split-                   -31,900.00
                                                                       1st Tranche
                                          04/07/2023   Journal Entry   Loan#2611                                                                                                              -Split-                   -15,900.00
                                          04/07/2023   Journal Entry   Tranche 1 #2735                                                                                                        -Split-                   -15,900.00
                                          04/07/2023   Journal Entry   Tranche 1 #2706                                                                                                        -Split-                   -31,900.00
                                                                       1st Tranche
                                          04/07/2023   Journal Entry   Loan#2665                                                                                                              -Split-                   25,000.00
                                                                       1st Tranche
                                          04/07/2023   Journal Entry   Loan#2665                                                                                                              -Split-                   -39,900.00
                                          04/07/2023   Journal Entry   Tranche 1 #2717                                                                                                        -Split-                   -31,900.00
                                                                       1st Tranche
                                          04/10/2023   Journal Entry   #2695                                                                                                                  -Split-                   -31,900.00
                                          04/18/2023   Expense                                                L REQUEST IMAD: XXXXBXQGCXXCXXXXXX TRN: XXXXXXXXXXHH 04/18                      CHASE Checkingxxx8502     30,000.00
                                                                                                              ONLINE DOMESTIC WIRE TRANSFER VIA: TD BANK, NA/XXXXXXXXX A/C: GENIES ANGELS
                                          06/09/2023   Expense                            Genies Angels       JACKSONVILLE FL XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN: XXXXXXXXXXES 06/09       CHASE Checkingxxx8502     25,000.00
                                                                       2nd Tranche
                                          07/07/2023   Journal Entry   Loan#2685                                                                                                              -Split-                   -20,000.00
                                                                       Tranche 2
                                          07/07/2023   Journal Entry   Loan#2587                              2nd Tranche                                                                     -Split-                   -52,000.00
                                                                       1st Tranche
                                          07/07/2023   Journal Entry   #2685                                                                                                                  -Split-                    -3,900.00

                                                                                                              ONLINE DOMESTIC WIRE TRANSFER VIA: NAVY FCU WASH/XXXXXXXXX A/C: CASUAL SKILLET
                                          07/07/2023   Expense                            Casual Skillet      PHILADELPHIA PA XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN: XXXXXXXXXXES 07/07      CHASE Checkingxxx8502      53,950.00
                                                                                                              ONLINE DOMESTIC WIRE TRANSFER VIA: SPACE COAST CU/XXXXXXXXX A/C: WINSLOW
                                                                                                              HOMES LLC NEW SMYRNA BEACH FL XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN:
                                          07/07/2023   Expense                            Winslow Homes LLC   XXXXXXXXXXES 07/07                                                              CHASE Checkingxxx8502     23,900.00
                                                                                                              LENDALE AVE GL E NDALE CA XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN: XXXXXXXXXXES
                                          07/19/2023   Expense                            Laneaxis, Inc.      07/19                                                                         CHASE Checkingxxx8502       50,000.00
                                                                       2nd Tranche
                                          07/19/2023   Journal Entry   #2113                                                                                                                  -Split-                   -50,000.00
                                                                                                              ONLINE DOMESTIC WIRE TRANSFER A/C: JUST HEWITT LLC RAYMONDVILLE TX XXXXX US
                                          07/28/2023   Expense                                                REF: BRIDGE LOAN FIRST TRANCHE TRN: XXXXXXXXXXES 07/28                          CHASE Checkingxxx8502       6,000.00
                                                                       1st Tranche
                                          07/28/2023   Journal Entry   Loan#1903                                                                                                              -Split-                   10,000.00
                                                                       1st Tranche
                                          07/28/2023   Journal Entry   Loan#1903                                                                                                              -Split-                   -19,300.00
                                                                       1st Tranche
                                          08/28/2023   Journal Entry   Loan#2565                                                                                                              -Split-                   -15,900.00
                                                                       Warren Law
                                          12/31/2023   Journal Entry   Group                                                                                                                  -Split-                   50,000.00
                                                                       Warren Law
                                          12/31/2023   Journal Entry   Group                                                                                                                  -Split-                 5,000,000.00
Morgan Stanley Acct xxx145712-290
  ABRDN Bloomberg All Commodit
(BCI)
                                                                       08/23 Stock
                                          08/31/2023   Journal Entry   Purchase                                                                                                               -Split-                     1,093.91
                                          09/30/2023   Journal Entry   9/23 Stock Sales                                                                                                       -Split-                    -1,116.05
 ALPS Clean Energy ETF
                                          07/31/2023   Journal Entry                                                                                                                          -Split-                   22,301.10
                                                                       8/23 Realized
                                          08/31/2023   Journal Entry   Loss                                                                                                                   -Split-                    -3,068.63
                                                                       08/23 Stocks
                                          08/31/2023   Journal Entry   Sold                                                                                                                   -Split-                   -19,232.47
  American BD FD of America F2
(ABNFX)
                                          07/31/2023   Journal Entry                                                                                                                          -Split-                    -1,117.30
 American CAP Inc Builder F2 (CAIFX)
                                          07/31/2023   Journal Entry                                                                                                                          -Split-                    -1,170.35
  American Global Balanced F2
(GBLFX)
                                          07/31/2023   Journal Entry                                                                                                                          -Split-                    -1,182.66
 Amplify High Income ETF
                                          07/31/2023   Journal Entry                                                                                                                          -Split-                   22,285.28
                                                                       08/23 Stocks
                                          08/31/2023   Journal Entry   Sold                                                                                                                   -Split-                   -21,986.96
 AQR EQ Market Neutral Inst (QMNIX)
SH 2,149.465
                                                                       Morgan Purch
                                          01/31/2023   Journal Entry   1/23                                                                                                                   -Split-                     6,879.43
                                                                       Investments Feb
                                          02/28/2023   Journal Entry   2023                                                                                                                   -Split-                   76,054.63
                                                                       Investments
                                          03/31/2023   Journal Entry   03/23                                                                                                                  -Split-                  -101,513.12
 Bank of America Corp FXD to 102024
Var Thraftr 6.5%
                                                                       Investments May
                                          05/31/2023   Journal Entry   23                                                                                                                     -Split-                   57,585.91
                                                                       Realized
                                          07/31/2023   Journal Entry   Gains/Loss                                                                                                             -Split-                     1,364.81
                                          07/31/2023   Journal Entry                                                                                                                          -Split-                   -58,950.72
  Bk of America CD Charlotte NC CD
5.250%
                                          07/31/2023   Journal Entry                                                                                                                          -Split-                  332,833.50
                                          09/30/2023   Journal Entry   9/23 Stock Sales                                                                                                       -Split-                  -334,267.04
                                                                       Realized
                                          09/30/2023   Journal Entry   Gains/Loss                                                                                                             -Split-                     1,433.54
 Blackrock energy & Resources (BGR)
SH 307
                                                                       Morgan Purch
                                          01/31/2023   Journal Entry   1/23                                                                                                                   -Split-                   11,696.01
                                                                       Investments
                                          03/31/2023   Journal Entry   03/23                                                                                                                  -Split-                   -14,361.27
                                                                       08/23 Stock
                                          08/31/2023   Journal Entry   Purchase                                                                                                               -Split-                   21,142.80
                                                                       08/23 Stock
                                          08/31/2023   Journal Entry   Purchase                                                                                                               -Split-                     1,108.09
                                          09/30/2023   Journal Entry   9/23 Stock Sales                                                                                                       -Split-                   -23,194.81
 Blackrock Flt Rte Inc Strat Rd (FRA)
SH 230
                                                                       Morgan Purch
                                          01/31/2023   Journal Entry   1/23                                                                                                                   -Split-                      947.92
                                                                       Investments
                                          03/31/2023   Journal Entry   03/23                                                                                                                  -Split-                    -3,558.79
                                                                       08/23 Stock
                                          08/31/2023   Journal Entry   Purchase                                                                                                               -Split-                     1,104.16
                                          09/30/2023   Journal Entry   9/23 Stock Sales                                                                                                       -Split-                    -1,132.07
 Blackrock LTD Duration Inc.
                                          07/31/2023   Journal Entry                                                                                                                          -Split-                   44,628.81
                                                                       08/23 Stocks
                                          08/31/2023   Journal Entry   Sold                                                                                                                   -Split-                   -44,038.77
 Blackrock Multi-Asset Inc Inst (BIICX)
                                                                       Investments May
                                          05/31/2023   Journal Entry   23                                                                                                                     -Split-                   33,793.79
                                          07/31/2023   Journal Entry                                                                                                                          -Split-                   -34,566.13
 Blackrock Multi-Sector Inc TR (BIT)
                                          07/31/2023   Journal Entry                                                                                                                          -Split-                    -1,122.69
 Blackrock Res & Comm Strat TR
                                          07/31/2023   Journal Entry                                                                                                                          -Split-                   22,270.66
                                                                       8/23 Realized
                                          08/31/2023   Journal Entry   Loss                                                                                                                   -Split-                    -1,029.34
                                                                       08/23 Stocks
                                          08/31/2023   Journal Entry   Sold                                                                                                                   -Split-                   -21,241.32
 Blackstone Alt Multi-Strat 1 (BXMIX)
SH 2,770.946
                                                                       Morgan Purch
                                          01/31/2023   Journal Entry   1/23                                                                                                                   -Split-                   10,710.07
                                                                       Morgan Purch
                                          01/31/2023   Journal Entry   1/23                                                                                                                   -Split-                   12,716.24
                                                                       Investments Feb
                                          02/28/2023   Journal Entry   2023                                                                                                                   -Split-                   35,744.50
                                                                       Investments
                                          03/31/2023   Journal Entry   03/23                                                                                                                  -Split-                   -86,963.40
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                                       07/31/2023   Journal Entry                                                        -Split-              44,512.22
                                                                    08/23 Stocks
                                       08/31/2023   Journal Entry   Sold                                                 -Split-             -44,257.86
 Blackstone Inc (BX)
                                       07/31/2023   Journal Entry                                                        -Split-               -1,365.76
 BMO Harris Bk Natl Assn 5.500%
                                       07/31/2023   Journal Entry                                                        -Split-             331,335.00
                                                                    08/23 Stocks
                                       08/31/2023   Journal Entry   Sold                                                 -Split-            -332,019.47
 Chevron Corp (CVX)
 Citigrp Inc 7.125%-J
                                       07/31/2023   Journal Entry                                                        -Split-             223,424.68
                                       09/30/2023   Journal Entry   9/23 Stock Sales                                     -Split-            -224,538.63
  Clearbridge Large Cap GRT ETF
(LRGE)
                                       07/31/2023   Journal Entry                                                        -Split-               -1,267.55
 Columbia Balanced Inst (CBALX)
                                                                    Investments May
                                       05/31/2023   Journal Entry   23                                                   -Split-              33,796.77
                                                                    Realized
                                       07/31/2023   Journal Entry   Gains/Loss                                           -Split-               1,867.91
                                       07/31/2023   Journal Entry                                                        -Split-             -36,246.31
 Coterra Energy Inc
                                                                    08/23 Stock
                                       08/31/2023   Journal Entry   Purchase                                             -Split-               1,085.69
 DNP Select Income Inc
                                                                    08/23 Stock
                                       08/31/2023   Journal Entry   Purchase                                             -Split-               1,111.22
                                       09/30/2023   Journal Entry   9/23 Stock Sales                                     -Split-               -1,101.64
 Doubleline Total Return 1 (DBLTX)
                                       07/31/2023   Journal Entry                                                        -Split-               -1,121.16
 Eaton Vance LTD Duration FD
                                                                    08/23 Stocks
                                       08/31/2023   Journal Entry   Sold                                                 -Split-               -1,091.49
                                                                    08/23 Stock
                                       08/31/2023   Journal Entry   Purchase                                             -Split-               1,104.81
 Exxon Mobil Corp (XOM) SH 3
                                                                    Morgan Purch
                                       01/31/2023   Journal Entry   1/23                                                 -Split-               2,567.84
                                                                    Investments
                                       03/31/2023   Journal Entry   03/23                                                -Split-               -2,991.06
  Fed Home Ln Mtg Corp Med Term No
3134GYD25
                                                                    Morgan Purch
                                       01/31/2023   Journal Entry   1/23                                                 -Split-              25,012.20
                                                                    Investments Feb
                                       02/28/2023   Journal Entry   2023                                                 -Split-             -25,012.13
  Federated Hermes Govt OBL AVR
(GOVXX) SH 296,454.29
                                                                    Morgan Purch
                                       01/31/2023   Journal Entry   1/23                                                 -Split-             271,098.47
                                                                    Investments Feb
                                       02/28/2023   Journal Entry   2023                                                 -Split-           3,405,169.51
                                                                    Investments
                                       03/31/2023   Journal Entry   03/23                                                -Split-             425,835.92
                                       04/30/2023   Journal Entry   Investments 4/24                                     -Split-             544,567.06
                                                                    Investments May
                                       05/31/2023   Journal Entry   23                                                   -Split-           -2,085,376.10
                                       07/31/2023   Journal Entry                                                        -Split-           -1,200,000.00
                                       07/31/2023   Journal Entry                      Purchase 7/24                     -Split-           4,341,756.73
                                       07/31/2023   Journal Entry                      Purchase 7/24                     -Split-           1,095,622.93
                                                                    08/23 Stock
                                       08/31/2023   Journal Entry   Purchase                                             -Split-             867,376.44
                                                                    08/23 Stock
                                       08/31/2023   Journal Entry   Purchase                                             -Split-               6,335.62
                                       09/30/2023   Journal Entry   9/23 Stock Sales                                     -Split-           -8,040,068.82
                                                                    Realized
                                       09/30/2023   Journal Entry   Gains/Loss                                           -Split-              70,523.60
                                       11/30/2023   Journal Entry   Stock Purchase                                       -Split-           1,500,000.00
                                                                    12/23 Stock
                                       12/31/2023   Journal Entry   Sales                                                -Split-           -1,500,217.20
  Federated HRMS FLRT STR Inc IS
(FFRSX)
                                       07/31/2023   Journal Entry                      Purchase 7/24                     -Split-              55,603.98
                                                                    08/23 Stock
                                       08/31/2023   Journal Entry   Purchase                                             -Split-              22,072.21
                                       09/30/2023   Journal Entry   9/23 Stock Sales                                     -Split-             -78,201.40
 Fidelis Insurance Holdings LTD
                                                                    08/23 Stock
                                       08/31/2023   Journal Entry   Purchase                                             -Split-               1,105.93
                                       09/30/2023   Journal Entry   9/23 Stock Sales                                     -Split-               -1,117.76
 First Tr MLP & ENRG INC FND (FEI)
SH 981
                                                                    Morgan Purch
                                       01/31/2023   Journal Entry   1/23                                                 -Split-               7,790.37
                                                                    Investments
                                       03/31/2023   Journal Entry   03/23                                                -Split-             -14,309.78
 First Trst NASD Cl Edgt SgIIF
                                       07/31/2023   Journal Entry                                                        -Split-              22,224.40
                                                                    8/23 Realized
                                       08/31/2023   Journal Entry   Loss                                                 -Split-               -1,456.03
                                                                    08/23 Stocks
                                       08/31/2023   Journal Entry   Sold                                                 -Split-             -20,768.37
 Flexshares High Yield Value (HYGV)
                                                                    Investments May
                                       05/31/2023   Journal Entry   23                                                   -Split-              11,391.12
                                       07/31/2023   Journal Entry                                                        -Split-             -11,524.65
 Franklin Investment Grade Co (FLCO)
SH 174
                                                                    Morgan Purch
                                       01/31/2023   Journal Entry   1/23                                                 -Split-              11,770.77
                                                                    Investments
                                       03/31/2023   Journal Entry   03/23                                                -Split-             -15,450.05
  Ft North American Energy Infra
(EMLP) SH 984
                                                                    Morgan Purch
                                       01/31/2023   Journal Entry   1/23                                                 -Split-              19,754.94
                                                                    Investments
                                       03/31/2023   Journal Entry   03/23                                                -Split-             -45,121.11
 Gabelli Gold I (GLDIX)
                                       07/31/2023   Journal Entry                                                        -Split-               -1,012.11
 General Motors Financial Co Inc.
                                                                    Investments May
                                       05/31/2023   Journal Entry   23                                                   -Split-              56,855.40
                                       07/31/2023   Journal Entry                                                        -Split-             -57,124.75
 Global X NASD 100 Cov Call (QYLD)
                                                                    Investments May
                                       05/31/2023   Journal Entry   23                                                   -Split-              11,402.46
                                       07/31/2023   Journal Entry                                                        -Split-             -11,654.18
  Global X S&P 500 CA VAL ETF
(CATH)
                                       07/31/2023   Journal Entry                                                        -Split-               -1,227.23
  Goldman Sachs Group Inc/The
6.910%
                                                                    Investments May
                                       05/31/2023   Journal Entry   23                                                   -Split-             114,305.93
                                       07/31/2023   Journal Entry                                                        -Split-            -115,575.14
                                                                    Realized
                                       07/31/2023   Journal Entry   Gains/Loss                                           -Split-               1,269.21
  Goldman Sachs Group Inc/The
7.022%
                                                                    Investments May
                                       05/31/2023   Journal Entry   23                                                   -Split-             114,332.29
                                       07/31/2023   Journal Entry                                                        -Split-            -116,108.80
                                                                    Realized
                                       07/31/2023   Journal Entry   Gains/Loss                                           -Split-               1,776.51
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 Goldman Sachs Grp Inc 8.97%
                                        07/31/2023   Journal Entry                                                        -Split-             223,842.65
                                                                     8/23 Realized
                                        08/31/2023   Journal Entry   Loss                                                 -Split-               -2,518.75
                                                                     08/23 Stocks
                                        08/31/2023   Journal Entry   Sold                                                 -Split-            -221,323.90
  Goldmann Sachs Access TRE 0-1 Y
(GBIL) SH 1484
                                                                     Morgan Purch
                                        01/31/2023   Journal Entry   1/23                                                 -Split-              58,453.50
                                        04/30/2023   Journal Entry   Investments 4/24                                     -Split-              25,688.90
                                                                     Investments May
                                        05/31/2023   Journal Entry   23                                                   -Split-           2,512,025.64
                                        07/31/2023   Journal Entry                                                        -Split-           -2,747,378.62
                                                                     Realized
                                        07/31/2023   Journal Entry   Gains/Loss                                           -Split-               3,032.91
  Harmony Gold MNG LTD ADR NEW
(HMY)
                                                                     Investments May
                                        05/31/2023   Journal Entry   23                                                   -Split-               5,072.75
                                        07/31/2023   Journal Entry                                                        -Split-               -4,900.09
 Huya Inc Ads Rep SHS A
                                                                     08/23 Stock
                                        08/31/2023   Journal Entry   Purchase                                             -Split-               1,109.83
                                        09/30/2023   Journal Entry   9/23 Stock Sales                                     -Split-               -1,062.41
 INTL Business Machines Corp
                                                                     08/23 Stock
                                        08/31/2023   Journal Entry   Purchase                                             -Split-               1,008.86
                                        09/30/2023   Journal Entry   9/23 Stock Sales                                     -Split-               -1,026.41
 Invesco DB Commodity Index TRA
                                                                     Morgan Purch
                                        01/31/2023   Journal Entry   1/23                                                 -Split-               4,617.97
                                        02/28/2023   Journal Entry   Sold 02/2023                                         -Split-               -4,865.60
 Invesco Global Water ETF (PIO)
                                        07/31/2023   Journal Entry                                                        -Split-               -1,172.66
 Invesco QQQ Trust, Series 1 (QQQ)
                                        07/31/2023   Journal Entry                                                        -Split-               -1,126.13
 Invesco Short Term Treasury (TBLL)
                                        10/31/2023   Journal Entry   Stock Purchases                                      -Split-             999,904.50
                                                                     12/23 Stock
                                        12/31/2023   Journal Entry   Sales                                                -Split-               -2,311.90
                                                                     12/23 Stock
                                        12/31/2023   Journal Entry   Sales                                                -Split-            -997,592.60
  Invesco Treasury Collateral ET
(CLTL) SH 7
                                                                     Investments May
                                        05/31/2023   Journal Entry   23                                                   -Split-               1,055.95
                                        07/31/2023   Journal Entry                                                        -Split-               -2,212.33
 Invesco Ultra Short Duration
                                                                     08/23 Stock
                                        08/31/2023   Journal Entry   Purchase                                             -Split-              33,283.10
                                                                     08/23 Stocks
                                        08/31/2023   Journal Entry   Sold                                                 -Split-             -33,194.39
  Invesco Variable Rate ETF (VRIG) SH
1503
                                                                     Morgan Purch
                                        01/31/2023   Journal Entry   1/23                                                 -Split-              14,337.12
                                        04/30/2023   Journal Entry   Investments 4/24                                     -Split-               6,085.80
                                                                     Investments May
                                        05/31/2023   Journal Entry   23                                                   -Split-             284,799.70
                                        07/31/2023   Journal Entry                                                        -Split-            -343,144.15
 Ishares 0-3 Month Treasury B (SGOV)
                                        10/31/2023   Journal Entry   Stock Purchases                                      -Split-           4,999,949.30
                                                                     12/23 Stock
                                        12/31/2023   Journal Entry   Sales                                                -Split-             -14,385.84
                                                                     12/23 Stock
                                        12/31/2023   Journal Entry   Sales                                                -Split-           -4,985,563.46
 Ishares 0-3 Month Treasury B (SGOV)
SH 11119
                                                                     Morgan Stanley
                                        01/31/2023   Journal Entry   Jan 23                                               -Split-            -103,589.64
                                                                     Morgan Purch
                                        01/31/2023   Journal Entry   1/23                                                 -Split-             124,767.68
                                                                     Investments Feb
                                        02/28/2023   Journal Entry   2023                                                 -Split-            -614,546.43
                                        02/28/2023   Journal Entry   Sold 02/2023                                         -Split-            -518,420.42
 Ishares GSCI Commodity Dynam
                                                                     Morgan Purch
                                        01/31/2023   Journal Entry   1/23                                                 -Split-               9,779.69
                                        02/28/2023   Journal Entry   Sold 02/2023                                         -Split-               -9,812.21
 Ishares IBOXX Hy Cor BD ETF (HYG)
                                                                     Investments May
                                        05/31/2023   Journal Entry   23                                                   -Split-             113,748.86
                                        07/31/2023   Journal Entry                                                        -Split-            -115,272.61
 Ishares India 50 ETF (INDY)
                                                                     Investments May
                                        05/31/2023   Journal Entry   23                                                   -Split-              45,181.17
                                        07/31/2023   Journal Entry                      Purchase 7/24                     -Split-              29,001.86
                                                                     08/23 Stock
                                        08/31/2023   Journal Entry   Purchase                                             -Split-               1,393.14
                                                                     08/23 Stock
                                        08/31/2023   Journal Entry   Purchase                                             -Split-              33,178.29
                                                                     Realized
                                        09/30/2023   Journal Entry   Gains/Loss                                           -Split-               4,580.55
                                        09/30/2023   Journal Entry   9/23 Stock Sales                                     -Split-            -114,250.34
  Ishares MSCI Braz SM Cap ETF
(EWZS) SH 33
                                                                     Morgan Purch
                                        01/31/2023   Journal Entry   1/23                                                 -Split-               4,618.82
                                        02/28/2023   Journal Entry   Sold 02/2023                                         -Split-               -5,067.31
 Ishares MSCI Brazil ETF (EWZ) SH 13
                                                                     Morgan Purch
                                        01/31/2023   Journal Entry   1/23                                                 -Split-               4,638.57
                                        02/28/2023   Journal Entry   Sold 02/2023                                         -Split-               -4,966.71
  Ishares MSCI Emerging Mkts ETF
(EEM)
                                        07/31/2023   Journal Entry                      Purchase 7/24                     -Split-              21,031.90
                                                                     8/23 Realized
                                        08/31/2023   Journal Entry   Loss                                                 -Split-               -1,159.76
                                                                     08/23 Stocks
                                        08/31/2023   Journal Entry   Sold                                                 -Split-             -21,019.36
 Ishares MSCI KLD 400 SCL ETF (DSI)
                                        07/31/2023   Journal Entry                                                        -Split-               -1,208.61
 Ishares Short Treasury BD EFT (SHV)
SH 1012
                                                                     Morgan Purch
                                        01/31/2023   Journal Entry   1/23                                                 -Split-              43,558.02
                                        04/30/2023   Journal Entry   Investments 4/24                                     -Split-              19,189.59
                                                                     Investments May
                                        05/31/2023   Journal Entry   23                                                   -Split-           2,455,229.64
                                        07/31/2023   Journal Entry                                                        -Split-           -2,632,765.73
                                                                     Realized
                                        07/31/2023   Journal Entry   Gains/Loss                                           -Split-               3,700.84
 Ishares Short Treasury BD ETF (SHV)
                                        10/31/2023   Journal Entry   Stock Purchases                                      -Split-             499,982.71
                                                                     12/23 Stock
                                        12/31/2023   Journal Entry   Sales                                                -Split-               -1,146.26
                                                                     12/23 Stock
                                        12/31/2023   Journal Entry   Sales                                                -Split-            -498,836.45
 Ishares Silver Shares (SLV)
                                        07/31/2023   Journal Entry                      Purchase 7/24                     -Split-              21,146.78
                                                                     08/23 Stocks
                                        08/31/2023   Journal Entry   Sold                                                 -Split-             -20,597.85
                                                                     8/23 Realized
                                        08/31/2023   Journal Entry   Loss                                                 -Split-               -1,811.91
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  Ishares Treasury Floating Rate
(TFLO) SH 2946
                                        Beginning Balance
                                                                            Morgan Stanley
                                       01/31/2023           Journal Entry   Jan 23                                                                                                                              -Split-                  -148,213.26
                                                                            08/23 Stock
                                       08/31/2023           Journal Entry   Purchase                                                                                                                            -Split-                     1,064.70
                                       09/30/2023           Journal Entry   9/23 Stock Sales                                                                                                                    -Split-                     -1,062.45
                                       10/31/2023           Journal Entry   Stock Purchases                                                                                                                     -Split-                   499,948.06
                                                                            12/23 Stock
                                       12/31/2023           Journal Entry   Sales                                                                                                                               -Split-                     -2,063.23
                                                                            12/23 Stock
                                       12/31/2023           Journal Entry   Sales                                                                                                                               -Split-                  -497,884.83
  Janus Henderson Balanced 1
(JBALX)
                                                                            Investments May
                                       05/31/2023           Journal Entry   23                                                                                                                                  -Split-                     5,730.13
                                       07/31/2023           Journal Entry                                                                                                                                       -Split-                     -5,940.17
  John Hancock Financial Opps FD
(BTO) SH 11
                                        Beginning Balance
                                                                            Morgan Purch
                                       01/31/2023           Journal Entry   1/23                                                                                                                                -Split-                     4,795.93
                                                                            Investments Feb
                                       02/28/2023           Journal Entry   2023                                                                                                                                -Split-                     -4,953.46
 JPMorgan Chase & Co FXD to 102024
Var Thrafter 6.1000%
                                        Beginning Balance
                                                                            Morgan Purch
                                       01/31/2023           Journal Entry   1/23                                                                                                                                -Split-                    29,251.25
                                                                            Morgan Purch
                                       01/31/2023           Journal Entry   1/23                                                                                                                                -Split-                    51,679.21
                                                                            Investments Feb
                                       02/28/2023           Journal Entry   2023                                                                                                                                -Split-                  -155,702.13
 JPMorgan Chase & Co Fxd to 112022
Var Thraftr 7.8791%
                                                                            Investments May
                                       05/31/2023           Journal Entry   23                                                                                                                                  -Split-                    57,369.97
                                                                            Realized
                                       07/31/2023           Journal Entry   Gains/Loss                                                                                                                          -Split-                     1,408.53
                                       07/31/2023           Journal Entry                                                                                                                                       -Split-                   -58,778.50

 JPMorgan Chase & Co FXD to 8.549%
                                       07/31/2023           Journal Entry                                                                                                                                       -Split-                   110,910.80
                                       09/30/2023           Journal Entry   9/23 Stock Sales                                                                                                                    -Split-                  -111,359.34
 JPMorgan Chase Bk Columbus OH
CD 5.500%
                                       07/31/2023           Journal Entry                                                                                                                                       -Split-                   332,833.50
                                                                            08/23 Stock
                                       08/31/2023           Journal Entry   Purchase                                                                                                                            -Split-                     1,001.90
                                       09/30/2023           Journal Entry   9/23 Stock Sales                                                                                                                    -Split-                  -335,210.86
                                                                            Realized
                                       09/30/2023           Journal Entry   Gains/Loss                                                                                                                          -Split-                     1,375.46
  JPMorgan Equity Premium Inco
(JEPI)
                                                                            Investments May
                                       05/31/2023           Journal Entry   23                                                                                                                                  -Split-                    11,380.03
                                       07/31/2023           Journal Entry                                                                                                                                       -Split-                   -11,626.06
 JPMorgan Income Builder (JNBSX)
                                                                            Investments May
                                       05/31/2023           Journal Entry   23                                                                                                                                  -Split-                    56,744.16
                                       07/31/2023           Journal Entry                                                                                                                                       -Split-                   -57,260.93
  JPMorgan Mortgage-Backed Sec 1
(OMBIX)
                                                                            Investments May
                                       05/31/2023           Journal Entry   23                                                                                                                                  -Split-                    11,467.97
                                       07/31/2023           Journal Entry                                                                                                                                       -Split-                   -11,205.27
 JPMorgan Ultra-Short Income (JPST)
                                       07/31/2023           Journal Entry                                                                                                                                       -Split-                     -1,102.85
 Lennar Corp
                                                                            Morgan Purch
                                       01/31/2023           Journal Entry   1/23                                                                                                                                -Split-                    29,536.27
                                       04/30/2023           Journal Entry   Investments 4/24                                                                                                                    -Split-                    13,057.66
                                                                            Investments May
                                       05/31/2023           Journal Entry   23                                                                                                                                  -Split-                   112,895.04
                                       07/31/2023           Journal Entry                                                                                                                                       -Split-                  -229,809.54
                                                                            Realized
                                       07/31/2023           Journal Entry   Gains/Loss                                                                                                                          -Split-                     1,137.92
 Lord Abbett Bond DEB 1 (LBNYX)
                                       07/31/2023           Journal Entry                                                                                                                                       -Split-                     -1,142.60
  Lord Abbett Core Fixed Inc 1
(LCRYX)
                                       07/31/2023           Journal Entry                                                                                                                                       -Split-                     -1,123.39
 Lord Abett Ultra Short BD 1 (LUBYX)
                                       07/31/2023           Journal Entry                                                                                                                                       -Split-                     -1,142.81
 MFS Intermediate Income TR SBI
                                                                            08/23 Stocks
                                       08/31/2023           Journal Entry   Sold                                                                                                                                -Split-                     -1,085.39
                                                                            08/23 Stock
                                       08/31/2023           Journal Entry   Purchase                                                                                                                            -Split-                     1,107.51
 Morgan Stanley Cash Account
                                        Beginning Balance
                                                                                                                     01/03 Domestic Wire Transfer Via: Citibank Nyc/021000089 A/C: Morgan Stanley Ref: For
                                       01/03/2023           Expense                            Morgan Stanley & Co   Further Credit To Genie Investments NV, Llcaccount Number: 2551457 12290/Time/09:48        CHASE Checkingxxx8502   1,450,000.00
                                                                            Morgan Stanley
                                       01/31/2023           Journal Entry   1/23                                                                                                                                -Split-                     1,036.80
                                                                            Morgan Stanley
                                       01/31/2023           Journal Entry   Jan 23                                                                                                                              -Split-                   254,655.25
                                                                            Morgan Stanley
                                       01/31/2023           Journal Entry   1/23                                                                                                                                -Split-                     -2,046.03
                                                                            Morgan Stanley
                                       01/31/2023           Journal Entry   1/23                                                                                                                                -Split-                     8,758.17
                                                                            Morgan Purch
                                       01/31/2023           Journal Entry   1/23                                                                                                                                -Split-                 -1,535,734.73
                                       02/28/2023           Journal Entry   Adj 2/23                                 Dividend Reinvestments                                                                     -Split-                     -1,701.51
                                       02/28/2023           Journal Entry   Adj 2/23                                                                                                                            -Split-                     2,866.80
                                       02/28/2023           Journal Entry   Adj 2/23                                                                                                                            -Split-                    11,958.32
                                       02/28/2023           Journal Entry   Sold 02/2023                             Left at sold page 19                                                                       -Split-                   559,834.50
                                                                            Investments Feb
                                       02/28/2023           Journal Entry   2023                                                                                                                                -Split-                 -1,184,768.49
                                       02/28/2023           Journal Entry   Adj 2/23                                                                                                                            -Split-                     -2,586.64
                                       02/28/2023           Journal Entry   Div/Fees 2/23                            Dividends                                                                                  -Split-                    11,837.02
                                       02/28/2023           Journal Entry   Div/Fees 2/23                            Advisory Fee                                                                               -Split-                     -2,586.64
                                       02/28/2023           Journal Entry   Div/Fees 2/23                            Interest                                                                                   -Split-                     2,866.80
                                                                                                                     03/07 Online Domestic Wire Transfer Via: Citibank Nyc/021000089 A/C: Morgan Stanley

                                                                                                                     Baltimore MD 21231 US Ref: With Further Credit To- Genie Investments NV, Account Number-
                                                                                                                     255-1460 85-290/Bnf/With Further Credit To- Genie Investments NV, Account Numbe R- 2

                                       03/02/2023           Expense                            Morgan Stanley & Co   55-146085-290/Time/03:49 Imad: 0307B1Qgc02C000525 Trn: 3001393066Es                        CHASE Checkingxxx8502     450,000.00
                                                                                                                     03/08 Online Domestic Wire Transfer Via: Citibank Nyc/021000089 A/C: Morgan Stanley

                                                                                                                     Baltimore MD 21231 US Ref: With Further Credit To- Genie Investments NV, Account Number-
                                                                                                                     255-1460 85-290/Bnf/With Further Credit To- Genie Investments NV Account Number - 25

                                       03/08/2023           Expense                            Morgan Stanley & Co   5-146085-290/Time/03:40 Imad: 0308B1Qgc07C000792 Trn: 3085543067Es                         CHASE Checkingxxx8502     100,000.00
                                       03/31/2023           Journal Entry   Dividends Mar 23                         Dividends                                                                                  -Split-                    11,569.09
                                                                            Investments
                                       03/31/2023           Journal Entry   03/23                                                                                                                               -Split-                    18,021.51
                                       03/31/2023           Journal Entry   Dividends Mar 23                         Advisory Fee                                                                               -Split-                     -2,860.57
                                       04/30/2023           Journal Entry   Investments 4/24                                                                                                                    -Split-                  -652,563.40
                                       04/30/2023           Journal Entry   Dividends 4/23                           Dividends                                                                                  -Split-                    19,031.31
                                       04/30/2023           Journal Entry   Dividends 4/23                           Advisory Fee                                                                               -Split-                     -3,100.58
                                       05/31/2023           Journal Entry   Dividends 5/23                           Interest                                                                                   -Split-                     6,668.13
                                       05/31/2023           Journal Entry   Dividends 5/23                           Dividends                                                                                  -Split-                    24,005.58
                                       05/31/2023           Journal Entry   Dividends 5/23                           Advisory Fee                                                                               -Split-                     -3,213.12
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                                                                             Investments May
                                        05/31/2023           Journal Entry   23                                                                                                                      -Split-                   894,474.58
                                                                             Investments May
                                        05/31/2023           Journal Entry   23                                                                                                                      -Split-                   -39,572.29
                                        05/31/2023           Journal Entry   Dividends 5/23                      Dividend Reimbursements                                                             -Split-                   -18,263.67
                                                                                                                 CHIPS CREDIT VIA: CITIBANK N.A./XXXX B/O: MSL FBO GENIE INVESTMENTS NV C/O CAXXXX
                                                                                                                 UNITED STATES REF: NBNF=GENIE INVESTMENTS NV JACKSONVILLE FL XXXXX-0443 US/AC-
                                                                                                                 XXXXXXXXXXX X ORG=/XXXXXXXXXXXX XXXX UNITED STA TES OGB=MORGAN STANLEY AND
                                                                                                                 CO., LLC NEW YORK NY US BBI=/CHGS/USDX,XX/O CMT/USDXXXXXX,XX/EXCH/X,X/ SSN:
                                        06/29/2023           Deposit                            Morgan Stanley   XXXXXXX TRN: XXXXXX0180FC                                                           CHASE Checkingxxx8502    -350,000.00
                                                                             Interest June
                                        06/30/2023           Journal Entry   2023                                Wired Funds Received from Genie Investments II LLC                                  -Split-                    15,000.00
                                                                                                                 CHIPS CREDIT VIA: CITIBANK N.A./XXXX B/O: MSL FBO GENIE INVESTMENTS NV C/O CAXXXX
                                                                                                                 UNITED STATES REF: NBNF=GENIE INVESTMENTS NV JACKSONVILLE FL XXXXX-0443 US/AC-
                                                                                                                 XXXXXXXXXXX X ORG=/XXXXXXXXXXXX XXXX UNITED STA TES OGB=MORGAN STANLEY AND
                                                                                                                 CO., LLC NEW YORK NY US BBI=/CHGS/USDX,XX/O CMT/USDXXXXXX,XX/EXCH/X,X/ SSN:
                                        06/30/2023           Deposit                            Morgan Stanley   XXXXXXX TRN: XXXXXX0181FC                                                           CHASE Checkingxxx8502    -570,890.00
                                                                             Interest June
                                        06/30/2023           Journal Entry   2023                                Dividend Reimbursements                                                             -Split-                   -14,428.29
                                                                             Interest June
                                        06/30/2023           Journal Entry   2023                                Advisory Fee                                                                        -Split-                     -6,380.11
                                                                             Interest June
                                        06/30/2023           Journal Entry   2023                                Dividends                                                                           -Split-                    50,800.23
                                                                             Interest June
                                        06/30/2023           Journal Entry   2023                                Interest                                                                            -Split-                     1,955.19
                                        07/31/2023           Journal Entry   Cash Investment                     Advisory Fee                                                                        -Split-                     -6,123.99
                                        07/31/2023           Journal Entry                                                                                                                           -Split-                 9,328,727.40
                                                                             Feb 28 Loan
                                        07/31/2023           Journal Entry   Interest                                                                                                                -Split-                 2,317,854.81
                                        07/31/2023           Journal Entry   Cash Investment                     Dividend Reimbursements                                                             -Split-                   -11,694.36
                                        07/31/2023           Journal Entry   Cash Investment                     Dividends                                                                           -Split-                    44,789.70
                                        07/31/2023           Journal Entry   Cash Investment                     Wired Funds Received from Genie Investments II LLC                                  -Split-                     -3,968.45
                                        07/31/2023           Journal Entry                                                                                                                           -Split-                 -7,961,320.18
                                        08/31/2023           Journal Entry                                                                                                                           -Split-                 -2,317,854.81
                                        08/31/2023           Journal Entry   Cash Investment                     Wired Funds Received from Genie Investments II LLC                                  -Split-                     3,968.45
                                                                             08/23 Stocks
                                        08/31/2023           Journal Entry   Sold                                                                                                                    -Split-                   912,255.49
                                                                             08/23 Stock
                                        08/31/2023           Journal Entry   Purchase                                                                                                                -Split-                 -1,029,158.31
                                        08/31/2023           Journal Entry   Cash Investment                     Dividend Reimbursements                                                             -Split-                   -10,879.00
                                        08/31/2023           Journal Entry   Cash Investment                     Advisory Fee                                                                        -Split-                     -6,148.21
                                        08/31/2023           Journal Entry   Cash Investment                     Dividends                                                                           -Split-                    20,915.32
                                                                             9/23 Cash
                                        09/30/2023           Journal Entry   Investments                         Wired Funds Received from Genie Investments II LLC                                  -Split-                  -600,000.00
                                                                             9/23 Cash
                                        09/30/2023           Journal Entry   Investments                         Dividends                                                                           -Split-                    40,207.81
                                                                             9/23 Cash
                                        09/30/2023           Journal Entry   Investments                         Advisory Fee                                                                        -Split-                     -5,949.67
                                                                             9/23 Cash
                                        09/30/2023           Journal Entry   Investments                         Dividend Reimbursements                                                             -Split-                   -33,521.95
                                        09/30/2023           Journal Entry   9/23 Stock Sales                                                                                                        -Split-                 9,853,181.51
                                                                             9/23 Cash
                                        09/30/2023           Journal Entry   Investments                         Interest                                                                            -Split-                     3,795.00
                                        10/31/2023           Journal Entry   Stock Purchases                                                                                                         -Split-                 -6,999,784.57
                                                                             Cash
                                        10/31/2023           Journal Entry   Investments                         Wired Funds Received from Genie Investments II LLC                                  -Split-                     1,535.42
                                                                             Cash
                                        10/31/2023           Journal Entry   Investments                         Dividends                                                                           -Split-                    45,226.17
                                                                             Cash
                                        10/31/2023           Journal Entry   Investments                         Advisory Fee                                                                        -Split-                     -5,836.21
                                        11/02/2023           Journal Entry   Loan                                Cash Transfer                                                                       -Split-                  -150,000.00
                                                                             Cash
                                        11/30/2023           Journal Entry   Investments                         Dividends                                                                           -Split-                    66,044.04
                                        11/30/2023           Journal Entry   Stock Purchase                                                                                                          -Split-                 -1,500,000.00
                                                                             Cash
                                        11/30/2023           Journal Entry   Investments                                                                                                             -Split-                     1,821.25
                                                                             Cash
                                        11/30/2023           Journal Entry   Investments                         Advisory Fee                                                                        -Split-                     -5,673.28
                                        12/31/2023           Journal Entry   Cash Investment                     Advisory Fee                                                                        -Split-                     -5,825.70
                                        12/31/2023           Journal Entry   Cash Investment                     Branch Check ot Caleb Davis                                                         -Split-                     -6,500.00
                                        12/31/2023           Journal Entry   Cash Investment                                                                                                         -Split-                 -6,979,877.34
                                                                             12/23 Stock
                                        12/31/2023           Journal Entry   Sales                                                                                                                   -Split-                 8,480,094.54
                                        12/31/2023           Journal Entry   Cash Investment                     Dividends                                                                           -Split-                    72,640.20
 MSIF Global Infrastructure 1 (MTIIX)
                                                                             Investments May
                                        05/31/2023           Journal Entry   23                                                                                                                      -Split-                    11,429.14
                                        07/31/2023           Journal Entry                                                                                                                           -Split-                   -11,178.50
 Neuberger Berman LG SH INST
                                        07/31/2023           Journal Entry                                                                                                                           -Split-                    33,384.17
                                                                             08/23 Stocks
                                        08/31/2023           Journal Entry   Sold                                                                                                                    -Split-                   -33,384.18
 Neuropace Inc
                                                                             08/23 Stock
                                        08/31/2023           Journal Entry   Purchase                                                                                                                -Split-                     1,128.91
                                        09/30/2023           Journal Entry   9/23 Stock Sales                                                                                                        -Split-                     -1,638.54
 OneMain Finance Corp 7.125%
                                        07/31/2023           Journal Entry                                                                                                                           -Split-                   114,109.71
                                        09/30/2023           Journal Entry   9/23 Stock Sales                                                                                                        -Split-                  -113,683.03
 Owens & Minor Inc New
                                                                             08/23 Stock
                                        08/31/2023           Journal Entry   Purchase                                                                                                                -Split-                     1,112.02
                                        09/30/2023           Journal Entry   9/23 Stock Sales                                                                                                        -Split-                     -1,082.71
  Pacer US Cash Cows 100 ETF
(COWZ) SH 242
                                         Beginning Balance
                                                                             Morgan Purch
                                        01/31/2023           Journal Entry   1/23                                                                                                                    -Split-                    14,243.42
                                                                             Investments Feb
                                        02/28/2023           Journal Entry   2023                                                                                                                    -Split-                    15,651.32
                                        02/28/2023           Journal Entry   Sold 02/2023                                                                                                            -Split-                     -1,150.94
                                                                             Investments
                                        03/31/2023           Journal Entry   03/23                                                                                                                   -Split-                   -39,829.38
                                                                             Investments May
                                        05/31/2023           Journal Entry   23                                                                                                                      -Split-                     1,141.04
                                        07/31/2023           Journal Entry                                                                                                                           -Split-                     -1,258.05
 PBF Energy Inc (PBF) SH 10
                                         Beginning Balance
                                                                             Morgan Purch
                                        01/31/2023           Journal Entry   1/23                                                                                                                    -Split-                     1,509.17
                                        02/28/2023           Journal Entry   Sold 02/2023                                                                                                            -Split-                     -1,988.47
 PJT Partners Inc Com CL A (PJT)
                                        07/31/2023           Journal Entry                                                                                                                           -Split-                     -1,400.44
 Prelude Therapeutics Inc Com
                                                                             08/23 Stock
                                        08/31/2023           Journal Entry   Purchase                                                                                                                -Split-                     1,109.58
                                        09/30/2023           Journal Entry   9/23 Stock Sales                                                                                                        -Split-                     -1,026.09
 Progressive Corp/The Fxd to 032023
Var Thraftr 7.4052%
                                                                             Investments May
                                        05/31/2023           Journal Entry   23                                                                                                                      -Split-                    57,175.87
                                        07/31/2023           Journal Entry                                                                                                                           -Split-                   -57,332.70
  Prudential Financial Inc FXD to
6.750%
                                        07/31/2023           Journal Entry                                                                                                                           -Split-                   114,705.25
                                                                             Realized
                                        09/30/2023           Journal Entry   Gains/Loss                                                                                                              -Split-                     -6,486.42
                                        09/30/2023           Journal Entry   9/23 Stock Sales                                                                                                        -Split-                  -108,218.83
 Putnam Ultra Sht Dur Inc Y (PSDYX)
                                                                             Investments May
                                        05/31/2023           Journal Entry   23                                                                                                                      -Split-                   228,094.06
                                        07/31/2023           Journal Entry                                                                                                                           -Split-                  -228,904.27
 Salesforce Inc (CRM)
                                        07/31/2023           Journal Entry                                                                                                                           -Split-                     -1,122.89
 SPDR Bloomberg 1-3 Month T-B (BIL)
SH 1622
                                         Beginning Balance
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                                                                             Morgan Purch
                                        01/31/2023           Journal Entry   1/23                                                                                                                                         -Split-                    58,014.17
                                        04/30/2023           Journal Entry   Investments 4/24                                                                                                                             -Split-                    25,748.03
                                                                             Investments May
                                        05/31/2023           Journal Entry   23                                                                                                                                           -Split-                   910,981.57
                                                                             Realized
                                        07/31/2023           Journal Entry   Gains/Loss                                                                                                                                   -Split-                      2,744.78
                                        07/31/2023           Journal Entry                                                                                                                                                -Split-                 -1,145,818.07
 SPDR Gold TR Gold SHS (GLD)
                                                                             08/23 Stocks
                                        08/31/2023           Journal Entry   Sold                                                                                                                                         -Split-                     -1,056.42
 SPDR S&P Insurance ETF
                                                                             08/23 Stock
                                        08/31/2023           Journal Entry   Purchase                                                                                                                                     -Split-                      1,093.79
                                        09/30/2023           Journal Entry   9/23 Stock Sales                                                                                                                             -Split-                     -1,122.50
 SPDR S&P Metals & Mining
                                                                             08/23 Stock
                                        08/31/2023           Journal Entry   Purchase                                                                                                                                     -Split-                      1,082.07
                                                                             08/23 Stocks
                                        08/31/2023           Journal Entry   Sold                                                                                                                                         -Split-                     -1,060.28
 Splunk Inc
                                                                             08/23 Stock
                                        08/31/2023           Journal Entry   Purchase                                                                                                                                     -Split-                      1,022.30
                                        09/30/2023           Journal Entry   9/23 Stock Sales                                                                                                                             -Split-                     -1,104.74
 Sprott Gold Equity Fund Inst (SGDIX)
                                                                             Investments May
                                        05/31/2023           Journal Entry   23                                                                                                                                           -Split-                    11,476.97
                                        07/31/2023           Journal Entry                                                       Purchase 7/24                                                                            -Split-                      1,015.30
                                                                             08/23 Stocks
                                        08/31/2023           Journal Entry   Sold                                                                                                                                         -Split-                    -10,351.08
                                                                             8/23 Realized
                                        08/31/2023           Journal Entry   Loss                                                                                                                                         -Split-                     -2,494.39
 Telecom Argentina S.A.ADR
                                                                             08/23 Stock
                                        08/31/2023           Journal Entry   Purchase                                                                                                                                     -Split-                      1,110.67
                                                                             08/23 Stock
                                        08/31/2023           Journal Entry   Purchase                                                                                                                                     -Split-                    10,121.86
                                        09/30/2023           Journal Entry   9/23 Stock Sales                                                                                                                             -Split-                    -10,573.41
  TIAA FSB Jacksonv JacksonvilleFL
5.250%
                                        07/31/2023           Journal Entry                                                       Purchase 7/24                                                                            -Split-                   332,833.50
                                        09/30/2023           Journal Entry   9/23 Stock Sales                                                                                                                             -Split-                   -334,153.82
                                                                             Realized
                                        09/30/2023           Journal Entry   Gains/Loss                                                                                                                                   -Split-                      1,320.32
 Transportadora De Gas S.A. Ads
                                                                             08/23 Stock
                                        08/31/2023           Journal Entry   Purchase                                                                                                                                     -Split-                      1,104.34
                                                                             08/23 Stock
                                        08/31/2023           Journal Entry   Purchase                                                                                                                                     -Split-                    10,017.39
                                        09/30/2023           Journal Entry   9/23 Stock Sales                                                                                                                             -Split-                     -9,646.41
                                                                             Realized
                                        09/30/2023           Journal Entry   Gains/Loss                                                                                                                                   -Split-                     -1,475.32
 United States Steel Corp
                                                                             08/23 Stocks
                                        08/31/2023           Journal Entry   Sold                                                                                                                                         -Split-                     -1,033.09
                                                                             08/23 Stock
                                        08/31/2023           Journal Entry   Purchase                                                                                                                                     -Split-                      1,084.23
  United States Treasury Bond
912810ET1
                                                                             Morgan Purch
                                        01/31/2023           Journal Entry   1/23                                                                                                                                         -Split-                    26,391.89
                                        01/31/2023           Journal Entry   Adj 1/23                                                                                                                                     -Split-                     -1,600.23
                                                                             Morgan Purch
                                        01/31/2023           Journal Entry   1/23                                                                                                                                         -Split-                    26,487.27
                                                                             Investments
                                        03/31/2023           Journal Entry   03/23                                                                                                                                        -Split-                    -51,159.36
 US Treasury Note CUSIP 91282CFP1
                                         Beginning Balance
                                        01/31/2023           Journal Entry   Adj 1/23                                                                                                                                     -Split-                     -5,424.58
                                                                             Morgan Purch
                                        01/31/2023           Journal Entry   1/23                                                                                                                                         -Split-                   147,356.44
                                                                             Investments Feb
                                        02/28/2023           Journal Entry   2023                                                                                                                                         -Split-                   -513,795.68
 US Treasury Note CUSIP 91282CFQ9
                                         Beginning Balance
                                                                             Morgan Purch
                                        01/31/2023           Journal Entry   1/23                                                                                                                                         -Split-                   334,048.34
                                        01/31/2023           Journal Entry   Adj 1/23                                                                                                                                     -Split-                     -4,009.91
                                                                             Investments Feb
                                        02/28/2023           Journal Entry   2023                                                                                                                                         -Split-                   -515,344.37
 US Treasury Note CUSIP 91282CFX4
                                         Beginning Balance
                                                                             Morgan Purch
                                        01/31/2023           Journal Entry   1/23                                                                                                                                         -Split-                    73,627.13
                                                                             Investments Feb
                                        02/28/2023           Journal Entry   2023                                                                                                                                         -Split-                   -258,030.72
 US TSY Note 4250 250C15
                                        01/31/2023           Journal Entry   Adj 1/23                                                                                                                                     -Split-                      1,005.39
                                                                             Morgan Stanley
                                        01/31/2023           Journal Entry   Jan 23                                                                                                                                       -Split-                     -1,005.39
 Vaneck J.P. Morgan EM Local (EMLC)
SH 15
                                         Beginning Balance
                                                                             Morgan Purch
                                        01/31/2023           Journal Entry   1/23                                                                                                                                         -Split-                      4,779.84
                                        02/28/2023           Journal Entry   Sold 02/2023                                                                                                                                 -Split-                     -2,028.13
                                                                             Investments Feb
                                        02/28/2023           Journal Entry   2023                                                                                                                                         -Split-                     -3,112.23
  Vanguard Short-Term Corporate
(VCSH)
                                        07/31/2023           Journal Entry                                                                                                                                                -Split-                     -1,061.94
  Vista Energy SAB DE CV (VIST) SH
329
                                                                             Morgan Purch
                                        01/31/2023           Journal Entry   1/23                                                                                                                                         -Split-                      5,164.23
                                        02/28/2023           Journal Entry   Sold 02/2023                                                                                                                                 -Split-                     -4,963.52
 Wells Fargo Bk NA Sioux Falls SD CD
CUSIP 9497634H6
                                         Beginning Balance
                                                                             Morgan Purch
                                        01/31/2023           Journal Entry   1/23                                                                                                                                         -Split-                    72,767.08
                                                                             Investments Feb
                                        02/28/2023           Journal Entry   2023                                                                                                                                         -Split-                   -258,327.27
 Wisdmtree Eemrg Mkt EX-ST OW
                                        07/31/2023           Journal Entry                                                                                                                                                -Split-                    22,245.94
                                                                             08/23 Stocks
                                        08/31/2023           Journal Entry   Sold                                                                                                                                         -Split-                    -20,571.38
                                                                             8/23 Realized
                                        08/31/2023           Journal Entry   Loss                                                                                                                                         -Split-                     -1,674.56
 Wisdomtree Enhanced Commodit
                                        07/31/2023           Journal Entry                                                                                                                                                -Split-                    44,591.76
                                                                             08/23 Stocks
                                        08/31/2023           Journal Entry   Sold                                                                                                                                         -Split-                    -42,941.46
                                                                             8/23 Realized
                                        08/31/2023           Journal Entry   Loss                                                                                                                                         -Split-                     -1,650.30
 WT BBRG DLR Bull FD
                                                                             08/23 Stock
                                        08/31/2023           Journal Entry   Purchase                                                                                                                                     -Split-                      1,104.75
                                        09/30/2023           Journal Entry   9/23 Stock Sales                                                                                                                             -Split-                     -1,115.35
Velanos Capital Receivable
                                        Beginning Balance
                                                                                                                                 Partial Payback of Principal Investment to VelanosXXX/CHGS/USDX,/CHGS/USDXX,XX/OCMT/US
                                        05/02/2023           Deposit                            Velanos Principal Capital Inc.   DXXXXXX,/ TRN: XXXXXX5122FS                                                              CHASE Checkingxxx8502     -499,975.00
                                                                             Funding
                                        07/31/2023           Journal Entry   Company A/R                                         Velanos                                                                                  -Split-                 75,000,000.00
                                        12/31/2023           Journal Entry   Velanos Capital                                                                                                                              -Split-                  3,000,000.00
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Warrant Investment
                                Beginning Balance
                                                                    Warrant
                                02/17/2023          Journal Entry   Purchase                                             Brian Nichols                                                                       -Split-                   -116,480.00
                                                                                                                         UMBER- XXX-XXXX XX-XXX/BNF/WITH FURTHER CREDIT TO- GENIE INVESTMENTS NV,
                                                                                                                         ACCOUNT NUMBE R- X XX-XXXXXX-XXX/TIME/XX:XX IMAD: XXXXBXQGCXXCXXXXXX TRN:
                                03/28/2023          Expense                           Cheyenne Chipoletti                XXXXXXXXXXES 03/28                                                                  CHASE Checkingxxx8502      500,000.00
                                                                                                                         UMBER- XXX-XXXX XX-XXX/BNF/WITH FURTHER CREDIT TO- GENIE INVESTMENTS NV,
                                                                                                                         ACCOUNT NUMBE R- X XX-XXXXXX-XXX/TIME/XX:XX IMAD: XXXXBXQGCXXCXXXXXX TRN:
                                03/29/2023          Expense                           Cheyenne Chipoletti                XXXXXXXXXXES 03/29                                                                  CHASE Checkingxxx8502      125,000.00
                                                                                                                         Repayments of Principle - ONLINE DOMESTIC WIRE TRANSFER VIA: AMER FIRST
                                                                                                                         FCU/XXXXXXXXX A/C: BRITAIN SORENSEN CHECKING HUNTSVILLE UT XXXXX US IMAD:
                                06/09/2023          Expense                           Britain Sorensen                   XXXXBXQGCXXCXXXXXX TRN: XXXXXXXX60ES 06/ XXXXXX09                                   CHASE Checkingxxx8502       25,000.00
                                                                                                                         Repayment of Principle - ONLINE DOMESTIC WIRE TRANSFER VIA: CATALYST CORP
                                                                                                                         FCU/XXXXXXXXX A/C: XXXXXXXXX POCATELLO ID XXXXXXXXX US BEN: STEVE JOHNSON
                                06/09/2023          Expense                           Catalyst Corp                      AFTON WY XXXXX US IMAD: XXXXB1QGC03C0 XXXXX TRN: XXXXXXXXXXES 06/09                 CHASE Checkingxxx8502      100,000.00
                                                                                                                         Repayment of Principle - ONLINE DOMESTIC WIRE TRANSFER VIA: BRAVERA BANK/XXXXXXXXX
                                                                                                                         A/C: KIT MCCALL MILLER PURCELL OK XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN:
                                06/09/2023          Expense                           Kit McCall Miller                  XXXXXXXXXXES 06/09                                                                 CHASE Checkingxxx8502        40,000.00
                                                                                                                         Repayment of Principle - ONLINE DOMESTIC WIRE TRANSFER VIA: VYSTAR CU/XXXXXXXXX A/C:
                                                                                                                         DEREK AND CHRYSTAL CHIPOLETTI MIDDLEBURG FL XXXXX US IMAD:
                                06/09/2023          Expense                           Derek and Chrystal Chipoletti      XXXXBXQGCXXCXXXXXX TRN: XXXXXXXXX0ES 06/0 XXXXXXX9                                   CHASE Checkingxxx8502      50,000.00

                                                                                                                          Repayment of Principle - ONLINE DOMESTIC WIRE TRANSFER A/C: JARED THOMPSON OR
                                                                                                                          DIANA A HERNANDEZN SALT LAKE UT XXXXX US REF:/ACC/XXXXXXXXX3 JARED THOMPSON
                                06/09/2023          Expense                           Jared Thompson or Diana A Hernandez 483 S PARKVIEW DR NORTH SALT LA KE UT XX XXX US TRN: XXXXXXXXXXES 06/09            CHASE Checkingxxx8502       45,000.00
                                06/09/2023          Expense                           Tomowave Laboratories Inc          XXXES 06/09 - 1% Notes Payable                                                      CHASE Checkingxxx8502      200,000.00
                                06/12/2023          Expense                           Cheyenne Chipoletti                GCXXCXXXXXX TRN: XXXXXXXXXXES 06/12                                                 CHASE Checkingxxx8502       50,000.00
                                                                                                                         ONLINE DOMESTIC WIRE TRANSFER VIA: AMER FIRST FCU/XXXXXXXXX A/C:
                                                                                      Richard Andre Genserensen Living   RICHARDANDREGENSERENSENLIVINGTRUST HUNTSVILLE UT XXXXX US IMAD:
                                06/14/2023          Expense                           Trust                              XXXXBXQGCXXCXXXXXX TRN: XXX3573 XXXES 06/14                                         CHASE Checkingxxx8502       75,000.00
                                                                                                                         ONLINE DOMESTIC WIRE TRANSFER VIA: ARVEST BANK/XXXXXXXXX A/C: LEWIS GRAY
                                06/20/2023          Expense                           Lewis Gray                         BENTONVILLE AR XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN: XXXXXXXXXXES 06/20            CHASE Checkingxxx8502       50,000.00
                                                                    Warrant
                                07/31/2023          Journal Entry   Purchase                                             ODP Solutions DBA Sky Systemz                                                       -Split-                   -110,752.00
                                                                    Warrant
                                12/31/2023          Journal Entry   Investment                                                                                                                               -Split-                   -672,500.00
                                                                    Warrant
                                12/31/2023          Journal Entry   Investment                                                                                                                               -Split-                   -383,418.00
Warren Law Group Investment
                                Beginning Balance
                                                                    Warren Law
                                12/31/2023          Journal Entry   Group                                                                                                                                    -Split-                    -50,000.00
                                                                    Warren Law
                                12/31/2023          Journal Entry   Group                                                                                                                                    -Split-                  -5,000,000.00
                                12/31/2023          Journal Entry   Velanos Capital                                                                                                                          -Split-                  -3,000,000.00
Due to Other Genie Entities
                                Beginning Balance
                                05/04/2023          Deposit                                                              DEPOSIT ID NUMBER XX7317                                                            CHASE Checkingxxx8502    1,118,592.88
                                                                                                                         R FURTHER CREDIT TO: ACCOUNTNUMBER-XXX-XXXXXX -XXX/TIME/XX:XX IMAD:
                                05/05/2023          Expense                                                              XXXXBXQGCXXCXXXXXX TRN: XXXXXXXXXXES 05/05                                          CHASE Checkingxxx8502    -5,600,000.00
                                                                                                                         XXXXXXXXX X ORG=/XXXXXXXXXXXX XX UNITED STATE S OGB=MORGAN STANLEY AND CO.,
                                                                                                                         LLC N EW YORK NY US BBI=/CHGS/USDX,XX/OCM T/USDXXXXXX,XX/EXCH/X,X/ SSN: XXXXXXX
                                07/12/2023          Deposit                           Morgan Stanley                     TRN: XXXXXX0193FC                                                               CHASE Checkingxxx8502          520,000.00
                                12/31/2023          Journal Entry   Loan Closing                                                                                                                             -Split-                   -476,050.00
                                12/31/2023          Journal Entry   Refunds                                                                                                                                  -Split-                    318,281.01
Deferred Revenue - ICA
                                Beginning Balance
                                04/07/2023          Journal Entry   Tranche 1 #2716                                                                                                                          -Split-                     20,000.00
                                04/07/2023          Journal Entry   Tranche 1 #2704                                                                                                                          -Split-                     20,000.00
                                                                    1st Tranche
                                04/07/2023          Journal Entry   Loan#2665                                                                                                                                -Split-                     25,000.00
                                                                    Tranche 1 Loan
                                04/07/2023          Journal Entry   #2587                                                Remove ICA Payable - No Longer Refundable                                           -Split-                      6,500.00
                                04/07/2023          Journal Entry   Tranche 1 #2735                                                                                                                          -Split-                     15,000.00
                                                                    1st Tranche
                                04/07/2023          Journal Entry   Loan#2694                                                                                                                                -Split-                     20,000.00
                                04/07/2023          Journal Entry   Tranche 1 #2717                                                                                                                          -Split-                     20,000.00
                                                                    1st Tranche
                                04/07/2023          Journal Entry   #2658                                                                                                                                    -Split-                      5,000.00
                                                                    1st Tranche
                                04/07/2023          Journal Entry   Loan#2611                                                                                                                                -Split-                     10,000.00
                                                                    1st Tranche
                                04/07/2023          Journal Entry   #2701                                                                                                                                    -Split-                     20,000.00
                                04/07/2023          Journal Entry   Tranche 1 #2703                                                                                                                          -Split-                     20,000.00
                                                                    1st Tranche
                                04/10/2023          Journal Entry   #2695                                                Non Refundable                                                                      -Split-                     20,000.00
                                                                    1st Tranche
                                07/07/2023          Journal Entry   #2685                                                                                                                                    -Split-                      2,500.00
                                                                    1st Tranche
                                07/28/2023          Journal Entry   Loan#1903                                                                                                                                -Split-                     10,000.00
                                                                    1st Tranche
                                08/28/2023          Journal Entry   Loan#2565                                                                                                                                -Split-                     10,000.00
                                                                    Interest
                                12/01/2023          Journal Entry   Loan#2646                                                                                                                                -Split-                    -24,263.01
                                                                    Interest
                                12/07/2023          Journal Entry   Loan#2113                                                                                                                                -Split-                      -2,893.14
                                                                    Interest
                                12/07/2023          Journal Entry   Loan#862                                                                                                                                 -Split-                      -1,586.41
                                                                    Interest Loan
                                12/07/2023          Journal Entry   #2399                                                                                                                                    -Split-                      -2,838.35
                                                                    Interest
                                12/07/2023          Journal Entry   Loan#1999                                                                                                                                -Split-                      -2,379.61
                                                                    Interest
                                12/07/2023          Journal Entry   Loan#2213                                                                                                                                -Split-                      -3,346.39
                                                                    Interest
                                12/07/2023          Journal Entry   Loan#2384                                                                                                                                -Split-                    -14,178.09
                                                                    Interest Loan
                                12/07/2023          Journal Entry   #2465                                                                                                                                    -Split-                      -5,676.70
                                                                    Interest Loan
                                12/07/2023          Journal Entry   #1507                                                                                                                                    -Split-                      -2,296.43
                                                                    Interest
                                12/07/2023          Journal Entry   Loan#2270                                                                                                                                -Split-                      -1,699.73
                                                                    Interest
                                12/07/2023          Journal Entry   Loan#2276                                                                                                                                -Split-                    -15,739.18
                                                                    Interest
                                12/07/2023          Journal Entry   Loan#2364                                                                                                                                -Split-                      -2,257.54
                                                                    Interest
                                12/07/2023          Journal Entry   Loan#2214                                                                                                                                -Split-                      -5,665.74
                                                                    Interest
                                12/07/2023          Journal Entry   Loan#1858                                                                                                                                -Split-                      -3,807.39
                                                                    Interest
                                12/07/2023          Journal Entry   Loan#2341                                                                                                                                -Split-                      -3,399.46
                                                                    Interest Loan
                                12/07/2023          Journal Entry   #2056-1                                                                                                                                  -Split-                      -1,503.12
                                                                    Interest
                                12/09/2023          Journal Entry   Loan#2260                                                                                                                                -Split-                    -11,481.57
                                                                    Interest
                                12/10/2023          Journal Entry   Loan#2377                                                                                                                                -Split-                      -3,402.75
                                                                    Interest
                                12/16/2023          Journal Entry   Loan#2402                                                                                                                                -Split-                      -2,826.13
                                                                    Interest
                                12/16/2023          Journal Entry   Loan#2594-2                                                                                                                              -Split-                      -1,688.10
                                12/16/2023          Journal Entry   Interest 2594-1                                                                                                                          -Split-                      -1,699.48
                                                                    Interest
                                12/31/2023          Journal Entry   Loan#1076                                                                                                                                -Split-                      -1,133.14
                                                                    Interest
                                12/31/2023          Journal Entry   Loan#2665                                                                                                                                -Split-                      -1,013.71
                                                                    Interest
                                12/31/2023          Journal Entry   Loan#2056-2                                                                                                                              -Split-                      -2,291.27
                                                                    Interest
                                12/31/2023          Journal Entry   Loan#2014                                                                                                                                -Split-                      -2,719.55
Genie Investments II LLC Loan
                                                                    Interest June
                                06/30/2023          Journal Entry   2023                                                 Wired Funds Received from Genie Investments II LLC                                  -Split-                     15,000.00
                                                                    Genie Invest II
                                12/31/2023          Journal Entry   A/P                                                                                                                                      -Split-                    -15,000.00
ICA Payable
                                Beginning Balance
                                                                                                                         Fedwire Credit Via: Atlantic Community Bankers Bank/031301752 B/O: Dajo
                                                                                                                         Honey Brook PA 19344 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno
                                                                                                                         89502-1643 US/Ac-000000 008522 Rfb=O/B Atlantic Com Obi=Ica - Zoomeral
                                01/03/2023          Deposit                           Dajo Properties LLC                2623 Bbi=/Bnf/F Unds Being Sent To Security A Ccoun T Imad: 0103Mmqfmp3W000395      CHASE Checkingxxx8502      100,075.00
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                                                                                  Book Transfer Credit B/O: Fehu Capital, Inc. Houston TX 77035-6007 US Ref:

01/12/2023   Deposit                           Fehu Capital, Inc.                 Trn: 3132403012Es                                                                     CHASE Checkingxxx8502      20,075.00
                                                                                  Fedwire Credit Via: Wells Fargo Bank, N.A./121000248 B/O: Chalanco Funding
                                                                                  Lancaster PA 17601 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV
                                                                                  US/Ac-000000 008522 Rfb=Ow00002902806352 Obi=Fbo Chalanco Funding
01/30/2023   Deposit                           Chalanco Funding, LLC              Bbi=/Chgs/USD0,00/ Imad: 0130I1B7032R005591 Trn: 0250760030Ff                         CHASE Checkingxxx8502        5,075.00
                                                                                  Foreign Remittance Credit B/O: JPMorgan Chase Bank National Columbus OH
                                                                                  Org:/0000000265580279 Half A Dime Ltd. Ogb: Atb Financial 10020 100 Street
                                                                                  Ref:/Ocmt/Cad100060,00/Exch/1.351200000/Cntr/69115616/Acc/Down Payment
01/31/2023   Deposit                           Half A Dime Ltd                    Loan/Ins/Royccat2 Trn: 7442800030Re                                                   CHASE Checkingxxx8502      74,052.69
02/02/2023   Journal Entry   ICA Loan#2685                                        10x                                                                                   -Split-                      2,500.00
                                                                                  Fedwire Credit Via: Space Coast Credit Union/263177903 B/O: Winslow Homes
                                                                                  Smyrna Beach FL 32168-5334 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV
                                                                                  89502-1643 US/Ac-000000 008522 Rfb=O/B Space Coast Obi=Ica Zoomeral
                                                                                  Imad: 0202Gmqfmp01004817 Trn: 0331440033Ff

                                                                                  LLC. New 2,575.00
                                                                                  Reno NV
02/02/2023   Deposit                           Winslow Homes LLC                  User ID 2685                                                                          CHASE Checkingxxx8502        2,575.00
                                                                                  Fedwire Credit Via: Members 1St Federal Credit Union/231382241 B/O: Katrina
                                                                                  Willow Street PA 17584-9210 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV
02/03/2023   Deposit                           Katrina A Richter                  89502-1643 US/Ac-000000 008522 Rfb=Jjhk Imad: 0203Gmqfmp01020488 Trn:                 CHASE Checkingxxx8502      25,000.00
                                                                                  Book Transfer Credit B/O: Pnc Bank National Association Akron OH 44308- US
                                                                                  Org:/5307956034 Grindstone Incorporated Ogb: Aba/043000096 Pnc Bank, N.A.
02/07/2023   Deposit                           Grindstone Inc                     Zoomeral ID 2695 Brian A Parnell/Ins/Aba/043000096Pncbank/Ref/2328 K0922Epl1Xvk       CHASE Checkingxxx8502      20,075.00
                                                                                  Chips Credit Via: Bank of America, N.A./0959 B/O: Itys, LLC Swansea, MA, 02777,
                                                                                  Nbnf=Genie Investments NV Reno NV 89502-1643 US/Ac-000000008522 Org=/4
                                                                                  66009102941 Swansea, MA, 02777, US Ogb=Bank of America, N.A. New York
                                                                                  Obi=Ica ID 2703 Bbi=/Chgs/USD 0,/ Ssn: 0434510 Trn: 1003730040Fc

                                                                                  US Ref: 20,075.00
02/07/2023   Deposit                           ITYS LLC                           NY US                                                                                 CHASE Checkingxxx8502      20,075.00
                                                                                  Fedwire Credit Via: The Washington Trust Company/011500858 B/O: Degen
                                                                                  Pawtucket, RI 02860-0000 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno
                                                                                  89502-1643 US/Ac-000000 008522 Rfb=O/B Wash Tr West Obi=Pur Pose: Investment
02/07/2023   Deposit                           Degen LLC                          Imad: 0210Mmqfmpu6000031 Trn: 0526980041Ff                                            CHASE Checkingxxx8502      20,075.00
                                                                                  Book Transfer Credit B/O: Anon Energy, LLC Cedar Hills UT 84062-8016 US

02/07/2023   Deposit                           Anon Energy LLC                    2690/Bnf/Ica : Zoomeral User ID 2690 Trn: 3426213038Es                                CHASE Checkingxxx8502      50,075.00
                                                                                  Fedwire Credit Via: Bank Fund Staff Fcu/254074170 B/O: 1/Arnold J Ainsley
                                                                                  FL 33897 US Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643
02/07/2023   Deposit                           Tical Capital Inc                  US/Ac-000000 008522 Rfb=O/B Bk Staff Fcu Obi=Nor Tical Capital                        CHASE Checkingxxx8502     200,075.00
                                                                                  Chips Credit Via: Bank of America, N.A./0959 B/O: Half A Dime Ltd. T0H 0C0
                                                                                  Nbnf=Genie Investments NV Reno NV 89502-1643 US/Ac-000000008522 Org=/0
                                                                                  000000265580279 T0H 0C0 CA Ogb=Atb Financial Edmonton Canada CA Bbi=/C
                                                                                  Hgs/USD0,/Chgs/USD0,/Ocmt/USD25974, 31/Rec/Down Payment For Loan Ssn:
02/07/2023   Deposit                           Half A Dime Ltd                    Trn: 1116640040Fc                                                                     CHASE Checkingxxx8502      25,974.31
02/08/2023   Journal Entry   ICA Loan#2695                                        10X                                                                                   -Split-                    20,000.00
02/09/2023   Journal Entry   ICA Loan#2703                                        10X                                                                                   -Split-                    20,000.00
02/10/2023   Journal Entry   ICA Loan#2704                                        10X                                                                                   -Split-                    20,000.00
02/10/2023   Journal Entry   ICA Loan#2701                                        10X                                                                                   -Split-                    20,000.00
02/10/2023   Journal Entry   ICA Loan#2706                                        10X                                                                                   -Split-                    20,000.00
                                                                                  Fedwire Credit Via: The Washington Trust Company/011500858 B/O: Mako Enterprises
                                                                                  LLC Lincoln, RI 02865-0000 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV
                                                                                  89502-1643 US/Ac-000000 008522 Rfb=O/B Wash Tr West Obi=Pur Pose: Investments
02/10/2023   Deposit                           Mako LLC                           Imad: 0210Mmqfmpu6000032 Trn: 0529740041Ff                                            CHASE Checkingxxx8502      20,075.00
                                                                                  Chips Credit Via: Bank of America, N.A./0959 B/O: Red Balloon Capital, LLC
                                                                                  Providence, RI, 02914, US Ref: Nbnf=Genie Investments NV Reno NV 89502-1643
                                                                                  US/Ac-000000008522 Org=/4 66008618779 East Providence, RI, 02 914, US
                                                                                  America, N.A. N Ew York NY US Obi=Ica ID 2701 Bbi=/Chgs/USD0,/ Ssn: 0505917
                                                                                  1204720041Fc

                                                                                  20,075.00

                                                                                  Ogb=Bank of
02/10/2023   Deposit                           Red Balloon Capital LLC            Trn:                                                                                  CHASE Checkingxxx8502      20,075.00
                                                                                  Book Transfer Credit B/O: Vick Enterprise, LLC Albany CA 94706-5034 US Ref:
02/14/2023   Deposit                           Vick Enterprise LLC                Zoomeral User ID: 2629/Bnf/Ica Zoomeral User ID 2629 Trn: 3495453047Es                CHASE Checkingxxx8502     176,075.00
                                                                                  Fedwire Credit Via: Coastal1 Credit Union/211590260 B/O: Ryan Mcgovern North
                                                                                  MA 02760-0000 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643
                                                                                  US/Ac-000000 008522 Rfb=O/B Coastal1 CU Obi=Ica Zoomeral User ID:2735
02/16/2023   Deposit                           Ryan McGovern                      0216Qmgft012000882 Trn: 0633310047Ff                                                  CHASE Checkingxxx8502      15,075.00
                                                                                  Fedwire Credit Via: Bristol County Savings Bank/211370859 B/O: Blais Cunningham
                                                                                  Crowe Chester, Lpawtucket, RI 02862 Ref: Chase Nyc/Ctr/Bnf=Genie Investments
                                                                                  Reno NV 89502-1643 US/Ac-000000 008522 Rfb=O/B Bristol Cnty Obi=Ica -
02/16/2023   Deposit                           Blais Cunningham & Crowe Chester   Ref: Michael Schei N, 527 Ten Rod Rd,LLC Imad: 0216Mmqfmpr0000038 Trn:                CHASE Checkingxxx8502      20,075.00
                                                                                  Fedwire Credit Via: Atlantic Community Bankers Bank/031301752 B/O: Fratelli
                                                                                  Methuen, MA 01844 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV
                                                                                  US/Ac-000000 008522 Rfb=O/B Atlantic Com Obi=Ica - Zoomeral User ID 2739
02/16/2023   Deposit                           Fratelli LLC                       0222Mmqfmp3W000004 Trn: 0155600053Ff                                                  CHASE Checkingxxx8502     150,075.00
02/16/2023   Journal Entry   ICA Loan#2716                                        10X                                                                                   -Split-                    20,000.00
02/16/2023   Journal Entry   ICA Loan#2717                                        10X                                                                                   -Split-                    20,000.00
02/16/2023   Journal Entry   ICA Loan#2735                                                                                                                              -Split-                    15,000.00
                                                                                  Fedwire Credit Via: Bristol County Savings Bank/211370859 B/O: Blais Cunningham
                                                                                  Crowe Chester, Lpawtucket, RI 02862 Ref: Chase Nyc/Ctr/Bnf=Genie Investments
                                                                                  Reno NV 89502-1643 US/Ac-000000 008522 Rfb=O/B Bristol Cnty Obi=Re: Ica
                                                                                  2717 Ref: Michael S Ch Ein, Schein Realty LLC Imad: 0216Mmqfmpr0000039
                                                                                  0659450047Ff

                                                                                  & 20,075.00
                                                                                  NV
                                                                                  - User:
02/16/2023   Deposit                           Schein Realty LLC                  Trn:                                                                                  CHASE Checkingxxx8502      20,075.00
                                                                                  Book Transfer Credit B/O: Pd&C Financial Services, LLC Sugar Land TX 77479-8846

02/27/2023   Deposit                           Financial Services LLC             Ref: Ica Zoomeral User ID 2625 Trn: 3631213059Es                                      CHASE Checkingxxx8502     150,075.00
                                                                                  Fedwire Credit Via: America First Federal Credit Union/324377516 B/O: Archer
                                                                                  Investments LLC US Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV
                                                                                  US/Ac-000000 008522 Rfb=O/B Amer First F Obi=Dow N Payment On A Loan
                                                                                  Zoomera L User ID: 2649 Imad: 0302L4B74L2C000154 Trn: 0668120061Ff

                                                                                  Capital 200,075.00
                                                                                  89502-1643
03/01/2023   Deposit                           Archer Capital Investments LLC     Ica,                                                                                  CHASE Checkingxxx8502     200,075.00
                                                                                  Book Transfer Credit B/O: Eastern Bank Lynn MA 01901- US Org:/0601405786
03/06/2023   Deposit                           TAJ Construction LLC               Construction LLC Ogb: Aba/011301798 Eastern Bank Ref: Ica Zoomeral ID 2748/Bnf/Ica    CHASE Checkingxxx8502      15,075.00
                                                                                  Book Transfer Credit B/O: Rowehl & Russo Properties LLC Shirley NY 11967-2941

03/15/2023   Deposit                           Rowehl & Russo Properties LLC      Ica 2787 Trn: 3517633074Es                                                            CHASE Checkingxxx8502      15,075.00
                                                                                  /AC-XXXXXX XXXXXX RFB=O/B REPUBLIC FIR OBI=REF # XXXX IMAD: XXXXMMQFMPXLXXXXXX
03/23/2023   Deposit                           Iron Dragon Holdings               TRN: XXXXXX0082FF                                                              CHASE Checkingxxx8502               5,075.00
                                                                                  2075, 2076 & 2077 ICA Payments - US/AC-XXXXXX XXXXXX RFB=O/B ATLANTIC COM OBI=ICA .
                                                                                  REF#XXXX. HOSPITALITY GROWTH C AP ITAL..REF#XXXX NUTRE LEASING LLC, R EF#XXXX
03/24/2023   Deposit                           Fratelli LLC                       SOLAR CAPITAL FU IMAD: XXXXMMQFMPXWXXXXXX TRN: XXXXXX0083FF                           CHASE Checkingxxx8502      90,075.00
03/31/2023   Deposit         1                                                    REMOTE ONLINE DEPOSIT # 1                                                             CHASE MM Acct# xxx2222    100,000.00
                                                                                  G=/X XXXXXXXXXXX CA XXXXXXXXX US OGB=BAN K OF AMERICA, N.A. NEW YORK NY US O
                                                                                  BI=POP SERVICES ICA USER ID XXXX BB I=/CHGS/USDX,/CHGS/USDX,/OCMT/USDXX XXX SSN:
04/04/2023   Deposit                           Frank H Chu                        XXXXXXX TRN: XXXXXX0094FC                                                        CHASE Checkingxxx8502         1,100,000.00
04/07/2023   Journal Entry   Tranche 1 #2716                                                                                                                            -Split-                    -20,000.00
                             1st Tranche
04/07/2023   Journal Entry   Loan#2665                                                                                                                                  -Split-                    25,000.00
                             1st Tranche
04/07/2023   Journal Entry   Loan#2665                                                                                                                                  -Split-                    -25,000.00
                             Tranche 1 Loan
04/07/2023   Journal Entry   #2587                                                Money Received from Loan #2587 (10X)                                                  -Split-                      6,500.00
                             Tranche 1 Loan
04/07/2023   Journal Entry   #2587                                                Remove ICA Payable - No Longer Refundable                                             -Split-                     -6,500.00
04/07/2023   Journal Entry   Tranche 1 #2735                                                                                                                            -Split-                    -15,000.00
                             1st Tranche
04/07/2023   Journal Entry   Loan#2694                                            Record ICA Payable                                                                    -Split-                    20,000.00
                             1st Tranche
04/07/2023   Journal Entry   Loan#2694                                            Remove ICA Pay - No longer refundable                                                 -Split-                    -20,000.00
04/07/2023   Journal Entry   Tranche 1 #2703                                                                                                                            -Split-                    -20,000.00
                             1st Tranche
04/07/2023   Journal Entry   #2701                                                                                                                                      -Split-                    -20,000.00
                             1st Tranche
04/07/2023   Journal Entry   Loan#2611                                                                                                                                  -Split-                    10,000.00
                             1st Tranche
04/07/2023   Journal Entry   Loan#2611                                                                                                                                  -Split-                    -10,000.00
                             1st Tranche
04/07/2023   Journal Entry   #2658                                                                                                                                      -Split-                      5,000.00
04/07/2023   Journal Entry   Tranche 1 #2704                                                                                                                            -Split-                    -20,000.00
04/07/2023   Journal Entry   Tranche 1 #2706                                      PAID OFF IN FULL                                                                      -Split-                    -20,000.00
04/07/2023   Journal Entry   Tranche 1 #2717                                                                                                                            -Split-                    -20,000.00
                             1st Tranche
04/07/2023   Journal Entry   #2658                                                                                                                                      -Split-                     -5,000.00
                                                                                  XXXX RFB=O/B AMER FIRST F OBI=DEP OSIT ICA XXXX IMAD: XXXXLXBXXLXCXXXXXX TRN:
04/10/2023   Deposit                           Ajer LLC                           XXXXXX0100FF                                                                          CHASE Checkingxxx8502     180,075.00
                                             Case 3:24-bk-00496-BAJ                                                                           Doc 50                        Filed 04/04/24                                           Page 15 of 19

                                                                                                                                    XXXXXXXXXX ORG=/X XXXXXXXXXXX SAINT JOSEPH, MO, XXXXX , US OGB=BANK OF
                                                                                                                                    AMERICA, N.A. NEW YORK NY US OBI=ICA WIRE FEE FOR GLO BALWEBXVENTURES
                                        04/10/2023          Deposit                             Global Webxventures LLC             BBI=/CHGS/U SSN: XXXXXXX TRN: XXXXXX0100FC                                                       CHASE Checkingxxx8502       20,075.00
                                                                            1st Tranche
                                        04/10/2023          Journal Entry   #2695                                                   Non Refundable                                                                                   -Split-                     -20,000.00

                                                                                                                                    RENO NV XXXXX-XXXX US/AC-XXXXXX XXXXXX RFB=O/B FST DAKOTA Y OBI=WAL LINGFORD
                                        05/03/2023          Deposit                             Wallingford Lodging Partners LLC    LODGING PARTNERS ACCT # XX XX IMAD: XXXXMMQFMPPCXXXXXX TRN: XXXXXX0123FF                         CHASE Checkingxxx8502     1,800,075.00

                                                                                                                                    RENO NV XXXXX-XXXX US/AC-XXXXXX XXXXXX RFB=O/B FST DAKOTA Y OBI=NOR TH HAVEN
                                        05/03/2023          Deposit                             North Haven Lodging Partners LLC    LODGING PARTNERS ACCT # XX XX IMAD: XXXXMMQFMPPCXXXXXX TRN: XXXXXX0123FF                         CHASE Checkingxxx8502     1,800,075.00
                                                                                                                                    FEDWIRE CREDIT VIA: TD BANK, NA/XXXXXXXXX B/O: PRYM BUILDERS GROUP LLC
                                                                                                                                    BROOKLYN, NY XXXXX-XXXX REF: CHASE NYC/CTR/BNF=GENIE INVESTMENTS NV
                                                                                                                                    JACKSONVILLE FL X2236 -XXXX US/A C-XXXXXXXXXXXX RFB=MAX-XXXXXXXX OBI =IYSF
                                        06/22/2023          Deposit                             Prym Builders Group LLC             SUNSET YARDS LLC LINE OF CRED I T IMAD: XXXXMMQFMPYQXXXXXX TRN: XXXXXX0173FF                     CHASE Checkingxxx8502       67,575.00
                                                                            1st Tranche
                                        07/07/2023          Journal Entry   #2685                                                                                                                                                    -Split-                      -2,500.00
                                                                            1st Tranche
                                        07/28/2023          Journal Entry   Loan#1903                                                                                                                                                -Split-                     -10,000.00
                                                                            1st Tranche
                                        07/28/2023          Journal Entry   Loan#1903                                                                                                                                                -Split-                     10,000.00
                                                                            1st Tranche
                                        08/28/2023          Journal Entry   Loan#2565                                                                                                                                                -Split-                     -10,000.00
                                                                            Interest 1055
                                        12/28/2023          Journal Entry   2023                                                    Interest Earned #1055                                                                            -Split-                      -1,809.52
Loan Account - Morgan Stanley
Liquidity Access Line Acct#xxx145861-
290
                                        Beginning Balance
                                        01/03/2023          Journal Entry   Int on Loan 01/23                                       Interest Paid from Loan                                                                          -Split-                     17,316.71
                                                                            Feb 23 Loan
                                        02/28/2023          Journal Entry   Interest                                                Interest Paid from Loan                                                                          -Split-                     18,431.81
                                                                            June 2024
                                        03/31/2023          Journal Entry   Investments                                             Loan Interest                                                                                    -Split-                     17,126.40
                                        04/30/2023          Journal Entry   Loan Interest                                           Loan Interest                                                                                    -Split-                     19,479.33
                                                                                                                                    XXXX ORG=/X XXXXXXXXXXX XXXX UNITED STATES OGB= MORGAN STANLEY AND CO., LLC
                                                                                                                                    NEW YOR K NY US BBI=/CHGS/USDX,XX/OCMT/USDX XXXXXX,XX/EXCH/X,X/ SSN: XXXXXXX
                                        05/31/2023          Deposit                             Morgan Stanley                      TRN: XXXXXX0151FC                                                                                CHASE Checkingxxx8502     5,735,000.00
                                        05/31/2023          Journal Entry   Loan Interest                                           Loan Interest                                                                                    -Split-                     19,474.58
                                        06/30/2023          Journal Entry   Loan Interest                                           Loan Interest                                                                                    -Split-                     21,938.52
                                                                                                                                    XXXXXXXXXXX X ORG=/XXXXXXXXXXXX XXXX UNITED STA TES OGB=MORGAN STANLEY AND
                                                                                                                                    CO., LLC NEW YORK NY US BBI=/CHGS/USDX,XX/O CMT/USDXXXXXX,XX/EXCH/X,X/ SSN:
                                        07/20/2023          Deposit                                                                 XXXXXXX TRN: XXXXXX0201FC                                                                        CHASE Checkingxxx8502      780,000.00
                                                                            Interest July
                                        07/31/2023          Journal Entry   2023                                                    7/23 Loan Interest                                                                               -Split-                     91,707.35
                                                                            Feb 25 Loan
                                        08/31/2023          Journal Entry   Interest                                                Loan Interest                                                                                    -Split-                     28,731.59
                                        09/30/2023          Journal Entry   Loan Interest                                           Loan Interest                                                                                    -Split-                     65,805.67
                                                                            Feb 27 Loan
                                        10/31/2023          Journal Entry   Interest                                                Loan Interest                                                                                    -Split-                     64,854.47
                                        11/02/2023          Journal Entry   Loan                                                    Cash Transfer                                                                                    -Split-                    -150,000.00
                                        11/30/2023          Journal Entry   Loan Interest                                           Loan Interest                                                                                    -Split-                     67,495.39
                                        12/31/2023          Journal Entry   Loan Interest                                           Loan Interest                                                                                    -Split-                     64,864.23
Velanos Notes Payable
                                                                            Funding
                                        07/31/2023          Journal Entry   Company A/R                                             Velanos                                                                                          -Split-                  75,000,000.00
Bridge Interest Revenue
                                                                                                                                    Fedwire Credit Via: First Interstate Bk of Billings NA/092901683 B/O: Ww LLC
                                                                                                                                    99030 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643
                                                                                                                                    US/Ac-000000 008522 Rfb=O/B First Intrst Obi=Bri Dge Payment Zoomeral User
                                        01/03/2023          Deposit                             WW LLC                              Imad: 0103Gmqfmp01021472 Trn: 0859470003Ff                                                       CHASE Checkingxxx8502       45,075.00
                                                                                                                                    Book Transfer Credit B/O: Kristin Stegent OR Ryan S Stegent Snook TX 77878-0184 US Ref: Bridge
                                        01/11/2023          Deposit                             Kristin Stegent or Ryan S Stegent   Loan Prepaid Interest And Zoomeral Fees Trn: 3484643010Es                                        CHASE MM Acct# xxx2222      26,805.00
                                                                                                                                    Fedwire Credit Via: Regions Bank/062005690 B/O: Kim Boudreau Nash Port
                                                                                                                                    70083-2362 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643
                                                                                                                                    US/Ac-000000 008522 Rfb=O/B Regions Bk Obi=Ica U Ser ID 2633 Imad:
                                        01/11/2023          Deposit                             Kim Boudreau                        0111F2Qcz00C002087 Trn: 0560090011Ff                                                             CHASE Checkingxxx8502       37,500.00
                                                                                                                                    Fedwire Credit Via: U.S. Bank N.A./123000220 B/O: Oregon Business Management Group
                                                                                                                                    Intigard,OR,97223 US Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643 US/Ac-
                                                                                                                                    000000 040123 Rfb=230124032805 Obi=Loan Bu Siness Relationship Bbi=/Chgs/USD0, 00/ Imad:
                                        01/24/2023          Deposit                             Oregon Business Management Group    0124Mmqfmp31003279 Trn: 0666190024Ff                                                             CHASE MM Acct# xxx2222        9,000.00
                                                                                                                                    Fedwire Credit Via: Wells Fargo Bank, N.A./121000248 B/O: Heliosun LLC Goodyear,
                                                                                                                                    85338-1585 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643
                                                                                                                                    US/Ac-000000 008522 Rfb=0006494030905152 Obi=Bri Dge Payment Bridge
                                        01/31/2023          Deposit                             Hellosun LLC                        Bbi=/Chg S/USD0,00/ Imad: 0131I1B7032R017716 Trn: 0820350031Ff                                   CHASE Checkingxxx8502      165,075.00
                                                                                                                                    Book Transfer Credit B/O: Pnc Bank National Association Akron OH 44308- US
                                                                                                                                    Org:/1016004086 Deborah M Lee Ogb: Aba/043000096 Pnc Bank, N.A. Ref:
                                        02/06/2023          Deposit                             Deborah M Lee                       Zoomeral 2676/Ins/Aba/043000096Pncbank/Ref/02031035671461 82 Trn: 0085920037Ez                   CHASE Checkingxxx8502       15,000.00
                                                                                                                                    Fedwire Credit Via: America First Federal Credit Union/324377516 B/O: Travis
                                                                                                                                    Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643 US/Ac-000000
                                                                                                                                    008522 Rfb=O/B Amer First F Obi=Bri Dge Payment Imad: 0207L4B74L2C000064
                                                                                                                                    0385410038Ff

                                                                                                                                    V Nokes US 150,000.00
                                        02/07/2023          Deposit                             Travis V Nokes                      Trn:                                                                                             CHASE Checkingxxx8502      150,000.00
                                                                                                                                    Fedwire Credit Via: Zions Bancorporation N.A./124000054 B/O: Ameiva LLC
                                                                                                                                    Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643 US/Ac-000000
                                                                                                                                    Rfb=O/B Zions Bancor Obi=Bri Dge Payment Zoomeral User ID: 27 32 Imad:
                                        02/10/2023          Deposit                             Ameiva LLC                          0210L4B74B3C002737 Trn: 0823970041Ff                                                             CHASE Checkingxxx8502         7,575.00
                                                                                                                                    Book Transfer Credit B/O: Global Verse Holdings LLC Sheridan WY 82801-6317 US Ref: Bridge Loan
                                                                                                                                    Interest Pmt For 1.5 Percent of 3575000 Loan/Bnf/Bridge Lo An Interest Pmt For 1.5 Percent of
                                        02/10/2023          Deposit                             Global Verse Holdings LLC           3575000 Loan Trn: 3078023041Es                                                                 CHASE MM Acct# xxx2222        45,000.00
                                                                                                                                    Fedwire Credit Via Amarillo National Bank/111300958 B/O: Nutra-Acres LLC Dumas TX 79029 Ref:
                                                                                                                                    Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643 US/Ac-000000 040123 Rfb=O/B
                                        02/13/2023          Deposit                             Nutra-Acres LLC                     Amarillo Nat Obi=Bri Dge- LLC Mcmann Funding Imad: 0213Mmqfmpdy000171 Trn: 0658740044Ff          CHASE MM Acct# xxx2222     115,000.00
                                                                                                                                    Fedwire Credit Via: Wells Fargo Bank, N.A./121000248 B/O: Limitless Investment
                                                                                                                                    LLC UT 84115 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643
                                                                                                                                    US/Ac-000000 008522 Rfb=Ow00002969035406 Obi=Bri Dge Payment Zoomeral
                                        02/22/2023          Deposit                             Limitless Investment Group          273 3 Bbi=/Chgs/USD0,00/ Imad: 0222I1B7033R003400 Trn: 0083150053Ff                              CHASE Checkingxxx8502       80,075.00
                                                                                                                                    Fedwire Credit Via: Capital One, NA/056073502 B/O: Christopher J Lovett Las
                                                                                                                                    Vegas,NV,891095300,US Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno
                                                                                                                                    89502-1643 US/Ac-000000 008522 Rfb=Mmj1272Dtwgsbzzp Obi=Ica 2678 Imad:
                                        02/27/2023          Deposit                             Christopher J Lovett                0227Mmqfmpgh000423 Trn: 0103310058Ff                                                             CHASE Checkingxxx8502       34,575.00
                                                                                                                                    Chips Credit Via: Bank of America, N.A./0959 B/O: Adaptive Medical Technologies
                                                                                                                                    85258 US Ref: Nbnf=Genie Investments NV Reno NV 89502-1643 US/Ac-000000008522
                                                                                                                                    Org=/4 57048631385 AZ 85258 US Ogb=Bank of America, N.A. New York NY
                                                                                                                                    Op Services Bridge Payment, Zoomer/AL User ID (2743) Bbi=/Chgs/USD0,/ Ssn:
                                        03/09/2023          Deposit                             Adaptive Medical Technologies LLC   Trn: 0996060073Fc                                                                                CHASE Checkingxxx8502      150,000.00
                                                                                                                                    Book Transfer Credit B/O: Belle Maison Realty, LLC Chicago IL 60619-6455 US
                                        03/09/2023          Deposit                             Belle Maison Realty LLC             Prepaid Interest - Lea Muse, Belle Maison Realty, LLC Trn: 3316563068Es                          CHASE Checkingxxx8502       45,000.00
                                                                                                                                    RFB=O/B BMO HARRIS B OBI=ICA ZOOMERAL USER ID: XXXX BBI=/CHGS/U SDX,/ IMAD:
                                        03/20/2023          Deposit                             Zoomeral                            XXXXGXQGXXXCXXXXXX TRN: XXXXXX0079FF                                                             CHASE Checkingxxx8502      150,000.00
                                                                                                                                    XXXX XXXXXX RFB=O/B CENTENNIAL B OBI=CAP ITAL ICA NEDRA ACRES, LLC IMAD:
                                        03/22/2023          Deposit                             Stringer Farms Inc                  XXXXMMQFMPHXXXXXXX TRN: XXXXXX0081FF                                                             CHASE Checkingxxx8502      245,000.00
                                                                                                                                    XXXXXX ORG=/X XXXXXXXXXXX CA XXXXXXXXX US OGB=BAN K OF AMERICA, N.A. NEW YORK
                                                                                                                                    NY US O BI=POP INVESTMENT INCOME INCL DIVID END/ICA ZOMMERAL USER ID: XXXX SSN:
                                        03/29/2023          Deposit                             My Dragonfly Home Solution, LLC     XXXXXXX TRN: XXXXXX0088FC                                                       CHASE Checkingxxx8502                       100,075.00
                                                                                                                                    NV RENO NV XXXXX-XXXX US/AC-XXXXXX XXXXXX RFB=O/B OLD PLANK TR OBI=PHO ENIX
                                        05/31/2023          Deposit                             McMann Commercial Lending           RISING #XXXX ICA DEPOSIT IMAD: XXXXMMQFMPXXXXXXXX TRN: XXXXXX0151FF                              CHASE Checkingxxx8502       96,287.50
                                                                                                                                    NV RENO NV XXXXX-XXXX US/AC-XXXXXX XXXXXX RFB=O/B OLD PLANK TR OBI=PHO ENIX
                                        06/01/2023          Deposit                             McMann Commercial Lending           RISING #XXXX ICA DEPOSIT IMAD: XXXXMMQFMPXXXXXXXX TRN: XXXXXX0152FF                              CHASE Checkingxxx8502       96,287.50
                                                                                                                                    ONLINE DOMESTIC WIRE TRANSFER VIA: EVOLVE B & T/XXXXXXXXX A/C: FARMING CO INC
                                                                                                                                    MIDLAND TX XXXXX US REF: X MONTHS INTEREST IMAD: XXXXBXQGCXXCXXXXXX TRN:
                                        07/19/2023          Expense                             Farming CO Inc.                     XXXXX9320 XES 07/19                                                                              CHASE Checkingxxx8502       -10,000.00
Commission Revenue
                                                                            1st Tranche
                                        04/07/2023          Journal Entry   Loan#2694                                               1 point                                                                                          -Split-                       2,000.00
                                                                            1st Tranche
                                        04/07/2023          Journal Entry   #2701                                                   1 point                                                                                          -Split-                       2,000.00
                                                                            1st Tranche
                                        04/07/2023          Journal Entry   Loan#2611                                               1 point                                                                                          -Split-                       1,000.00
                                        04/07/2023          Journal Entry   Tranche 1 #2716                                         1 point                                                                                          -Split-                       2,000.00
                                        04/07/2023          Journal Entry   Tranche 1 #2703                                         1 point                                                                                          -Split-                       2,000.00
                                                                            1st Tranche
                                        04/07/2023          Journal Entry   Loan#2665                                               1 point                                                                                          -Split-                       2,500.00
                                        04/07/2023          Journal Entry   Tranche 1 #2717                                         1 point                                                                                          -Split-                       2,000.00
                                        04/07/2023          Journal Entry   Tranche 1 #2704                                         1 point                                                                                          -Split-                       2,000.00
                                        04/07/2023          Journal Entry   Tranche 1 #2735                                         1 point                                                                                          -Split-                       1,000.00
                                        04/07/2023          Journal Entry   Tranche 1 #2706                                         1 point                                                                                          -Split-                       2,000.00
                                                                            1st Tranche
                                        04/10/2023          Journal Entry   #2695                                                   1 point                                                                                          -Split-                       2,000.00
                                                                            1st Tranche
                                        08/28/2023          Journal Entry   Loan#2565                                               1 point                                                                                          -Split-                       1,000.00
Due Diligence Revenue
                                                                                                                                    Book Transfer Credit B/O: Kristin Stegent OR Ryan S Stegent Snook TX 77878-0184

                                        01/03/2023          Deposit                             Kristin Stegent or Ryan S Stegent   Ref: "Due Diligence" User ID 2634 Trn: 3910133003Es                                              CHASE Checkingxxx8502       35,000.00
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                     01/03/2023   Journal Entry   Due Diligence                                      Loan#2634                                                                                 -Split-                    35,000.00
                                                                                                     Fedwire Credit Via: Regions Bank/062005690 B/O: Kim Boudreau Nash Port
                                                                                                     70083-2362 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643
                                                                                                     US/Ac-000000 008522 Rfb=O/B Regions Bk Obi=Due D Illigence User ID 2633
                     01/04/2023   Deposit                         Kim Boudreau                       0104F2Qcz00C001051 Trn: 0336340004Ff                                                      CHASE Checkingxxx8502      20,000.00
                                                                                                     Fedwire Credit Via: U.S. Bank N.A./123000220 B/O: Oregon Business Management
                                                                                                     Intigard,OR,97223 US Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno
                                                                                                     89502-1643 US/Ac-000000 008522 Rfb=230106030664 Obi=Due Dil Igence Loan
                                                                                                     Client Due D Iligen Ce Zoomeral User ID 2627 Bbi=/Chgs/USD0,00/ Imad:
                     01/04/2023   Deposit                         Oregon Business Management Group   0106I1Q73Agc002839 Trn: 0554720006Ff                                                      CHASE Checkingxxx8502      20,000.00
                                                                                                     Fedwire Credit Via: Mountain America Fcu/324079555 B/O: Wrex & Whitney
                                                                                                     Surprise AZ 85388 USA Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno
                                                                                                     89502-1643 US/Ac-000000 008522 Rfb=O/B Mtn Am CU Sl Obi=Due Diligence
                     01/12/2023   Deposit                         Wrex & Whitney Lindsay             User ID: 26 43 Imad: 0118Qmgft015001162 Trn: 0689410018Ff                                 CHASE Checkingxxx8502      15,000.00
                                                                                                     Fedwire Credit Via: Capital One, NA/056073502 B/O: Christopher J Lovett Las
                                                                                                     Vegas,NV,891095300,US Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno
                                                                                                     89502-1643 US/Ac-000000 008522 Rfb=Mmnxb0Vqgwpjtags Obi=Due Diligence
                     01/26/2023   Deposit                         Christopher J Lovett               Imad: 0126Mmqfmpgh001736 Trn: 0402480026Ff                                                CHASE Checkingxxx8502      30,000.00
                                                                                                     Fedwire Credit Via: Capital One, NA/056073502 B/O: Lea J Muse Chicago,IL,60619,US
                                                                                                     Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643 US/Ac-000000
                                                                                                     008522 Rfb=Mm8Ucjvwykdgky6C Obi=Ret Ention Fee Imad: 0130Mmqfmpgh002743
                                                                                                     0604710030Ff

                                                                                                     25,000.00

                     01/30/2023   Deposit                         Lea J Muse                         Trn:                                                                                      CHASE Checkingxxx8502      25,000.00
                     01/31/2023   Journal Entry   Due Diligence                                      Loan #2895                                                                                -Split-                    25,000.00
                                                                                                     Chips Credit Via: Bank of America, N.A./0959 B/O: Humane Care 7 Days Medical
                                                                                                     Ica 926472656 US Ref: Nbnf=Genie Investments NV Reno NV 89502-1643
                                                                                                     US/Ac-000000008522 Org=/0 00932769339 CA 926472656 US Ogb=Ban K of
                                                                                                     N.A. New York NY US O Bi=POP Trade Related Due Diligence - Z/Oomeral User
                     01/31/2023   Deposit                         Humane Care 7 Days Medical Group   Bbi Ssn: 0631066 Trn: 1388090031Fc                                                        CHASE Checkingxxx8502      40,000.00
                                                                                                     Credit Via: America First Federal Credit Union/324377516 B/O: Travis
                                                                                                     Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643 US/Ac-000000
                     02/01/2023   Deposit                         Travis V Nokes                     008522 Rfb=O/B Amer First F Obi=Due Diligence Application Fee Due D IL                    CHASE Checkingxxx8502      15,075.00
                                                                                                     Book Transfer Credit B/O: Pnc Bank National Association Akron OH 44308- US
                                                                                                     Org:/1016004086 Deborah M Lee Ogb: Aba/043000096 Pnc Bank, N.A. Ref:
                     02/03/2023   Deposit                         Deborah M Lee                      Zoomeral 2676/Ins/Aba/043000096Pncbank/Ref/0202900838318 953 Trn: 3230850034Ez            CHASE Checkingxxx8502      15,000.00
                                                                                                     02/06 Online Domestic Wire Transfer Via: Old Plank Trail CO/071926582 A/C: Mcmann
                     02/06/2023   Expense                         McMann Commercial Lending          Commercial Lending Chicago IL 60601 US Ref:/Bnf/Due Diligence Imad:                       CHASE Checkingxxx8502     -16,000.00
                                                                                                     Fedwire Credit Via: Canandaigua National Bank/022303659 B/O: Robert J. Wrisley
                                                                                                     Rochester, NY 14626-1007 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno
                                                                                                     89502-1643 US/Ac-000000 008522 Rfb=O/B Natl Cananda Obi=Due Diligence
                     02/06/2023   Deposit                         Robert J. Wrisley                  2668 Imad: 0206Qmgft015000472 Trn: 0371320037Ff                                           CHASE Checkingxxx8502       7,500.00
                                                                                                     Fedwire Credit Via: Amarillo National Bank/111300958 B/O: Charles B Stringer
                                                                                                     79029-1084 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643
                                                                                                     US/Ac-000000 008522 Rfb=O/B Amarillo Nat Obi=Ref : Due Diligence Fee For
                                                                                                     S At LLC Care of Blake Stringer Imad: 0206Mmqfmpdy000032 Trn: 0252670037Ff

                                                                                                     Dumas TX 40,000.00
                     02/06/2023   Deposit                         Charles B Stringer                 Nutra/A                                                                                   CHASE Checkingxxx8502      40,000.00
                                                                                                     Chips Credit Via: Bank of America, N.A./0959 B/O: Beverly R Yoneyama Sammamish,
                                                                                                     98074, US Ref: Nbnf=Genie Investments NV Reno NV 89502-1643 US/Ac-000000008522
                                                                                                     Org=/0 00068417427 Sammamish, WA, 98074, U S Ogb=Bank of America, N.A.
                                                                                                     K NY US Obi=Edge Development Retent Ion Fee Bbi=/Chgs/USD0,/ Ssn: 0220597
                                                                                                     0532540037Fc

                                                                                                     WA, 7,500.00
                                                                                                     New Yor
                     02/06/2023   Deposit                         Beverly R Yoneyama                 Trn:                                                                                      CHASE Checkingxxx8502       7,500.00
                                                                                                     Fedwire Credit Via: Wells Fargo Bank, N.A./121000248 B/O: Holland Energy
                                                                                                     Waller, TX 77484-9548 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno
                                                                                                     89502-1643 US/Ac-000000 008522 Rfb=0068543044573523 Obi=Due Diligence
                                                                                                     Diligence Zoomera L User ID 2673 Bbi=/Chgs/USD0,00/Bnf/Due Diligence Zoo
                                                                                                     0213I1B7031R016495 Trn: 0814080044Ff

                                                                                                     LLC 40,000.00
                                                                                                     NV
                                                                                                     Due
                     02/10/2023   Deposit                         Holland Energy Advisors LLC        Imad:                                                                                     CHASE Checkingxxx8502      40,000.00
                                                                                                     Fedwire Credit Via: Wells Fargo Bank, N.A./121000248 B/O: Michael Ehinger
                                                                                                     Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643 US/Ac-000000
                                                                                                     008522 Rfb=Ow00002949767345 Obi=Due Dillegence User ID 2733 Expansi
                     02/14/2023   Deposit                                                            Investments Bbi=/Chgs/USD0,00/ Imad: 0214I1B7031R011581 Trn: 0586460045Ff                 CHASE Checkingxxx8502      15,000.00
                                                                                                     Fedwire Credit Via: UBS Ag Stamford Branch/026007993 B/O: Robin P Allen
                                                                                                     P Allen5258-2913 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643
                                                                                                     US/Ac-000000 008522 Rfb=00768720230228Pw Obi=Due Diligence User ID
                     02/28/2023   Deposit                         Robin P Allen                      0228B6B7Ik1C005398 Trn: 1010960059Ff                                                      CHASE Checkingxxx8502      30,000.00
                                                                                                     Fedwire Credit Via: Capital One, NA/056073502 B/O: Vtj LLC Leander,TX,78641,US
                                                                                                     Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643 US/Ac-000000
                                                                                                     Rfb=Sbbmmahaeq96Deig Obi=Vjt LLC Cai Account Imad: 0302Mmqfmpgh000888
                     03/02/2023   Deposit                         VJT LLC                            0204830061Ff                                                                              CHASE Checkingxxx8502      30,000.00
                                                                                                     Fedwire Credit Via: City National Bank/122016066 B/O: Biassess Strategies LLC
                                                                                                     Hills CA 90209 Ref: Chase Nyc/Ctr/Bnf=Genie Investments NV Reno NV 89502-1643
                                                                                                     US/Ac-000000 008522 Rfb=O/B Cy Natl Bk L Obi=Due Diligence - Zoomeral
                                                                                                     Bbi=/Bnf/1515 Atlantic Boulevard J Ackso Nville, FL 32207 Imad: 0303L2Lfck1C004020
                     03/03/2023   Deposit                         Biassess Strategies LLC            Trn: 0722290062Ff                                                                         CHASE Checkingxxx8502      15,000.00
                                                                                                     XXXXXX XXXXXX RFB=O/B AM SL HONO OBI=DUE D ILIGENCE XXXX IMAD:
                     03/22/2023   Deposit                         John Wilson                        XXXXGMQFMPXXXXXXXX TRN: XXXXXX0081FF                                                      CHASE Checkingxxx8502      25,000.00
                                                                                                     BOOK TRANSFER CREDIT B/O: ZON HOSPITALITY CORP OPERATING BREA CA XXXXX-XXXX
                     03/22/2023   Deposit                         Zon Hospitality Corp               US REF: DUE DILIGENCEGRUPO VACUZA XX, LLC TRN: XXXXXX3081ES                               CHASE Checkingxxx8502      25,000.00
                                                                                                     ONLINE DOMESTIC WIRE TRANSFER VIA: OLD PLANK TRAIL CO/XXXXXXXXX A/C: MCMANN
                                                                                                     COMMERCIAL LENDING CHICAGO IL XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN:
                     03/27/2023   Expense                         McMann Commercial Lending          XXXXXXXX86ES 03 XXXXX/27                                                                  CHASE Checkingxxx8502     -10,000.00
                     03/27/2023   Expense                         McMann Commercial Lending          XXXXX/27                                                                                  CHASE Checkingxxx8502     -10,000.00
                                                                                                     XXX-XXXX US/AC-XXXXXX XXXXXX RFB=O/B CY NATL BK L OBI=DUE DILIGENCE-ZOOMERAL
                     03/27/2023   Deposit                         Michele Ruiz Productions LLC       USER ID XXXX IMAD: XXXXLXLFCKXCXXXXXX TRN: XXXXXX0086FF                                   CHASE Checkingxxx8502      15,000.00
                     03/28/2023   Deposit                         2814                               DEPOSIT ID NUMBER XX0672                                                                  CHASE Checkingxxx8502      45,000.00
                                                                                                     XXXXX XXXXXX RFB=O/B AMER FIRST F OBI=DUE DILIGENCE USER ID XXXX IMAD:
                     03/29/2023   Deposit                         Foster Group LLC                   XXXXLXBXXLXCXXXXXX TRN: XXXXXX0088FF                                                      CHASE Checkingxxx8502      30,000.00
                                                                                                     ONLINE DOMESTIC WIRE TRANSFER VIA: US BANK ARIZONA/XXXXXXXXX A/C: SECOND
                                                                                                     CHANCE ASSETS LLC SCOTTSDALE AZ XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN:
                     04/05/2023   Expense                         Second Chance Assets LLC           XXXXXXXX95ES 04/ XXXXXX05                                                                 CHASE Checkingxxx8502       -5,250.00
                                                                                                     XXXX XXXXXX RFB=XXXXXXXXXXXX OBI=DUE DIL IGENCE FEE VENDOR DUE DILIGE NCE ZO
                                                                                                     OMERAL USER ID: XXXX BBI=/CHGS/USDX ,XX/ IMAD: XXXXMMQFMPXXXXXXXX TRN:
                     04/06/2023   Deposit                         Knife & Spirit LLC                 XXXXXX0096FF                                                                              CHASE Checkingxxx8502      15,000.00
                                                                                                     XXXXX XXXXXX RFB=O/B ORIGIN BANK OBI=DUE DILIGENCE USER ID XXXX IMAD:
                     04/12/2023   Deposit                         Acres and Royalty LLC              XXXXMMQFMPQXXXXXXX TRN: XXXXXX0102FF                                                      CHASE Checkingxxx8502      37,000.00
                                                                                                     NV XXXXX-XXXX US/AC-XXXXXX XXXXXX RFB=O/B MELLON BANK OBI=FOR FURTHER CREDIT
                                                                                                     TO PHOENIX RISIN G I LLC KIMBERLY AND SCOTT ROGERS.N AT IONAL SAVINGS IMAD:
                     04/12/2023   Deposit                         Camila Gutierrez                   XXXXBXBXTQXCXXXXXX TRN: XXXXXX0102FF                                                      CHASE Checkingxxx8502      30,000.00
                                                                                                     XXX US/AC-XXXXXX XXXXXX RFB=O/B CY NATL BK L OBI=BRI DGE LOAN FEE PAYMENT-
                     04/18/2023   Deposit                         Biassess Strategies LLC            ZOOMERAL US ER ID XXXX IMAD: XXXXLXLFCKXCXXXXXX TRN: XXXXXX0108FF                         CHASE Checkingxxx8502     150,000.00
                                                                                                     ONLINE DOMESTIC WIRE TRANSFER VIA: OLD PLANK TRAIL CO/XXXXXXXXX A/C: MCMANN
                                                                                                     COMMERCIAL LENDING CHICAGO IL XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN:
                     04/24/2023   Expense                         McMann Commercial Lending          XXXXXXXX14ES 04 XXXXX/24                                                                  CHASE Checkingxxx8502     -12,000.00
                     04/26/2023   Expense                         McMann Commercial Lending          XXXXX/26                                                                                  CHASE Checkingxxx8502     -18,000.00
                                                                                                     ONLINE DOMESTIC WIRE TRANSFER VIA: OLD PLANK TRAIL CO/XXXXXXXXX A/C: MCMANN
                                                                                                     COMMERCIAL LENDING CHICAGO IL XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN:
                     04/26/2023   Expense                         McMann Commercial Lending          XXXXXXXX16ES 04 XXXXX/26                                                                  CHASE Checkingxxx8502     -14,800.00
                                                                                                     XXXXX RFB=O/B EW BK SMRINO OBI=DUE DILIGENCE ID XXXX IMAD: XXXXLXBXXQXCXXXXXX
                     05/02/2023   Deposit                         JC & TL Corp                       TRN: XXXXXX0122FF                                                                         CHASE Checkingxxx8502      30,000.00
                                                                                                     ONLINE DOMESTIC WIRE TRANSFER VIA: OLD PLANK TRAIL CO/XXXXXXXXX A/C: MCMANN
                                                                                                     COMMERCIAL LENDING CHICAGO IL XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN:
                     05/03/2023   Expense                         McMann Commercial Lending          XXXXXXXX23ES 05 XXXXX/03                                                                  CHASE Checkingxxx8502     -12,000.00
                                                                                                     ONLINE DOMESTIC WIRE TRANSFER VIA: OLD PLANK TRAIL CO/XXXXXXXXX A/C: MCMANN
                                                                                                     COMMERCIAL LENDING CHICAGO IL XXXXX US REF: USER ID XXXX IMAD:
                     05/05/2023   Expense                         McMann Commercial Lending          XXXXBXQGCXXCXX2476 TR N: XXXXXXXXXXES 05/05                                               CHASE Checkingxxx8502     -12,000.00
                                                                                                     ONLINE DOMESTIC WIRE TRANSFER VIA: CY NATL BK LA/XXXXXXXXX A/C: BIASSESS
                                                                                                     STRATEGIES LOS ANGELES CA XXXXX US REF:/TIME/XX:XX IMAD: XXXXBXQGCXXCXXXXXX
                     07/18/2023   Expense                         Biassess Strategies LLC            TRN: XX9891 XXXXES 07/18                                                                  CHASE Checkingxxx8502    -165,000.00
Termination Refund
                                                  Warrant
                     02/17/2023   Journal Entry   Purchase                                           Brian Nichols                                                                             -Split-                  -116,480.00
                                                                                                     02/17 Online Domestic Wire Transfer Via: Wells Fargo NA/121000248 A/C: Brian Nichols
                     02/17/2023   Expense                         Brian Nichols                      Wilmore KY 40390 US Ref:/Time/12:01 Imad: 0217B1Qgc08C025704 Trn: 3304113048Es            CHASE Checkingxxx8502    -116,480.00
                     03/07/2023   Expense                         Sun & Shield                       03/07 Domestic Wire Transfer Via: Wells Fargo NA/121000248 A/C: Sun & Shield 8411 Trust   CHASE Checkingxxx8502   -1,950,000.00
                                                                                                     Termination of Loan - DOMESTIC WIRE TRANSFER VIA: US BANK MISSOURI/XXXXXXXXX A/C:
                     04/10/2023   Expense                         Wynn-Hoff Air, Inc.                WYNN-HOFF AIR, INC IMAD: XXXXBXQGCXXCXXXXXX TRN: XXXXXXXXXXES 04/10                       CHASE Checkingxxx8502    -500,000.00
                                                                                                     Termination of Loan - ONLINE DOMESTIC WIRE TRANSFER VIA: BMO HARRIS BANK
                                                                                                     NA/XXXXXXXXX A/C: BSLN SERVICES LLC GLENDALE AZ XXXXX US IMAD:
                     04/17/2023   Expense                         BSLN Services LLC                  XXXXBXQGCXXCXXXXXX TRN: XXXXXXXXXXES 04/17                                                CHASE Checkingxxx8502    -150,000.00
                                                                                                     Termination of Loan - ONLINE DOMESTIC WIRE TRANSFER VIA: WELLS FARGO NA/XXXXXXXXX
                                                                                                     A/C: OK OIL HOLDINGS LLC FARMERS BRANCH TX XXXXX US REF:/TIME/XX:XX IMAD:
                     05/08/2023   Expense                         Oil Holdings Inc                   XXXXBXQGCXXCXXXX45 TRN: 36 XXXXXXXXES 05/08                                               CHASE Checkingxxx8502    -100,000.00
                                                                                                     ONLINE DOMESTIC WIRE TRANSFER VIA: SPACE COAST CU/XXXXXXXXX A/C: DRES LODGING
                                                                                                     LLC MIAMI BEACH FL XXXXX US REF: USER ID XXXX TERMINATION REFUND IMAD:
                     05/15/2023   Expense                         Dres Lodging LLC                   XXX5B1QGC06 CXXXXXX TRN: XXXXXXXXXXES 05/15                                   CHASE Checkingxxx8502                 -30,000.00
                                                                                                     Termination of Loan - NUMBER: XXXXXXXXX/BNF/FINAL BEN EFICIARY ACCOUNT NAME: XP
                                                                                                     VENTURES, LLCFINAL BENEFICIA RY ACCOUNT NUMB ER: XXXXXXXXX/TIME/XX:XX IMAD:
                     06/01/2023   Expense                         1P Ventures, LLC                   XXXXBXQGCXXCXXXXXX TRN: XXXXXXXXXXES 06/01                                                CHASE Checkingxxx8502   -5,000,000.00
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                                                                                                            ONLINE DOMESTIC WIRE TRANSFER VIA: COASTAL COMM BK WA/XXXXXXXXX A/C: PRPRTY
                                                                                                            LLC ROSLYN HEIGHTS NY XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN: XXXXXXXXXXES
                            06/28/2023   Expense                            PRPRTY LLC                      06/28                                                                                        CHASE Checkingxxx8502     -15,000.00
                                                                                                            ONLINE DOMESTIC WIRE TRANSFER VIA: FIRST BANK NC/XXXXXXXXX A/C: JMP GROUP LLC
                            06/29/2023   Expense                            Verco Group (JMP Group)         HOLLY SPRINGS NC XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN: XXXXXXXXXXES 06/29                   CHASE Checkingxxx8502    -400,000.00
                                                                                                            ONLINE DOMESTIC WIRE TRANSFER VIA: ADAMS BK OGALLALA/XXXXXXXXX A/C: SCOTT
                                                                                                            JACK PEASE ROCKY FORD CO XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN:
                            07/19/2023   Expense                            Jack Pease Rocky Ford Co        XXXXXXXXXXES 07/19                                                                           CHASE Checkingxxx8502    -150,000.00
                                                         Warrant
                            07/31/2023   Journal Entry   Purchase                                           ODP Solutions DBA Sky Systemz                                                                -Split-                  -110,752.00
                            07/31/2023   Expense                            ODP Solutions DBA Sky Systemz   XCXXXXXX TRN: XXXXXXXXXXES 07/31                                                             CHASE Checkingxxx8502    -110,752.00
                            08/27/2023   Journal Entry   Bank Acct Adj                                      Linger Chu Withdrawal                                                                        -Split-                 -1,100,000.00
                            12/31/2023   Journal Entry   Refunds                                                                                                                                         -Split-                  -318,281.01
                                                         Warrant
                            12/31/2023   Journal Entry   Investment                                                                                                                                      -Split-                  -672,500.00
Advertising & Promotion
Commission Expense
                                                                                                            01/04 Online Domestic Wire Transfer Via: Old Plank Trail CO/071926582 A/C: Mcmann
                            01/03/2023   Expense                            McMann Commercial Lending       Commercial Lending Chicago IL 60601 US Imad: 0104B1Qgc08C038194 Trn: 3505073004Es            CHASE Checkingxxx8502      22,000.00
                                                                                                            01/04 Online Domestic Wire Transfer Via: Truist Bank/111017694 A/C: Soteria Group LLC
                            01/04/2023   Expense                            Soteria Group LLC               Dallas TX 75205 US Imad: 0104B1Qgc08C038368 Trn: 3507093004Es                                CHASE Checkingxxx8502       8,250.00
                                                                                                            01/12 Online Domestic Wire Transfer Via: Old Plank Trail CO/071926582 A/C: Mcmann
                            01/12/2023   Expense                            McMann Commercial Lending       Commercial Lending Chicago IL 60601 US Imad: 0112B1Qgc08C015196 Trn: 3261203012Es            CHASE Checkingxxx8502       8,000.00
                                                                                                            01/12 Online Domestic Wire Transfer Via: Truist Bank/111017694 A/C: Soteria Group LLC
                            01/12/2023   Expense                            Soteria Group LLC               Dallas TX 75205 US Imad: 0112B1Qgc04C005166 Trn: 3262383012Es                                CHASE Checkingxxx8502       3,000.00
                                                                                                            01/20 Online Domestic Wire Transfer Via: US Bank Arizona/122105155 A/C: Second Chance
                            01/20/2023   Expense                            Second Chance Assets LLC        Assets LLC Scottsdale AZ 85260 US Imad: 0120B1Qgc06C006996 Trn: 3439053020Es                 CHASE Checkingxxx8502       5,250.00
                                                                                                            01/20 Online Domestic Wire Transfer Via: Truist Bank/111017694 A/C: Soteria Group LLC
                            01/20/2023   Expense                            Soteria Group LLC               Dallas TX 75205 US Imad: 0120B1Qgc08C031822 Trn: 3440903020Es                                CHASE Checkingxxx8502       2,437.50
                                                                                                            01/30 Online Domestic Wire Transfer Via: Old Plank Trail CO/071926582 A/C: Mcmann
                            01/30/2023   Expense                            McMann Commercial Lending       Commercial Lending Chicago IL 60601 US Imad: 0130B1Qgc06C012183 Trn: 3388473030Es            CHASE Checkingxxx8502      12,000.00
                                                                                                            01/30 Online Domestic Wire Transfer Via: Truist Bank/111017694 A/C: Soteria Group LLC
                            01/30/2023   Expense                            Soteria Group LLC               Dallas TX 75205 US Imad: 0130B1Qgc04C006044 Trn: 3390113030Es                                CHASE Checkingxxx8502       4,500.00
                                                                                                            02/01 Online Domestic Wire Transfer Via: Truist Bank/111017694 A/C: Soteria Group LLC
                            02/01/2023   Expense                            Soteria Group LLC               Dallas TX 75205 US Imad: 0201B1Qgc06C003480 Trn: 3175203032Es                                CHASE Checkingxxx8502       3,750.00
                                                                                                            02/01 Online Domestic Wire Transfer Via: Old Plank Trail CO/071926582 A/C: Mcmann
                            02/01/2023   Expense                            McMann Commercial Lending       Commercial Lending Chicago IL 60601 US Imad: 0201B1Qgc07C003067 Trn: 3174843032Es            CHASE Checkingxxx8502      10,000.00
                                                                                                            02/06 Online Domestic Wire Transfer Via: US Bank Arizona/122105155 A/C: Second Chance
                            02/06/2023   Expense                            Second Chance Assets LLC        Assets LLC Scottsdale AZ 85260 US Imad: 0206B1Qgc07C033684 Trn: 3589083037Es                 CHASE Checkingxxx8502       4,500.00
                                                                                                            02/06 Online Domestic Wire Transfer Via: County Clearfield/031306278 A/C: Klie Enterprises
                            02/06/2023   Expense                            Klie Enterprises LLC            LLC Meadville PA 16335 US Imad: 0206B1Qgc06C009275 Trn: 3591803037Es                         CHASE Checkingxxx8502       3,750.00
                                                                                                            02/08 Online Domestic Wire Transfer Via: Old Plank Trail CO/071926582 A/C: Mcmann
                            02/08/2023   Expense                            McMann Commercial Lending       Commercial Lending Chicago IL 60601 US Imad: 0208B1Qgc05C002827 Trn: 3137783039Es            CHASE Checkingxxx8502       6,000.00
                                                                                                            02/15 Online Domestic Wire Transfer Via: Old Plank Trail CO/071926582 A/C: Mcmann
                            02/15/2023   Expense                            McMann Commercial Lending       Commercial Lending Chicago IL 60601 US Imad: 0215B1Qgc05C002105 Trn: 3068493046Es            CHASE Checkingxxx8502      16,000.00
                            02/23/2023   Expense                            Znoc Enterprises LLC            02/23 Online Domestic Wire Transfer A/C: Znoc Enterprises, LLC Wellsville UT 84339-9635 US   CHASE Checkingxxx8502       3,750.00
                                                                                                            03/02 Online Domestic Wire Transfer Via: Old Plank Trail CO/071926582 A/C: Mcmann
                            03/02/2023   Expense                            McMann Commercial Lending       Commercial Lending Chicago IL 60601 US Imad: 0302B1Qgc01C001500 Trn: 3070453061Es            CHASE Checkingxxx8502      12,000.00
                                                                                                            03/07 Online Domestic Wire Transfer Via: US Bank Arizona/122105155 A/C: Second Chance
                            03/07/2023   Expense                            Second Chance Assets LLC        Assets LLC Scottsdale AZ 85260 US Imad: 0307B1Qgc01C001413 Trn: 3073223066Es                 CHASE Checkingxxx8502       5,250.00
                            04/14/2023   Expense                            Second Chance Assets LLC        XXXXXX14                                                                                     CHASE Checkingxxx8502       5,250.00
Compliance Expense
                            02/09/2023   Expense                            Parasec                         02/15 Parasec 916-576-7000 CA Card 9242                                                      CHASE Checkingxxx8502       6,424.25
                            04/04/2023   Deposit                            Parasec                         PARASEC SACRAMENTO CA 04/04                                                                  CHASE Checkingxxx8502       -5,671.25
                            04/19/2023   Expense                            Parasec                         PARASEC XXX-XXX-XXXX CA 04/19                                                                CHASE Checkingxxx8502       1,165.00
Contractors
                            03/17/2023   Expense                            Fiverr                          FiverrInc XXX-XXXXXXX NY 03/17                                                               CHASE Checkingxxx8502       2,086.90
Legal & Professional Fees
                            02/24/2023   Expense                            Shaver Law Group LLC            02/23 Shaver Law Group LLC 404-3459449 GA Card 9242                                          CHASE Checkingxxx8502       5,000.00
 Advisory Fees
                                                         Morgan Stanley
                            01/31/2023   Journal Entry   1/23                                                                                                                                            -Split-                     2,046.03
                            02/28/2023   Journal Entry   Adj 2/23                                                                                                                                        -Split-                     2,586.64
                            02/28/2023   Journal Entry   Div/Fees 2/23                                      Advisory Fee                                                                                 -Split-                     2,586.64
                            03/31/2023   Journal Entry   Dividends Mar 23                                   Advisory Fee                                                                                 -Split-                     2,860.57
                            04/30/2023   Journal Entry   Dividends 4/23                                     Advisory Fee                                                                                 -Split-                     3,100.58
                            05/31/2023   Journal Entry   Dividends 5/23                                     Advisory Fee                                                                                 -Split-                     3,213.12
                                                         Interest June
                            06/30/2023   Journal Entry   2023                                               Advisory Fee                                                                                 -Split-                     6,380.11
                            07/31/2023   Journal Entry   Cash Investment                                    Advisory Fee                                                                                 -Split-                     6,123.99
                            08/31/2023   Journal Entry   Cash Investment                                    Advisory Fee                                                                                 -Split-                     6,148.21
                                                         9/23 Cash
                            09/30/2023   Journal Entry   Investments                                        Advisory Fee                                                                                 -Split-                     5,949.67
                                                         Cash
                            10/31/2023   Journal Entry   Investments                                        Advisory Fee                                                                                 -Split-                     5,836.21
                                                         Cash
                            11/30/2023   Journal Entry   Investments                                        Advisory Fee                                                                                 -Split-                     5,673.28
                            12/31/2023   Journal Entry   Cash Investment                                    Advisory Fee                                                                                 -Split-                     5,825.70
 Legal Expense
                                                                                                            01/13 Online Domestic Wire Transfer Via: Wells Fargo NA/121000248 A/C: Spiegel And Ultera
                                                                                                            PA EFT San Francisco CA 94104 US Ref: Legal Fees And 5K For Retainer/Time/11:27 Imad:
                            01/13/2023   Expense                            Spiegel and Utrera PA           0113B1Qgc01C005756 Trn: 3320903013Es                                                         CHASE Checkingxxx8502       9,266.68
                                                                                                            03/02 Online Domestic Wire Transfer Via: Signature Bank/026013576 A/C: Warren Law Group
                            03/02/2023   Expense                            Warren Law Group                Iola New York NY 10017 US Imad: 0302B1Qgc02C005602 Trn: 3347103061Es                         CHASE Checkingxxx8502      15,000.00
                            04/03/2023   Expense                            Spiegel and Utrera PA           SPIEGEL AND UTRERA P A DOVER DE 04/03                                                        CHASE Checkingxxx8502       3,000.00
                            04/19/2023   Expense                            Spiegel and Utrera PA           SPIEGEL AND UTRERA P CORAL GABLES FL 04/19                                                   CHASE Checkingxxx8502       5,000.00
                            04/21/2023   Expense                            Spiegel and Utrera PA           SPIEGEL AND UTRERA P CORAL GABLES FL 04/21                                                   CHASE Checkingxxx8502       6,175.08
                            05/16/2023   Expense                            Spiegel and Utrera PA           SPIEGEL AND UTRERA PC XXX-XXXXXXX CA 05/16                                                   CHASE Checkingxxx8502       5,000.00
                            06/23/2023   Expense                            Spiegel and Utrera PA           SPIEGEL AND UTRERA P CORAL GABLES FL 06/23                                                   CHASE Checkingxxx8502       5,000.00
                            06/26/2023   Expense                            Spiegel and Utrera PA           SPIEGEL AND UTRERA P CORAL GABLES FL 06/26                                                   CHASE Checkingxxx8502       5,000.00
                            06/28/2023   Expense                            Spiegel and Utrera PA           SPIEGEL AND UTRERA P A DOVER DE 06/28                                                        CHASE Checkingxxx8502       1,499.90
                            07/25/2023   Expense                            Spiegel and Utrera PA           SPIEGEL AND UTRERA P A XXX-XXXXXXX FL 07/25                                                  CHASE Checkingxxx8502       1,795.00
                            07/25/2023   Expense                            Spiegel and Utrera PA           SPIEGEL AND UTRERA P A XXX-XXXXXXX FL 07/25                                                  CHASE Checkingxxx8502      11,142.80
                            07/27/2023   Expense                            Spiegel and Utrera PA           SPIEGEL AND UTRERA P A XXX-XXXXXXX FL 07/27                                                  CHASE Checkingxxx8502       2,249.85
Loan Closing Settlement
                                                                                                            Tranche 1 - ONLINE DOMESTIC WIRE TRANSFER VIA: BK AMER NYC/XXXXXXXXX A/C:
                                                                                                            GLOBALWEBXVENTURES LLC SAINT JOSEPH MO XXXXX US IMAD: XXXXBXQGCXXCXXXXXX
                            04/07/2023   Expense                            Global Webxventures LLC         TRN: XXXXXXXXXXES 04/07                                                                      CHASE Checkingxxx8502      31,900.00
                            04/07/2023   Expense                            Chalanco Funding, LLC           Tranche 1 - XXXXES 04/07                                                                     CHASE Checkingxxx8502       7,900.00
                                                                                                            Tranche 1 - ONLINE DOMESTIC WIRE TRANSFER VIA: BANK OF AMERICA, N.A./XXXX A/C: BANK
                                                                                                            OF AMERICA N.A. MA BOSTON MA XXXXX US BEN: ITYS LLC PROVIDENCE RI XXXXX US SSN:
                            04/07/2023   Expense                            ITYS LLC                        XXX9265 TRN: XXXXXXXXXXES 04/07                                                     CHASE Checkingxxx8502               31,900.00
                                                                                                            Tranche 1 - ONLINE DOMESTIC WIRE TRANSFER VIA: NAVY FCU WASH/XXXXXXXXX A/C:
                                                                                                            CASUAL SKILLET PHILADELPHIA PA XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN:
                            04/07/2023   Expense                            Casual Skillet                  XXXXXXXXXXES 04/07                                                                           CHASE Checkingxxx8502       1,850.00
                                                                                                            Tranche 1 - ONLINE DOMESTIC WIRE TRANSFER VIA: COUNTY CLEARFIELD/XXXXXXXXX A/C:
                                                                                                            BJP INVESTMENTS LLC ERIE PA XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN:
                            04/07/2023   Expense                            BJP Investments LLC             XXXXXXXXXXES 04/07                                                                           CHASE Checkingxxx8502      15,900.00
                                                                                                            Tranche 1 - ONLINE DOMESTIC WIRE TRANSFER VIA: CITIZENS BANK, NA/XXXXXXXXX A/C:
                                                                                                            SCHEIN REALTY LLC NORTH KINGSTOWN RI XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN:
                            04/07/2023   Expense                            Schein Realty LLC               XXXXXXXX97ES 04/ XXXXXX07                                                                    CHASE Checkingxxx8502      31,900.00
                                                                                                            Tranche 1 - ONLINE DOMESTIC WIRE TRANSFER VIA: CITIZENS BANK, NA/XXXXXXXXX A/C: XXX
                                                                                                            TEN ROD ROAD LLC NORTH KINGSTOWN RI XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN:
                            04/07/2023   Expense                            Ten Rod Road LLC                XXXXXX3097ES XXX04/07                                                               CHASE Checkingxxx8502               31,900.00

                                                                                                            WIRE REVERSAL B/O: JPMC CB FUNDS TRANSFER SAME DAY TAMPA FL XXXXX-XXXX US
                                                                                                            ORG: ABA/XXXXXXXXX THE WASHINGTON TRUST COMPANY REF:/BNF/OUR REF JPMXXXXXX-
                                                                                                            XX6428 CHAS EREFXXXXXXXXXXFF RTN DTD XX/XX/XXX X TRN XXXXXXXXXXES AS REF OUR
                            04/07/2023   Deposit                            The Washington Trust Co         PHON E CALL FOR FURTHER INFO OR CONTAC T X -XXX-XXX-XXXX TRN: XXXXXX0097HH                   CHASE Checkingxxx8502     -31,900.00
                                                                                                            Tranche 1 - ONLINE DOMESTIC WIRE TRANSFER A/C: ROCKSHOP LLC ATTLEBORO MA XXXXX-
                            04/07/2023   Expense                            Rockshop LLC                    XXXX US TRN: XXXXXXXXXXES 04/07                                                 CHASE Checkingxxx8502                   15,900.00
                                                                                                            Tranche 1 - ONLINE DOMESTIC WIRE TRANSFER VIA: WASH TR WESTERLY/XXXXXXXXX A/C:
                                                                                                            KYLE SEYBOTH EAST PROVIDENCE RI XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN:
                            04/07/2023   Expense                            Kyle Seyboth                    XXXXXXXXXXES 04/07                                                                           CHASE Checkingxxx8502      31,900.00
                                                                                                            Tranche 1 - ONLINE DOMESTIC WIRE TRANSFER VIA: MEMBERS XST FCU/XXXXXXXXX A/C:
                                                                                                            KATRINA A RICHTER WILLOW STREET PA XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN:
                            04/07/2023   Expense                            Katrina A Richter               XXXXXXXXXXES 04/07                                                                           CHASE Checkingxxx8502      39,900.00
                                                                                                            Tranche 1 - ONLINE DOMESTIC WIRE TRANSFER VIA: WASH TR WESTERLY/XXXXXXXXX A/C:
                                                                                                            DEGEN LLC PAWTUCKET RI XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN: XXXXXXXXXXES
                            04/07/2023   Expense                            Degen LLC                       04/07                                                                                        CHASE Checkingxxx8502      31,900.00
                            04/10/2023   Expense                            Grindstone Inc                  Tranche 1 - XCXXXXXX TRN: XXXXXXXXXXES 04/10                                                 CHASE Checkingxxx8502      31,900.00

                                                                                                            ONLINE DOMESTIC WIRE TRANSFER VIA: WASH TR WESTERLY/XXXXXXXXX A/C: MAKO LLC
                            04/13/2023   Expense                            Mako LLC                        NORTH PROVIDENCE RI XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN: XXXXXXXXXXES 04/13 CHASE Checkingxxx8502                     31,900.00
                                                                                                            Tranch 1 - ONLINE DOMESTIC WIRE TRANSFER VIA: WASH TR WESTERLY/XXXXXXXXX A/C:
                                                                                                            KYLE SEYBOTH EAST PROVIDENCE RI XXXXX US IMAD: XXXXBXQGCXXCXXXXXX TRN:
                            04/17/2023   Expense                                                            XXXXXXXXXXES 04/17                                                                           CHASE Checkingxxx8502      31,900.00
                            06/13/2023   Expense                            SMB Real Estate Solutions       All Tranches - XXXES 06/13                                                                   CHASE Checkingxxx8502     139,400.00
                            12/31/2023   Journal Entry   Loan Closing                                                                                                                                    -Split-                  -476,050.00
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Dividends
                                                                  Morgan Stanley
                                     01/31/2023   Journal Entry   1/23                                                                        -Split-             8,758.17
                                     02/28/2023   Journal Entry   Adj 2/23            Dividend Reinvestments                                  -Split-             -1,701.51
                                     02/28/2023   Journal Entry   Div/Fees 2/23       Dividends                                               -Split-            11,837.02
                                     02/28/2023   Journal Entry   Adj 2/23                                                                    -Split-            11,958.32
                                     03/31/2023   Journal Entry   Dividends Mar 23    Dividends                                               -Split-            11,569.09
                                     04/30/2023   Journal Entry   Dividends 4/23      Dividends                                               -Split-            19,031.31
                                     05/31/2023   Journal Entry   Dividends 5/23      Dividends                                               -Split-            24,005.58
                                     05/31/2023   Journal Entry   Dividends 5/23      Dividend Reimbursements                                 -Split-           -18,263.67
                                                                  Interest June
                                     06/30/2023   Journal Entry   2023                Dividend Reimbursements                                 -Split-           -14,428.29
                                                                  Interest June
                                     06/30/2023   Journal Entry   2023                Dividends                                               -Split-            50,800.23
                                     07/31/2023   Journal Entry   Cash Investment     Dividends                                               -Split-            44,789.70
                                     07/31/2023   Journal Entry   Cash Investment     Dividend Reimbursements                                 -Split-           -11,694.36
                                     08/31/2023   Journal Entry   Cash Investment     Dividends                                               -Split-            20,915.32
                                     08/31/2023   Journal Entry   Cash Investment     Dividend Reimbursements                                 -Split-           -10,879.00
                                                                  9/23 Cash
                                     09/30/2023   Journal Entry   Investments         Dividend Reimbursements                                 -Split-           -33,521.95
                                                                  9/23 Cash
                                     09/30/2023   Journal Entry   Investments         Dividends                                               -Split-            40,207.81
                                                                  Cash
                                     10/31/2023   Journal Entry   Investments         Dividends                                               -Split-            45,226.17
                                                                  Cash
                                     11/30/2023   Journal Entry   Investments         Dividends                                               -Split-            66,044.04
                                     12/31/2023   Journal Entry   Cash Investment     Dividends                                               -Split-            72,640.20
Interest - Morgan Stanley
                                                                  Morgan Stanley
                                     01/31/2023   Journal Entry   1/23                                                                        -Split-             1,036.80
                                     02/28/2023   Journal Entry   Div/Fees 2/23       Interest                                                -Split-             2,866.80
                                     02/28/2023   Journal Entry   Adj 2/23                                                                    -Split-             2,866.80
                                     05/31/2023   Journal Entry   Dividends 5/23      Interest                                                -Split-             6,668.13
                                                                  Interest June
                                     06/30/2023   Journal Entry   2023                Interest                                                -Split-             1,955.19
                                                                  9/23 Cash
                                     09/30/2023   Journal Entry   Investments         Interest                                                -Split-             3,795.00
 Interest Earned - ICA
                                     04/07/2023   Journal Entry   Tranche 1 #2706     PAID OFF IN FULL                                        -Split-            20,000.00
                                                                  Interest
                                     12/01/2023   Journal Entry   Loan#2646                                                                   -Split-            24,263.01
                                                                  Interest
                                     12/07/2023   Journal Entry   Loan#862                                                                    -Split-             1,586.41
                                                                  Interest Loan
                                     12/07/2023   Journal Entry   #2399                                                                       -Split-             2,838.35
                                                                  Interest
                                     12/07/2023   Journal Entry   Loan#2364                                                                   -Split-             2,257.54
                                                                  Interest
                                     12/07/2023   Journal Entry   Loan#2270                                                                   -Split-             1,699.73
                                                                  Interest Loan
                                     12/07/2023   Journal Entry   #1507                                                                       -Split-             2,296.43
                                                                  Interest Loan
                                     12/07/2023   Journal Entry   #2465                                                                       -Split-             5,676.70
                                                                  Interest
                                     12/07/2023   Journal Entry   Loan#2384                                                                   -Split-            14,178.09
                                                                  Interest
                                     12/07/2023   Journal Entry   Loan#2276                                                                   -Split-            15,739.18
                                                                  Interest Loan
                                     12/07/2023   Journal Entry   #2056-1                                                                     -Split-             1,503.12
                                                                  Interest
                                     12/07/2023   Journal Entry   Loan#2341                                                                   -Split-             3,399.46
                                                                  Interest
                                     12/07/2023   Journal Entry   Loan#1858                                                                   -Split-             3,807.39
                                                                  Interest
                                     12/07/2023   Journal Entry   Loan#2214                                                                   -Split-             5,665.74
                                                                  Interest
                                     12/07/2023   Journal Entry   Loan#2113                                                                   -Split-             2,893.14
                                                                  Interest
                                     12/07/2023   Journal Entry   Loan#2213                                                                   -Split-             3,346.39
                                                                  Interest
                                     12/07/2023   Journal Entry   Loan#1999                                                                   -Split-             2,379.61
                                                                  Interest
                                     12/09/2023   Journal Entry   Loan#2260                                                                   -Split-            11,481.57
                                                                  Interest
                                     12/10/2023   Journal Entry   Loan#2377                                                                   -Split-             3,402.75
                                                                  Interest
                                     12/16/2023   Journal Entry   Loan#2594-2                                                                 -Split-             1,688.10
                                     12/16/2023   Journal Entry   Interest 2594-1                                                             -Split-             1,699.48
                                                                  Interest
                                     12/16/2023   Journal Entry   Loan#2402                                                                   -Split-             2,826.13
                                                                  Interest 1055
                                     12/28/2023   Journal Entry   2023                Interest Earned #1055                                   -Split-             1,809.52
                                                                  Interest
                                     12/31/2023   Journal Entry   Loan#2665                                                                   -Split-             1,013.71
                                                                  Interest
                                     12/31/2023   Journal Entry   Loan#1076                                                                   -Split-             1,133.14
                                                                  Interest
                                     12/31/2023   Journal Entry   Loan#2014                                                                   -Split-             2,719.55
                                                                  Interest
                                     12/31/2023   Journal Entry   Loan#2056-2                                                                 -Split-             2,291.27
Net Unsettled Purch/Sales - Morgan
Stanley xxx290
                                                                  Feb 28 Loan
                                     07/31/2023   Journal Entry   Interest                                                                    -Split-         2,317,854.81
                                     08/31/2023   Journal Entry                                                                               -Split-         -2,317,854.81
                                     12/31/2023   Journal Entry   Cash Investment                                                             -Split-         -6,979,877.34
Realized Gain
                                                                  Investments
                                     03/31/2023   Journal Entry   03/23                                                                       -Split-            66,353.08
                                                                  Investments May
                                     05/31/2023   Journal Entry   23                                                                          -Split-         6,106,298.46
                                                                  Realized
                                     07/31/2023   Journal Entry   Gains/Loss                                                                  -Split-            22,822.96
                                                                  Realized
                                     09/30/2023   Journal Entry   Gains/Loss                                                                  -Split-            82,681.77
Refunds from Stocks
                                                                  Cash
                                     10/31/2023   Journal Entry   Investments         Wired Funds Received from Genie Investments II LLC      -Split-             1,535.42
                                                                  Cash
                                     11/30/2023   Journal Entry   Investments                                                                 -Split-             1,821.25
Interest Expense - Loan
                                     01/03/2023   Journal Entry   Int on Loan 01/23   Interest Paid from Loan                                 -Split-            17,316.71
                                                                  Feb 23 Loan
                                     02/28/2023   Journal Entry   Interest            Interest Paid from Loan                                 -Split-            18,431.81
Interest Expense - Morgan Stanley
                                                                  June 2024
                                     03/31/2023   Journal Entry   Investments         Loan Interest                                           -Split-            17,126.40
                                     04/30/2023   Journal Entry   Loan Interest       Loan Interest                                           -Split-            19,479.33
                                     05/31/2023   Journal Entry   Loan Interest       Loan Interest                                           -Split-            19,474.58
                                     06/30/2023   Journal Entry   Loan Interest       Loan Interest                                           -Split-            21,938.52
                                                                  Interest July
                                     07/31/2023   Journal Entry   2023                7/23 Loan Interest                                      -Split-            91,707.35
                                                                  Feb 25 Loan
                                     08/31/2023   Journal Entry   Interest            Loan Interest                                           -Split-            28,731.59
                                     09/30/2023   Journal Entry   Loan Interest       Loan Interest                                           -Split-            65,805.67
                                                                  Feb 27 Loan
                                     10/31/2023   Journal Entry   Interest            Loan Interest                                           -Split-            64,854.47
                                     11/30/2023   Journal Entry   Loan Interest       Loan Interest                                           -Split-            67,495.39
                                     12/31/2023   Journal Entry   Loan Interest       Loan Interest                                           -Split-            64,864.23
Realized Loss
                                     01/31/2023   Journal Entry   Adj 1/23                                                                    -Split-            10,992.50
                                                                  Investments Feb
                                     02/28/2023   Journal Entry   2023                                                                        -Split-             2,164.14
                                     07/31/2023   Journal Entry   Realized Loss                                                               -Split-             1,580.08
                                                                  8/23 Realized
                                     08/31/2023   Journal Entry   Loss                                                                        -Split-            18,259.03
                                                                  Realized
                                     09/30/2023   Journal Entry   Gains/Loss                                                                  -Split-             1,475.32
                                                                  Realized
                                     09/30/2023   Journal Entry   Gains/Loss                                                                  -Split-             6,486.42
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                                                                  12/23 Stock
                                     12/31/2023   Journal Entry   Sales                                                                       -Split-             19,907.23
Taxes
 Federal Tax Withholding
                                     07/31/2023   Journal Entry   Cash Investment   Wired Funds Received from Genie Investments II LLC        -Split-              3,968.45
                                     08/31/2023   Journal Entry   Cash Investment   Wired Funds Received from Genie Investments II LLC        -Split-             -3,968.45
 Total for Federal Tax Withholding                                                                                                                            $        0.00


                                                                                    Tuesday, Apr 02, 2024 12:04:14 PM GMT-7 - Accrual Basis
